    Case 23-35, Document 49, 04/24/2023, 3504052, Page1 of 139




  23-0035-cv
       United States Court of Appeals
                                    for the

                        Second Circuit
                           MICHAEL D. COHEN,
                                                           Plaintiff-Appellant,
                                    – v. –
UNITED STATES OF AMERICA, DONALD J. TRUMP, Former President of
the United States, WILLIAM P. BARR, Former Attorney General of the United
  States, MICHAEL D. CARVAJAL, Director of the Bureau of Prisons, JON
 GUSTIN, Administrator of the Residential Reentry Management Branch of the
 Bureau of Prisons, PATRICK MCFARLAND, Residential Reentry Manager of
 the Federal Bureau of Prisons, JAMES PETRUCCI, Warden of FCI Otisville,
ENID FEBUS, Supervisory Probation Officer of the United States Probation and
  Pretrial Services, ADAM PAKULA, Probation Officer of the United States
                        Probation and Pretrial Services,
                                                         Defendants-Appellees.
                      ––––––––––––––––––––––––––––––
         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK

                          JOINT APPENDIX

E. DANYA PERRY                        KAMI E. QUINN
PERRY GUHA LLP                        JON-MICHAEL DOUGHERTY
1740 Broadway, 15th Floor             SARAH SRADERS
New York, New York 10019              GILBERT LLP
(212) 399-8330                        700 Pennsylvania Avenue, SE, Suite 400
                                      Washington, DC 20003
                                      (202) 772-2200
                       Attorneys for Plaintiff-Appellant
             (For Continuation of Appearances See Inside Cover)
    Case 23-35, Document 49, 04/24/2023, 3504052, Page2 of 139



ALINA HABBA                        ALYSSA O’GALLAGHER
MICHAEL T. MADAIO                    Assistant U.S. Attorney
HABBA MADAIO & ASSOCIATES LLP      ALLISON ROVNER
1430 U.S. Highway 206              BENJAMIN H. TORRANCE
Bedminster, New Jersey 07921       UNITED STATES ATTORNEY’S OFFICE,
(908) 869-1188                       SOUTHERN DISTRICT OF NEW YORK
                                   86 Chambers Street
Attorneys for Defendant-Appellee
                                   New York, New York 10007
  Donald J. Trump
                                   (917) 754-4386
                                   Attorneys for Defendants-Appellees
                                     United States of America, William
                                     P. Barr, Michael D. Carvajal,
                                     Jon Gustin, Patrick McFarland,
                                     James Petrucci, Enid Febus and
                                     Adam Pakula
Case 23-35, Document 49, 04/24/2023, 3504052, Page3 of 139




                            TABLE OF CONTENTS
                                                                                 Page
   Clerk’s Certified Docket Sheet in Cohen v.
     United States, No. 1:21-cv-10774 (LJL)
     (S.D.N.Y.) ..............................................................    A-1
   Complaint (S.D.N.Y. ECF No. 3, Dec. 17, 2021) ......                           A-11
   Order Granting Preliminary Injunction in Cohen v.
     Barr, No. 1:20-cv-5614 (AKH)
     (S.D.N.Y. ECF No. 60-1, May 27, 2022) ..............                        A-42
   Transcript of Proceedings held before the
     Honorable Lewis J. Liman, dated August 2, 2022 .                            A-44
   Opinion and Order (S.D.N.Y. ECF No. 76,
     Nov. 15, 2022) .......................................................      A-101
   Clerk’s Judgment (S.D.N.Y. ECF No. 77,
     Nov. 15, 2022) .......................................................      A-134
   Notice of Appeal (S.D.N.Y. ECF No. 79,
     Jan. 10, 2023) .........................................................    A-135
       Case 23-35, Document 49, 04/24/2023, 3504052, Page4 of 139
                                              DA-1
            Case 23-35, Document 5-2,01/10/2023,3450068, Page3 of 12

                                                                                CLOSED,APPEAL,ECF
                                  U.S. District Court
                     Southern District of New York (Foley Square)
                   CIVIL DOCKET FOR CASE #: 1:21-cv-10774-WL

Cohen v. United States of America et a1                       Date Filed: 12116/2021
Assigned to: Judge Lewis J. Liman                             Date Terminated: 1lI15/2022
Cause: 28:1331tt Fed. Question: Tort Action                   Jury Demand: Plaintiff
                                                              Nature of Suit: 440 Civil Rights: Other
                                                              Jurisdiction: Federal Question
Plaintiff
Michael D. Cohen                                represented by E. Danya Perry
                                                               Perry Guha LLP
                                                               1740 Broadway, 15th Floor
                                                               New York, NY 10019
                                                               212-399-8340
                                                               Fax: 212-399-8331
                                                              Email: dperry@penyguha com
                                                              A1TORNEY TO BE NOTICED

                                                              Jeffrey K. Levine
                                                              Law Offices of Jeffrey K. Levine
                                                              340 West 57th Street
                                                              Suite lie
                                                              New York, NY 10019
                                                              212-721-9600
                                                              Email:


                                                              Andrew C. Laufer
                                                              Law Office of Andrew C. Laufer, PLLC
                                                              264 West 40th Street
                                                              Suite 604
                                                              New York, NY 10018
                                                              212-422-1020
                                                              Email: aJaufer@JauferJawgroup com
                                                              A1TORNEY TO BE NOTICED


v.
Defendapt
United States of America                        represented by Allison Rovner
                                                               Uuited States Attorney's Office SDNY
                                                               86 Chambers st.
                                                               New York, NY 10007
                                                               (212)-ti37-2691
                                                               Fax: (212)-637-2750
                                                               Email: A1ljSQD ROyner@USdoi goy
                                                               LEAD A1TORNEY
                                                               A1TORNEY TO BE NOTICED

                                                              Alyssa O'Gallagher
                                                              DOJ-USAO
                                                              86 Chambers St
                                                              New York, NY 10007
                                                              917-754-4386
                                                              Email: alyssao.ga11aghe@wdnj goy
                                                              A1TORNEY TO BE NOTICED

Defendept
        Case 23-35, Document 49, 04/24/2023, 3504052, Page5 of 139
                                           DA-2
             Case 23-35, Document 5-2,01/10/2023,3450068, Page4 of 12

Donald J. Trump                              represented by Alina Babba
former President of the United States                       Habba Madaio & Associates LLP
                                                            1430 US Highway 206
                                                            Suite 240
                                                            Bedmiostet, NJ 07921
                                                            908-869-1188
                                                            Email: ahabba@babba1aw cow
                                                            A1TORNEY TO BE NOTICED

                                                            Michael T Madaio
                                                            Habba Madaio & Associates LLP
                                                            1430 US Highway 206
                                                            Suite 240
                                                            Bedmiostet, NJ 07921
                                                            908-869-1188
                                                            Email: mmaduio@babbaJaw com
                                                            A1TORNEY TO BE NOTICED

Defendant
William Barr                                 represented by Allison Rovner
former Attorney General ofthe United                        (See above for address)
States                                                      LEAD A1TORNEY
                                                            A1TORNEY TO BE NOTICED

                                                            Aly••a O'Gallagher
                                                            (See above for address)
                                                            A1TORNEY TO BE NOTICED

Defen dent
Michael Carvajal                             represented by Allison Rovner
Director of the Bureau ofPrisons                            (See above for address)
                                                            LEAD A1TORNEY
                                                            A1TORNEY TO BE NOTICED

                                                            Aly••a O'Gallagher
                                                            (See above for address)
                                                            A1TORNEY TO BE NOTICED

Defendut
Jon Gustin                                   represented by Allison Rovner
Administrator of the Residential Reentry                    (See above for address)
Management Branch of the Bureau of                          LEAD A1TORNEY
Prisons                                                     A1TORNEY TO BE NOTICED

                                                            Alyssa O'Gallagher
                                                            (See above for address)
                                                            A1TORNEY TO BE NOTICED

Defend,nt
Patrick Mcfarland                            represented by Allison Rovner
Residential Reentry Manager of the                          (See above for address)
Federal Bureau ofPrisons                                    LEAD A1TORNEY
                                                            A1TORNEY TO BE NOTICED

                                                            Aly••a O'Gallagher
                                                            (See above for address)
                                                            A1TORNEY TO BE NOTICED

Defen dut
Jame. Petrucci                               represented by Allison Rovner
Warden ofFCIOtisville                                       (See above for address)
                                                            LEAD A1TORNEY
       Case 23-35, Document 49, 04/24/2023, 3504052, Page6 of 139
                                               DA-3
              Case 23-35, Document 5-2,01/10/2023,3450068, Page5 of 12

                                                                     ATTORNEY TO BE NOTICED

                                                                     A1yss.O'GaIlagher
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

Defendant
Enid Febus                                          represented by Allison Rovner
Supervisory Probation Officer of the                               (See above for address)
United States Probation and Pretrail                               LEAD ATTORNEY
Services                                                           ATTORNEY TO BE NOTICED

                                                                     Alyssa O'GaIlagher
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

Defendant
AdamPaknla                                          represented by Allison Rovner
Probation Officer ofthe United States                              (See above for address)
Probation and Pretrial Services                                    LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                     A1yss. O'GaIlagher
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED


 Date Filed     #     Docket Text
 12116/2021      1    FILING ERROR - DEFICIENT PLEADING - FILED AGAINST PARTY
                      ERROR - COMPLAINT against All Defendants. (Filing Fee $ 402.00, Receipt
                      Number ANYSDC-25479126)Document fIled by Michael D. Cohen.. (Laufer,
                      Andrew) Modified on 12/17/2021 (jgo). (Entered: 12/16/2021)
 12116/2021      2.   NOTICE OF APPEARANCE by Jeffrey K. Levine on behalf of Michael D.
                      Cohen.. (Levine, Jeffrey) (Entered: 12/16/2021)
 12117/2021           ···NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice
                      to Attorney Andrew C. Laufer to RE-FILE Document No. 1 Complaint,. The
                      filing is deficient for the following rea80n(s): all of the parties listed on the
                      pleading were not entered on CMlECF; add party Jane Doe 1-10 with party text
                      'agents, servants, and employees of the United States; the AU Defendant radio
                      button was selected;. Re-fIle the pleading using the event type Complaint found
                      under the event list Complaints and Other Initiating Documents - attach the
                      correct signed PDF - select the individually named fIler/fIlen - select the
                      individually named party/parties the pleading i. against. (jgo) Modified on
                      12/17/2021 (jgo). (Entered: 12117/2021)
 12117/2021           ··"NOTICE TO ATTORNEY TO ELECTRONICALLY FILE CIVIL COVER
                      SHEET. Notice to Attorney Andrew C. Laufer. Attorney must electronically me
                      the Civil Cover Sheet. Use the event type Civil Cover Sheet found under the event
                      list Other Docnments. (jgo) (Entered: 12/17/2021)
 12117/2021           ·""NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice
                      to attorney Andrew C. Laufer. The party information for the following
                      party/parties has been modified: all defendants. The information for the
                      party/parties has been modified for the following reason/reasons: party name was
                      entered in all caps; party text was omitted;. (jgo) (Entered: 12117/2021)
 12117/2021           CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                      assigned to Judge Lewis J. Liman. Please download and review the Individual
                      Practices of the assigned District Judge, located at
                      h.ttg5·llD~:ul UIii~llD &gl1jmh:~5ldistri~jndK~Iii.   Attorneys are responsible for
                      providing courtesy copies to judges where their Individual Practices require such.
                      Please download and review the ECF Rules and Instructions, located at
      Case 23-35, Document 49, 04/24/2023, 3504052, Page7 of 139
                                            DA-4
             Case 23-35, Document 5-2,01/10/2023,3450068, Page6 of 12

                    hlm~' llUJl;5d :U5~lm igYLDIl~5~~f-:::WiI~d-iDlWJlmiwni··Ggo)   (Entered: 12117/2021)
12117/2021          Magistrate Judge Gabriel W. Gorenstein is so designated. Pursuant to 28 U.S.C.
                    Section 636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent
                    to proceed before a United States Magistrate Judge. Parties who wish to consent may
                    access the necessary form at the following link:
                    h1m5"llUJ£5d :U5~lm KgYbii:w5ld~mulllfih~5l2Ql a::06lA0::3l!df. Ggo) (Entered:
                    12/17/2021)
1211712021          Case Designated ECF. Ggo) (Entered: 12117/2021)
12117/2021      .1 COMPLAINT against William Barr, Michael Carvajal, Enid Febus, John Gustin,
                    Patrick Mcfarland, Adam Pakula, James Petrucci, Donald J. Trump, United States of
                    America. Document filed by Michael D. Cohen..(Laufer, Andrew) (Entered:
                    12/17/2021)
1211712021      ~   FILING ERROR - PDF ERROR - CNIL COVER SHEET filed .. (Laufer, Andrew)
                    Modified on 12117/2021 (gp). (Entered: 12117/2021)
12117/2021      ~   REQUEST FOR ISSUANCE OF SUMMONS as to United States of America, reo .1
                    Complaint. Document filed by Michael D. Cohen..(Laufer, Andrew) (Entered:
                    12/17/2021)
1211712021      fI REQUEST FOR ISSUANCE OF SUMMONS as to Donald J. Trump, reo .1 Complaint.
                    Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: 12117/2021)
1211712021      1   REQUEST FOR ISSUANCE OF SUMMONS as to William Barr, reo .1 Complaint.
                    Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: 12117/2021)
12117/2021      .8. REQUEST FOR ISSUANCE OF SUMMONS as to Michael Carvajal, reo .1
                    Complaint. Document filed by Michael D. Cohen..(Laufer, Andrew) (Entered:
                    12/17/2021)
1211712021      2   REQUEST FOR ISSUANCE OF SUMMONS as to Jon Gustin, reo .1 Complaint.
                    Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: 12117/2021)
12117/2021     lJ! REQUEST FOR ISSUANCE OF SUMMONS as to Patrick McFarland, reo .1
                    Complaint. Document filed by Michael D. Cohen..(Laufer, Andrew) (Entered:
                    12117/2021)
1211712021     11   REQUEST FOR ISSUANCE OF SUMMONS as to James Petrucci, reo .1 Complaint.
                    Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: 12/17/2021)
1211712021     12   REQUEST FOR ISSUANCE OF SUMMONS as to Enid Febus, reo .1 Complaint.
                    Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: 12/17/2021)
12117/2021     13. REQUEST FOR ISSUANCE OF SUMMONS as to Adam Pakula, reo .1 Complaint.
                    Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: 12117/2021)
12117/2021          ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice
                    to attorney Andrew Laufer. The party information for the following partylparties
                    has been modified: John Gustin. The information for the partylparties has been
                    modified for the following reason/reasons: party name contained a typographical
                    error;. (gp) (Entered: 1211712021)
12117/2021          ***NOTICE TO ATTORNEY REGARDING DEFICIENT CIVIL COVER
                    SHEET. Notice to attorney Andrew Laufer to RE-FILE Document No. 1 Civil
                    Cover Sheet. The filing is deficient for the following reason(s): the PDF attached
                    to the docket entry for the civil cover sheet is not correct (NATURE OF SUIT
                    INFORMATION IS MISSING). Re-fIle the document using the event type Civil
                    Cover Sheet found under the event list Other Documents and attach the correct
                    PDF. Use civil cover sheet issued by S.D.N.Y. dated October 1, 2020. The
                    S.D.N.Y. Civil Cover Sheet dated October 1, 2020 is located at
                    blQl.llD):5d.III£UII1l5.lIov/flIIll!U[wIll:lIlI eover-5b,l:1.. Call (Entered: 12/17/2021)
12117/2021     H    ELECTRONIC SUMMONS ISSUED as to United States of America.. (gp) (Entered:
                    12/17/2021)
      Case 23-35, Document 49, 04/24/2023, 3504052, Page8 of 139
                                           DA-5
             Case 23-35, Document 5-2,01/10/2023,3450068, Page7 of 12

12117/2021     .l.5. ELEC1RONIC SUMMONS ISSUED as to Donald J. Trump .. (gp) (Entered:
                    12/17/2021)
12/17/2021     .l.{i ELEC1RONIC SUMMONS ISSUED as to William Barr.. (gp) (Entered: 12/17/2021)
1211712021     11   ELEC1RONIC SUMMONS ISSUED as to Michael Carvajal..(gp) (Entered:
                    12/17/2021)
1211712021     1.8. ELEC1RONIC SUMMONS ISSUED as to Jon Gustin.. (gp) (Entered: 12/17/2021)
1211712021     12 ELEC1RONIC SUMMONS ISSUED as to Patrick Mcfar1aod.. (gp) (Entered:
                    12117/2021)
1211712021     2ll ELEC1RONIC SUMMONS ISSUED as to James Petrncci..(gp) (Entered: 12117/2021)
12117/2021     II ELEC1RONIC SUMMONS ISSUED as to Enid Febus .. (gp) (Entered: 12/17/2021)
1211712021     22 ELEC1RONIC SUMMONS ISSUED as to Adam Pakula.. (gp) (Entered: 12117/2021)
12/20/2021     2.l CIVIL COVER SHEET med.(Laufer, Andrew) (Entered: 12/20/2021)
0110712022     ~    NOTICE OF INITIAL PRETRIAL CONFERENCE: Initial Couference set for
                    3/212022 at 11:00 AM in Courtroom 15C, 500 Pearl Street, New York, NY 10007
                    before Judge Lewis J. Limao. (Sigoed by Judge Lewis J. Limao on 11712022) (va)
                    (Entered: 01/07/2022)
0111812022     25. AFFIDAVIT OF SERVICE. United States of America served on 11712022, answer due
                    1128/2022. Service was accepted by Ostrich Gordon. Document filed by Michael D.
                    Cohen.. (Laufer, Andrew) (Entered: 01118/2022)
01118/2022     2!! AFFIDAVIT OF SERVICE. Donald J. Trump served on 115/2022, aoswer due
                    1126/2022. Service was accepted by Doormao - "John Doe". Service was made by
                    MAIL. Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: 01118/2022)
01118/2022     21 AFFIDAVIT OF SERVICE. William Barr served on 12/30/2021, aoswer due
                    1120/2022. Service was accepted by William Barr. Document filed by Michael D.
                    Cohen.. (Laufer, Andrew) (Entered: 01118/2022)
02107/2022     ZB. AFFIDAVIT OF SERVICE. Michael Carvajal served on 2/212022, aoswer due
                    2123/2022. Service was accepted by Corinne Nastro. Document med by Michael D.
                    Cohen.. (Laufer, Andrew) (Entered: 02/07/2022)
02/07/2022     22 AFFIDAVIT OF SERVICE. Jon Gustin served on 21212022, answer due 2123/2022.
                    Service was accepted by Corinne Nastro. Document med by Michael D.
                    Cohen.. (Laufer, Andrew) (Entered: 02107/2022)
02/07/2022     :ill AFFIDAVIT OF SERVICE. Patrick Mcfarlaod served on 212/2022, aoswer due
                    2123/2022. Service was accepted by Corinne Nastro. Document filed by Michael D.
                    Cohen.. (Laufer, Andrew) (Entered: 02/07/2022)
0210712022     II AFFIDAVIT OF SERVICE. James Petrucci served on 2/212022, answer due
                    2123/2022. Service was accepted by Corinne Nastro. Document med by Michael D.
                    Cohen.. (Laufer, Andrew) (Entered: 02107/2022)
02107/2022     :l2 AFFIDAVIT OF SERVICE. Enid Febus served on 111712022, aoswer due 217/2022.
                    Service was accepted by Enid Febus. Document med by Michael D. Cohen.. (Laufer,
                    Andrew) (Entered: 02107/2022)
02/07/2022     II AFFIDAVIT OF SERVICE. Adam Pakula served on 2/3/2022, answer due 2124/2022.
                    Service was made by 20 Heron Drive, Marlboro, NJ 07746. Document filed by
                    Michael D. Cohen.. (Laufer, Andrew) (Entered: 02107/2022)
0212112022     ~    LETTER MOTION for Extension of Time for defendants to respond to complaint and
                    atijournment ofinitial c01iference with corresponding extension oftime for
                    pre-coTiference submission addressed to Judge Lewis J. Limao from AUSA Allison
                    Rovner dated February 21,2022. Document filed by United States of
                    America.. (Rovner, Allison) (Entered: 02121/2022)
02/2212022     35   ORDER graoting ~ Letter Motion for Extension of Time. The initial pretrial
                    couference is adjourned to April 7, 2022 at 2:00P.M. in Courtroom 15C, 500 Pearl
      Case 23-35, Document 49, 04/24/2023, 3504052, Page9 of 139
                                             DA-6
             Case 23-35, Document 5-2,01/10/2023,3450068, Page8 of 12

                     Street, New York, NY 10007 before Judge Lewis J. Liman. (HEREBY ORDERED by
                     Judge Lewis J. Liman)(Text Only Order) (ra) (Entered: 02/2212022)
02/22/2022           SetlReset Hearings: Initial Conference set for 41712022 at 02:00 PM in Courtroom
                     15C, 500 Pearl Street, New York, NY 10007 before Judge Lewis J. Liman. (mf)
                     (Entered: 02123/2022)
03/29/2022     l!i NOTICE OF APPEARANCE by Alina Habba on behalf of Donald J. Trump .. (Habba,
                     Alina) (Entered: 03/29/2022)
03/3112022     II LETTER addressed to Judge Lewis J. Liman from Andrew C. Laufer dated 3131122 re:
                     Discovery. Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered:
                     03/31/2022)
03/3112022     lB. LETTER MOTION to Stay Discovery addressed to Judge Lewis J. Liman from AUSA
                     Allison Rovner dated March 31, 2022. Document filed by William Barr, Michael
                     Carvajal, Enid Febus, Jon Gustin, Patrick Mcfarland, Adam Pakula, James Petrucci,
                     United States of America.. (Rovner, Allison) (Entered: 03/3112022)
04104/2022     l2 MOTION to Dismiss. Document filed by William Barr, Michael Carvajal, Enid
                  Febus, Jon Gustin, Patrick Mcfarland, Adam Pakula, James Petrucci, United States of
                  America.. (Rovner, Allison) (Entered: 04/04/2022)
04104/2022     :1ll MEMORANDUM OF LAW in Support re: l2 MOTION to Dismiss .. Document filed
                     by William Barr, Michael Carvajal, Enid Febus, Jon Gustin, Patrick Mcfarland, Adam
                     Pakula, James Petrucci, United States of America..(Rovner, Allison) (Entered:
                     04/04/2022)
04104/2022     :ll   MOTION to Dismiss. Document filed by Donald J. Trump.. (Habba, Alina) (Entered:
                     04/04/2022)
04104/2022     ~     MEMORANDUM OF LAW in Support re: :ll MOTION to Dismiss .. Document filed
                     by Donald J. Trump .. (Habba, Alina) (Entered: 04/04/2022)
04/04/2022     ~     DECLARATION of Alina Habba in Support re: :ll MOTION to Dismiss .. Document
                     filed by Donald J. Trump. (Attachments: # 1 Exhibit Complaint in the Matter of
                     Robert S. Trump v. Mary L. Trump, et al, # 2 Exhibit Cease and Desist Letter).(Habba,
                     Alina) (Entered: 04/04/2022)
04106/2022           ORDER: The mitial Pretrial Conference scheduled for April 7, 2022 at 2:00P.M. will
                     be held in Courtroom 24B at the 500 Pearl Street Courthouse, and will no longer be
                     held in Courtroom 15C. mstead, Courtroom 15C will be used as an overflow room if
                     needed. (HEREBY ORDERED by Judge Lewis J. Liman) (Text Only Order) (mf)
                     (Entered: 04/06/2022)
04/06/2022     11    NOTICE OF APPEARANCE by Alyssa O'Gallagher on behalf of William Barr,
                     Michael Carvajal, Enid Febus, Jon Gustin, Patrick Mcfarland, Adam Pakula, James
                     Petrucci, United States of America.. (O'Gallagher, Alyssa) (Entered: 04/06/2022)
04/07/2022     ~     NOTICE OF APPEARANCE by Michael T Madaio on behalf of Donald J.
                     Trump .. (Madaio, Michael) (Entered: 04/07/2022)
04/07/2022           Minute Entry for proceedings held before Judge Lewis J. Liman: Initial Pretrial
                     Conference held on 41712022. Jeffrey Levine (present by telephone) and Andrew
                     Laufer present for Plaintiff. Allison Rovner and Alyssa O'Gallagher present for
                     Defendants. Alina Habba and Michael Madaio present for Defendant, Donald J.
                     Trump. Court reporter present. The Court ordered the exchange of initial disclosures
                     by April 18, 2022. Plaintiff is permitted to serve interrogatories and document requests
                     by May 12. 2022. Plaintifi's opposition briefs to motion to dismiss is due by May 27,
                     2022. Defendants' reply briefs due by June 17, 2022. (mf) (Entered: 04/18/2022)
0410812022     ~     SUPPLEMENTAL LETTER addressed to Judge Lewis J. Liman from Jeffrey K.
                     Levine dated 04/08/2022 re: Supplement to 04/07/22 Conference. Document filed by
                     Michael D. Cohen.. (Levine, Jeffrey) (Entered: 04/08/2022)
04/09/2022     11    SUPPLEMENTAL LETTER addressed to Judge Lewis J. Liman from Alina Habba,
                     Esq. dated April 9, 2022 re: Response to Plruntifi's Supplemental Letter dated April 8,
                     2022. Document filed by Donald J. Trump .. (Habba, Alina) (Entered: 04/09/2022)
     Case 23-35, Document 49, 04/24/2023, 3504052, Page10 of 139
                                              DA-7
             Case 23-35, Document 5-2,01/10/2023,3450068, Page9 of 12

04/22/2022     18. NOTICE of Request for Admission. Document filed by Michael D. Cohen.
                      (Attachments: # 1 Exhibit Order -- July 23, 2020 [ECF 30], # 2 Exhibit Stipulation and
                      Order -- July 30, 2020 [[ECF 36]).(Levine, Jeffrey) (Entered: 04/22/2022)
04/26/2022     ~      TRANSCRIPT of Proceedings reo CONFERENCE held on 41712022 before Judge
                      Lewis J. Liman. Court Reporter/Transcriber: Andrew Walker, (212) 80S-mOO.
                      Transcript may be viewed at the court public terminal or purchased through the Court
                      Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                      that date it may be obtained through PACER. Redaction Request due 5117/2022.
                      Redacted Transcript Deadline set for 5/27/2022. Release of Transcript Restriction set
                      for 7/25/2022 .. (Moya, Goretti) (Entered: 04/26/2022)
04/26/2022     .m     NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                      official transcript of a CONFERENCE proceeding held on 417122 has been filed by the
                      court reporter/transcriber in the above--captioned matter. The parties have seven (7)
                      calendar days to file with the court a Notice of Intent to Request Redaction oflhis
                      transcript. If no such Notice is filed, the transcript may be made remotely
                      electronically available to the public without redaction after 90 calendar days .... (Moya,
                      Goretti) (Entered: 04/26/2022)
05112/2022     .u     FIRST MOTION to Stay Discovery. Document filed by Donald J. Trump .. (Habba,
                      Alina) (Entered: 05112/2022)
05112/2022     ~      MEMORANDUM OF LAW in Support reo .u FIRST MOTION to Stay Discovery..
                      Document filed by Donald J. Trump.. (Habba, Alina) (Entered: 05/1212022)
05118/2022     .u     FIRST MOTION to Compel Donald J. Trump to produce discovery. Document filed
                      by Michael D. Cohen.. (Laufer, Andrew) (Entered: 05118/2022)
05118/2022     .H MEMORANDUM OF LAW in Support reo                 .u
                                                                  FIRST MOTION to Compel Donald J.
                      Trump to produce discovery .. Document filed by Michael D. Cohen..(Laufer,
                      Andrew) (Entered: 05118/2022)
05118/2022     ~      DECLARATION of Andrew C. Laufer in Support reo          .u
                                                                               FIRST MOTION to Compel
                      Donald J. Trump to produce discovery .. Document filed by Michael D. Cohen.
                      (Attachments: # 1 Exhibit Donald J. Trump's Initial Disclosures, # 2 Exhibit Order
                      Granting Preliminary Injunction).(Laufer, Andrew) (Entered: 05/18/2022)
OS/23/2022     ~      MOTION to Stay Discovery. Document filed by William Barr, Michael Carvajal, Enid
                      Febus, Jon Gustin, Patrick Mcfarland, Adam Pakula, James Petrucci, United States of
                      America.. (Rovner, Allison) (Entered: OS/23/2022)
OS/23/2022     :rz.   MEMORANDUM OF LAW in Support reo ~ MOTION to Stay Discovery ..
                      Document filed by William Barr, Michael Carvajal, Enid Febus, Jon Gustin, Patrick
                      Mcfarland, Adam Pakula, James Petrucci, United States of America. (Attachments: # 1
                      Exhibit A (April 7, 2022 couference transcript), # 2 Exhibit B (Discovery
                      Requests)).(Rovner, Allison) (Entered: OS/23/2022)
OS/25/2022                                                              .u
               .2.S. MEMORANDUM OF LAW in Opposition reo FIRST MOTION to Compel Donald
                     J. Trump to produce discovery .. Document filed by Donald J. Trump. (Attachments:
                      # 1 Affidavit Declaration of Michael Madaio).(Habba, Alina) (Entered: OS/25/2022)
OS/27/2022     ~      AFFIDAVIT of Andrew C. Laufer in Opposition reo 12 MOTION to Dismiss ..
                      Document filed by Michael D. Cohen .. (Laufer, Andrew) (Entered: OS/27/2022)
OS/27/2022     ~      DECLARATION of Andrew C. Laufer in Opposition reo 12 MOTION to Dismiss ..
                      Document filed by Michael D. Cohen. (Attachments: # 1 Exhibit Decision of the Hon.
                      Alvin K. Hellerstein, # 2 Exhibit United States Government Mernorandum).(Laufer,
                      Andrew) (Entered: OS/27/2022)
OS/27/2022     6.l AFFIRMATION of Andrew C. Laufer in Opposition reo ~ MOTION to Dismiss ..
                      Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: OS/27/2022)
OS/27/2022     ~      DECLARATION of Andrew C. Laufer in Opposition reo ~ MOTION to Dismiss ..
                      Document filed by Michael D. Cohen. (Attachments: # 1 Exhibit Decision ofHon.
                      Alvin K. Hellerstein).(Laufer, Andrew) (Entered: OS/27/2022)
05/31/2022     ~      AFFIRMATION of Andrew C. Laufer in Opposition reo ~ MOTION to Stay
                      Discovery.. Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered:
     Case 23-35, Document 49, 04/24/2023, 3504052, Page11 of 139
                                           DA-8
         Case 23-35, Document 5-2, 01/10/2023, 3450068, Page10 of 12

                   05/31/2022)
06/02/2022   ~     REPLY AFFIRMATION of Andrew C. Laufer in Support reo .ll FIRST MOTION to
                   Compel Donald J. Trump to produce discovery .. Document filed by Michael D.
                   Cohen.. (Laufer, Andrew) (Entered: 06/02/2022)
06/0212022   6.5. REPLY MEMORANDUM OF LAW in Support reo jli MOTION to Stay Discovery..
                   Document filed by William Barr, Michael Carvajal, Enid Febus, Joo Gustin, Patrick
                   Mcfarland, Adam Pakula, James Petrucci, United States of America .. (Rovner, Allison)
                   (Entered: 06/0212022)
06116/2022   ~     MEMORANDUM AND ORDER granting.ll Motion to Stay reo .ll FIRST MOTION
                   to Stay Discovery., .ll FIRST MOTION to Compel Donald J. Trump to produce
                   discovery ., jli MOTION to Stay Discovery. ; denying .ll Motion to Compel; granting
                   jli Motion to Stay reo .ll FIRST MOTION to Stay Discovery., .ll FIRST MOTION to
                   Compel Donald J. Trump to produce discovery ., jli MOTION to Stay Discovery. The
                   motioo to compel a response to discovery is DENIED. The motions for a stay of
                   discovery peoding a decision on the motions to dismiss are GRANTED. The Court
                   will set a discovery schedule if the complaint survives the motions in whole or in part.
                   The Clerk of Court is respectfully directed to close Dk!. Nos. 51, 53, 56. (Signed by
                   Judge Lewis J. Liman on 6116/2022) (rro) (Entered: 06116/2022)
0611712022   Ii1   REPLY MEMORANDUM OF LAW in Support reo l2 MOTION to Dismiss ..
                   Documeot filed by William Barr, Michael Carvajal, Enid Febus, Jon Gostin, Patrick
                   Mcfarland, Adam Pakula, James Petrucci, United States of America .. (Rovner, Allison)
                   (Entered: 06/17/2022)
06117/2022   ~     REPLY MEMORANDUM OF LAW in Support reo 41 MOTION to Dismiss ..
                   Documeot filed by Dooald J. Trump.. (Habba, Alina) (Entered: 06/17/2022)
06/2112022   ~     LETTER addressed to Judge Lewis J. Liman from Andrew C. Laufer dated
                   06/21/2022 reo Cohen v. United States of America, et al21 cv 10774 (LJL) (GWG).
                   Document filed by Michael D. Cohen.. (Laufer, Andrew) (Entered: 06/2112022)
06/24/2022         ORDER: The Court will hear oral argument on the peoding motions to dismiss on July
                   7,2022 at 4:00PM. The hearing will be held in-person and parties are to appear in
                   Courtroom 15C at the 500 Pearl Street Courthouse. (HEREBY ORDERED by Judge
                   Lewis J. Liman) (Text Only Order) (mt) (Entered: 06/24/2022)
06/24/2022         Set/Reset Hearings: Oral Argument set for 71712022 at 04:00 PM in Courtroom 15C,
                   500 Pearl Street, New York, NY 10007 before Judge Lewis J. Liman. (mf) (Entered:
                   06/24/2022)
06/24/2022   12 MEMO ENDORSEMENT 00 reo ~ Letter filed by Michael D. Cohen.
                   ENDORSEMENT: The Court will receive the letter as a supplement to the oppositioo
                   to the motion to dismiss. No further briefing may be filed abseot leave of the Court.
                   SO ORDERED. (Signed by Judge Lewis J. Liman on 6/24/2022) (vfr) (Entered:
                   06/24/2022)
06/27/2022         ORDER: The Oral Argument on the pending motions to dismiss previously set for July
                   7,2022 is RESCHEDULED to July 6, 2022 at 4:00PM in Courtroom 15C at the 500
                   Pearl Street Courthouse. (HEREBY ORDERED by Judge Lewis J. Liman) (Text Ouly
                   Order) (mf) (Entered: 06/27/2022)
06/27/2022         Set/Reset Hearings: Oral Argument set for 7/6/2022 at 04:00 PM in Courtroom 15C,
                   500 Pearl Street, New York, NY 10007 before Judge Lewis J. Liman. (mf) (Entered:
                   06/27/2022)
06/27/2022   11    LETTER addressed to Judge Lewis J. Liman from Andrew C. Laufer dated 612712022
                   reo Adjournmeot. Documeot filed by Michael D. Coheo.. (Laufer, Andrew) (Entered:
                   06/27/2022)
06/28/2022   72 ORDER granting 11 Letter from Andrew C. Laufer dated 612712022 reo Adjournment
                fIled by Michael D. Cohen. The Oral Argument on the pending motions to dismiss is
                RESCHEDULED to July II, 2022 at 2:30PM in Courtroom 15C at the 500 Pearl
                Street Courthouse. (HEREBY ORDERED by Judge Lewis J. Liman) (Text Only
                Order) (mf) (Entered: 06/28/2022)
     Case 23-35, Document 49, 04/24/2023, 3504052, Page12 of 139
                                         DA-9
         Case 23-35, Document 5-2, 01/10/2023, 3450068, Page11 of 12

06/28/2022        SetlReset Hearings: Oral Argument set for 7/11/2022 at 02:30 PM in Courtroom 15C,
                  500 Pearl Street, New York, NY 10007 before Judge Lewis J. Liman. (mf) (Entered:
                  06/28/2022)
07/0112022   1.1 LETTER addressed to Judge Lewis J. Liman from AUSA Allison Rovner dated July I,
                  2022 re: request to divide oral argument between AUSAs representing Moving
                  Defendants. Document med by William Barr, Michael Carvajal, Enid Febus, Jon
                  Gustin, Patrick Mcfarland, Adam Pakula, James Petrucci, United States of
                  America.. (Rovner, Allison) (Entered: 07/01/2022)
07/08/2022        ORDER: Due to a scheduling conflict, the Oral Argument previously set for July II,
                  2022 is RESCHEDULED to July 18,2022 at 4:30PM in Courtroom 15C at the 500
                  Pearl Street Courthouse. (HEREBY ORDERED by Judge Lewis J. Liman) (Text Ouly
                  Order) (mf) (Entered: 07/08/2022)
07/08/2022        SetlReset Hearings: Oral Argument set for 7/18/2022 at 04:30 PM in Courtroom 15C,
                  500 Pearl Street, New York, NY 10007 before Judge Lewis J. Liman. (mf) (Entered:
                  07/08/2022)
07/11/2022   II LETTER MOTION to Adjourn Conference (oral argument on pending motions to
                dismiss) addressed to Judge Lewis J. Liman from AUSA Allison Rovner dated July II,
                2022. Document med by William Barr, Michael Carvajal, Enid Fehns, Jon Gustin,
                Patrick Mcfarland, Adam Pakula, James Petrucci, United States of America.. (Rovner,
                Allison) (Entered: 07/1112022)
07/14/2022   75   ORDER granting II Letter Motion to Adjourn Conference. The Oral Argument on the
                  pending motions to dismiss is RESCHEDULED to August 2, 2022 at 4:30PM in
                  Courtroom 15C at the 500 Pearl Street Courthouse. (Oral Argument set for 8/2/2022 at
                  04:30 PM in Courttoom 15C, 500 Pearl Street, New York, NY 10007 before Judge
                  Lewis J. Liman.) (HEREBY ORDERED by Judge Lewis J. Liman)(Text Only Order)
                  (mf) (Entered: 07/14/2022)
08/02/2022        Minute Entry for proceedings held before Judge Lewis J. Liman: Oral Argument held
                  on 8/2/2022 re: .l2 MOTION to Dismiss med by William Barr, James Petrucci, Enid
                  Fehns, Michael Carvajal, Patrick Mcfarland, Jon Gustin, United States of America,
                  Adam Pakula, and 11 MOTION to Dismiss med by Donald J. Trump. Jeffrey Levine
                  and Andrew Lanfer present for Plaintiff. Allison Rovner and Alyssa O'GaIlagher
                  present for Defendants. Alina Habba and Michael Madaio present for Defendant,
                  Donald J. Trump. Court reporter present The Court heard argument from all parties
                  regarding Defendants' pending motions to dismiss. The Court takes the matter under
                  advisement, decision reserved by the Court. Defendants' directed to order a copy of the
                  transcript on an expedited basis and to split cost between Defendants. (mf) (Entered:
                  08/11/2022)
11114/2022   1.§. OPINION AND ORDER re: .l2 MOTION to Dismiss. med by William Barr, James
                  Petrucci, Enid Febus, Michael Carvajal, Patrick Mcfarland, Jon Gustin, United States
                  of America, Adam Pakula, l8. LETTER MOTION to Stay Discovery addressed to
                  Judge Lewis J. Liman from AUSA Allison Rovner dated March 31, 2022. med by
                  William Barr, James Petrucci, Enid Febus, Michael Carvajal, Patrick Mcfarland, Jon
                  Gustin, United States of America, Adam Pakula, 11 MOTION to Dismiss. med by
                  Donald J. Trump. The motions to dismiss are GRANTED. The Clerk of Court is
                  respectfully directed to close Dkt. Nos. 38, 39, 41. SO ORDERED. (Signed by Judge
                  Lewis J. Liman on 11/14/2022) (tg) Transmission to Orders and Judgments Clerk for
                  processing. (Entered: 11114/2022)
11115/2022   12. CLERK'S JUDGMENT re: 1.§. Opinion & Order. in favor of United States of America,
                  Adam Pakula, Donald J. Trump, Enid Febus, James Petrucci, Jon Gustin, Michael
                  Carvajal, Patrick Mcfarland, William Barr against Michael D. Cohen. It is hereby
                  ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the Court's
                  Opinion & Order dated November 14, 2022, Defendants' motions to dismiss are
                  GRANTED; accordingly, the case is closed. (Signed by Clerk of Court Ruby Krajick
                  on 11115/2022) (nd) (Entered: 11115/2022)
01110/2023   18. NOTICE OF APPEARANCE by E. Danya Perry on behalf of Michael D.
                  Cohen.. (Perry, E. Danya) (Entered: 01110/2023)
     Case 23-35, Document 49, 04/24/2023, 3504052, Page13 of 139
                                          A-10


         Case 23-35, Document 5-2, 01/10/2023, 3450068, Page12 of 12

01/10/2023   1!l. NOTICE OF APPEAL from 11. Clerk's Judgment" 1fI. Memorandum & Opinion,,,.
                 Document filed by Michael D. Cohen. Filing fee $ 505.00, receipt number
                 BNYSDC-27181891. Fonn C and Form D are due within 14 days to the Court of
                 Appeals, Second Circuit..(perry, E. Danya) Modified on 1110/2023 (nd). (Entered:
                 01/10/2023)
01/1012023       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                 Appeals reo 1!l. Notice of Appeal, .. (nd) (Entered: 01110/2023)
01110/2023       Appeal Record Sent to USCA (Electrouic File). Certified Indexed record on Appeal
                 Electrouic Files for 1!l. Notice of Appeal, filed by Michael D. Cohen were transmitted
                 to the U.S. Court of Appeals .. (nd) (Entered: 01/10/2023)
            Case 23-35, Document 49, 04/24/2023, 3504052, Page14 of 139
                                                       A-11


              Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 1 of 31



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
mannnanannnnneemeeeeeexX
---------------------------------------------------------------X    Case      ~\ CV
                                                                    Case No.: 2) CU IOlltf
                                                                                    lO774.
MICHAELD. COHEN,
                                             Plaintiff,             COMPLAINT AND DEMAND
                  -against-                                         FOR A JURY TRIAL

UNITED STATES OF AMERICA,
DONALD
DONALDJ.   J. TRUMP,    former President of
              TRUMP,formerPresident
the United States, WILLIAM BARR,        former
                               BARR,former
Attorney General of the United State~,
                                 States, MICHAEL
CARVAJAL, Director of the Bureau of       Prisons,
                                      ofPrisons,
JON GUSTIN,    Administrator of the Residential
      GUSTIN,Administrator
Reentry Management Branch of the Bureau of        Prisons,
                                               ofPrisons,
PATRICK McFARLAND,          Residential Reentry
           McFARLAND,Residential
Manager
Managerofof the Federal Bureau of Prisons,
JAMES PETRUCCI, Warden ofFCI   of FCI Otisville,
ENID FEBUS,     Supervisory Probation Officer
       FEBUS, Supervisory
of the United
of the United States
              States Probation
                     Probation and
                                and Pretrial
                                    Pretrial Services
                                             Services
ADAM PAKULA,        Probation Officer ofthe
        PAKULA,Probation               of the
United States Probation and Pretrial Services,
and JOHN and JANE DOE        (1-10) agents, servants,
                       DOE(1-10)
and employees of the United States,
                                       Defendants,
----------------------------------------------------------------X
wreneen nnn nnnnnnnnnnnnnnnn nn nex


        Plaintiff MICHAEL D. COHEN, by his attorneys, Andrew C. Laufer of the Law Office of
                             COHEN,byhis

Andrew C. Laufer, PLLC and Jeffrey K. Levine of the Law Office of Jeffrey K. Levine as and

for his
for his complaint
        complaint against
                  against the
                          the defendants
                              defendants alleges
                                         alleges as
                                                 as follows:
                                                    follows:
                                     PRELIMINARY STATEMENT

1.                                                                                   Bivens v. Six
        This civil rights action seeks redress under the Federal Tort Claims Act and Bivensv.

         Unknown Named Agents of Federal Bureau of Narcotics for injuries plaintiff suffered

        from the
        from the unconstitutional
                 unconstitutional and
                                  and unlawful
                                      unlawful conduct
                                               conduct of
                                                       of defendants, UNITED STATES
                                                          defendants, UNITED STATES OF
                                                                                    OF
        AMERICA(“United
        AMERICA           States”), DONALD 1.
                 ("United States"),        J. TRUMP, former President of the United

        States, WILLIAM BARR, former Attorney Gencral
                                              General of the United States, MICHAEL

                                                         l
       Case 23-35, Document 49, 04/24/2023, 3504052, Page15 of 139
                                            A-12


         Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 2 of 31



     CARVAJAL, Director of the Federal Bureau of Prisons, JON GUSTIN, Administrator of

     the Residential Reentry Management Branch ofthe
                                               of the Federal Bureau of Prisons, PATRICK

     McFARLAND,Residential
     McFARLAND, Residential Reentry Manager of the Federal Bureau of Prisons, JAMES

     PETRUCCI, Warden of FCI Otisville,
                             Otisville; ENID FEBUS, Supervisory Probation Officer of

     the United States Probation and Pretrial Services ADAM PAKULA,Probation
                                                            PAKULA, Probation Officer of

     the United States Probation and Pretrial Services, and JOHN and JANE DOE  (1-10)
                                                                          DOE(1-10)

     agents, servants, and employees ofthe
                                     of the United States.

2.   Plaintiff, Michael D. Cohen, was retaliated against by the defendants for the lawful

     exercise of his First Amendment right to free speech, in relation to his public comments
                           Amendmentright

     and upcoming publication of a book shortly before the 2020 election, critical of the

     former President of the United States, Donald J. Trump.

3.   Specifically, Mr. Cohen sought to inform the public about the former President’s
                                                                          President's private

     and public life involving both the presidency and business dealings.

4.   After pleading guilty to various crimes, including lying to Congress and campaIgn
                                                                              campaign

     finance violations, committed in coordination with and at the direction of defendant

     Trump, Mr. Cohen was sentenced and held at FCI Otisville between May 2019 and May

     2020.

5.   On or about April 2020, the Federal Bureau of Prisons (“FBOP")
                                                           ("FBOP") determined that Mr.

     Cohen was at high risk for serious illness and death related to the COVID-19 pandemic
           wasat

     and was later placed on furlough status and returned to his residence in New York

     County.




                                             2
         Case 23-35, Document 49, 04/24/2023, 3504052, Page16 of 139
                                              A-13


          Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 3 of 31



6.    At the end of his furlough period, it was determined that Mr. Cohen would
                                                                          wouldtransition
                                                                                 transition to

      homeconfinementin
      home confinement in order to serve the remaining portion of his sentence.

7.    During the furlough time-period, Mr. Cohen made various public statements

      demonstrating his intent to publish a tell-all book about President Trump  in short order.
                                                                          Trumpinshort

8.    One of these statements was made via the social media platform, Twitter. On June 26,

      2020 he tweeted #WillSpeakSoon. On July 2, 2020, Mr. Cohen tweeted that he has

      almost completed his book about his experiences with President Trump.

9.    On or about July 7, 2020 Mr. Cohen was contacted by an entity known as GEO -— a

      third-party contractor who acted on behalf of the FBOP.
                             whoacted

10.
10.   GEO's role was
      GEO’srole      to transition Mr. Cohen from furlough status to home confinementstatus
                 wasto                                                    confinement stahlS

      at his New York County residence and would then supervise Mr. Cohen’s
                                                                    Cohen's residential

      reentry, attach and monitor plaintiff with an ankle location monitoring system and enforce
                          monitorplaintiff

      other rules.
      otherrules.


II.
11.   GEO scheduled Mr. Cohen's  transition for July 9, 2020 at his residence.
                        Cohen’stransition

12.
12.   Mr. Cohen understood and agreed to comply with GEO.

13.
13.   At the last minute, Mr. Cohen was contacted by defendant Adam Pakula on July 8, 2020

      to advise that GEO was being discharged and the United States Probation and Pretrial

      Services would assume GEO's
                            GEO’s role over Mr. Cohen.


14.   Defendant McFarland authorized defendant Pakula to direct Mr. Cohen leave his upper

      east side residence and travel downtown on the following day, July 9,2020,
                                                                         9, 2020, to appear at

      the United States Probation and Pretrial Services office located in lower Manhattan

      within the
      within the United States Southern
                 United States Southern District
                                        District Courthouse
                                                 Courthouse at
                                                            at 500
                                                               500 Pearl Street.
                                                                   Pearl Street.


                                               3
        Case 23-35, Document 49, 04/24/2023, 3504052, Page17 of 139
                                              A-14


          Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 4 of 31



15.
15.   Defendant Pakula explained Mr. Cohen needed to review some home confinement

      transition paperwork at the Courthouse office. Thereafter, defendant Pakula and various

      United States officers would travel uptown to Mr. Cohen’s
                                                        Cohen's residence where the transition

      meeting would continue and fit plaintiff with an ankle location monitoring system.
                             andfit

16.
16.   As with GEO, Mr. Cohen had no objection, understood what was expected of him and

      looked forward to home confinement status.
                             confinementstatus.


17.
17.   On July 9, 2020, merely one week after the plaintiff’s      2nd tweet, Mr. Cohen was
                                                 plaintiff's July 2"4

      presented with a Federal Location Monitoring Program Participant Agreement

      (hereinafter FLM), in order to transition to home confinement, and which agreement

      required his signature.

18.
18.   The very first condition within the agreement specifically forbade Mr. Cohen from

      speaking to or through all media, including publishing his tell-all book about then

      President Trump.

19.
19.   The
      The FML
          FML condition
              condition read
                        read as
                             as follows:
                                follows:


               “No engagement of any kind with of the media, including print, tv, film,
               "No
               books, or any other form of media/news. Prohibition from all social media
               platforms. No posting on social media and a requirement that you
               communicate with friends and family to exercise discretion in not posting
               on your behalf or posting any information about you. The purpose is to
               avoid glamorizing or bringing publicity to your status as a sentenced
               inmate serving a custodial term in the community."
                                                      community.”

20.   This “condition,”
           "condition," completely uncharacteristic for an FLM, wasa
                                                                was a primafacie
                                                                      prima facie violation of

      Mr. Cohen's
          Cohen’s constitutional rights under the First Amendmentas
                                                        Amendment as well as in retaliation for

      his public comments and proposed publication of his tell-all book critical of President

      Trump.

                                               4
         Case 23-35, Document 49, 04/24/2023, 3504052, Page18 of 139
                                               A-15


         _ Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 5 of 31




21.    Mr. Cohen sought clarification and possible revision of the proposed limitations within

       his home confinement FLM agreement.

22.
22.    Defendants stated they had to confer with their superiors to determine whether they could

                                                                   directed Mr. Cohcn
       further clarify or revise the media contact limitations and dirccted              remain in
                                                                                Cohen to remainin

       their waiting room.

23.
23.    During the supposed "conferring",
                           “conferring”, Mr. Cohen waited for approximately 112
                                                                            1% hours            m
                                                                                                in

       their waiting room.

24.
24.    Rather than reengage with Mr. Cohen about clarification and possible revision defendants
                                           aboutclarification

       instead remanded plaintiff to FCI Otisville to serve the rest of his sentence.
               remandedplaintiff

25.
25.    Due to the COVID-19 pandemic, this remand placed Mr. Cohen'slife
                                                            Cohen's life in danger.

26.
206.   Defendants were readily aware, yet unconcerned with the risk of serious illness and death

       remanding Mr. Cohen could cause and which would unilaterally alter plaintiff’s
                                                                          plaintiff's sentence

       imposed by the Court.

27.         plaintiff's arrival at FCI Otisville, defendant Petrucci placed and/or was jointly
       Upon plaintiff’s

       responsible for placing Mr. Cohen in solitary
                                            soiitary confinement where he remained for

       approximately sixteen (16) days.

28.
28,    On July 23, 2020 the Honorable Alvin K. Hellerstein, USDJ issued an Order granting a

       preliminary injunction directing defendants to immediately release Mr. Cohen to home

       confinement. The Court further held that defendants
                                                defendants"“....
                                                              . . purpose in transferring Cohen

       from release on furlough and home confinement back to custody was retaliatory in

       response to Cohen desiring to exercise his First Amendment rights to publish a book




                                                 5
          Case 23-35, Document 49, 04/24/2023, 3504052, Page19 of 139
                                                  A-16


            Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 6 of 31



        critical of the President and to discuss the book on social media.”                ~ Order
                                                                    media." (See Exhibit A —

        of the Hon. Alvin K. Hellerstein, USDJ attached hereto.)

  29.
  29.   Plaintiff seeks redress for the extreme physical and emotional harm hesuffered
                                                                            he suffered as a result

        of the conduct of all defendants, and for the pain and suffering he continues to

        expenence.
        experience.

                                  JURISDICTION AND VENUE
                                  JURISDICTION AND VENUE

  30.
  30.   This Court has jurisdiction over the subject matter of this complaint under 28 U.S.c.
                                                                                       U.S.C. §§

        1331, 1346(b), 28 U.S.C.
                          U.S.c. §2671, et. seq.,
                                            seqg., Federal Tort Claims Act, and Bivens v. Six

        Unknown Named Agents a/Federal        a/Narcotics, 403 U.S. 388 (1972).
                             ofFederal Bureau ofNarcotics,

 31.
 31.    On or about June 15, 2021, plaintiff filed a claim under the Federal Tort Claims Act

        demanding damages of a set sum and
                  damagesof                has satisfied the jurisdictional prerequisites.
                                       andhassatisfied

 32.    To date, neither plaintiff nor his counsel received a response to the aforementioned claim

        and more than 6 months has passed since its filing.
                               haspassedsince

 33.
 33.    Venue is properly within the Southern District of New York under 28 U.S.C. §1402(b)

        and 28
        and 28 U.S.c.
               U.S.C. §1391(b)(2)
                      §1391(b)(2) as
                                  as the
                                     the acts
                                         acts and
                                              and omissions that are
                                                  omissions that are the
                                                                     the subject of this
                                                                         subject of      complaint
                                                                                    this complaint

        occurred within this district.

  JURY TRIAL DEMAND
JURY
DEMAND
  TRIAL

 34.    Plaintiff demands
                  demandsaa trial by jury on all issues in this action which  are so triable.
                                                                       whicharesotriable.

                                              PARTIES
                                              PARTIES


 35.    At all times relevant herein plaintiff, Michael D. Cohen,is
                                                           Cohen, is a resident of the county, city,

        and state of New York.




                                                   6
        Case 23-35, Document 49, 04/24/2023, 3504052, Page20 of 139
                                                  A-17


          Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 7 of 31



36.   At all times relevant herein plaintiff was formally under the custodial, supervisory, and

      disciplinary authority of all defendants.

37.
37.   At all times relevant herein, defendant Donald J. Trump was President of the United

      States and is being sued in his individual capacity. As President, he was head of the

      Executive Branch of the Federal Government. He was responsible for the oversight and

      enforcement of the laws of the United States. Defendant Trump
      enforcementof                                                  issued specific directives
                                                              Trumpissued

      and guidance to his co-defendants that governed the treatment of plaintiff and others who
          guidanceto

      he believed were his political enemies. At his direction, plaintiff was remanded
                                                                              rcmandcd back to

      prison and subjected to great indignities when he was unlawfully incarcerated and held in

      solitary confinement.

38.   Atall
      At     times relevant
         all times relevant herein,
                            herein, defendant
                                    defendant William
                                              William Barr
                                                      Barr was Attorney General
                                                           was Attorney         of the
                                                                        General of the United
                                                                                       United

      States and is being sued in his individual capacity. As Attorney General, defendant Barr

      was head of the Department of Justice and chief law enforcement officer of the Federal

                     was responsible for the oversight of the FBOP. Defendant Barr issued
      Government. He wasresponsible

      directives and guidance to his co-defendants which specifically governed the care,

      custody, and control ofplaintiff. At the behest ofthen President Trump, and upon his own
      custody, and c,ontrol of plaintiff. At the behest of then President Trump, and upon his own

      volition, defendant Barr directed his subordinates to retaliate against plaintiff for the

      lawful exercise of his First Amendment rights by remanding him back to prison, and

      placing and/or was jointly responsible for placing him in solitary confinement at FC!
                                                                                        FCI

      Otisville.

39.
39,   Atall
      At all times relevant herein, defendant Michael Carvajal was Director of the FBOP
                                                                                   FBOPandis
                                                                                        and is

      being sued in his individual capacity. As Director of the FBOP, defendant Carvajal

                                                  7
         Case 23-35, Document 49, 04/24/2023, 3504052, Page21 of 139
                                              A-18


          Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 8 of 31



      oversaw operations of all prisons and detention facilities in the United States prison

      system and was responsible for the oversight and management of FCI Otisville. He

      specifically issued directives and guidance to his co-defendants which specifically

      governed the care, custody, and control
      governedthe                             of plaintiff. At the behest of his superiors, Trump
                                      controlof

      and Barr, and upon his own volition, defendant Carvajal directed his subordinates to

      retaliate against plaintiff for the lawful exercise of his First Amendment rights by

      remanding him backto
                    back to prison, and placing and/or was jointly responsible for placing him
                                                       wasjointly

      in solitary
         solitary confinement at FCT
                                 FCI Otisville.

40.
40.   At all times relevant herein, defendant James Petrucci was Warden of FCI Otisville. As
      Atall

      Warden of FCl
                FCI Otisville, defendant Petrucci oversaw operations of the prison and is

      responsible for its oversight and management. He specifically issued directives and

      guidance
      guidance to
               to his
                  his co-defendants
                      co-defendants which  specifically governed
                                    whichspecifically   governed the
                                                                 the care, custody, and
                                                                     care, custody, and control
                                                                                        control
      of the plaintiff. At the behest of his superiors, and upon his own volition, defendant

      Petrucci directed his subordinates to retaliate against plaintiff for the lawful exercise of

      his First Amendment rights by remanding him back to prison, and placing and/or was

      jointly responsible for placing him in solitary confinement at Fcr
                                                                     FCI Otisville.

41.
41.   At all times relevant herein, defendant Jon Gustin was Administrator of the Residential

      Reentry Management Branch of the FBOP. As administrator, he oversaw transferring of

      prisoners to home confinement and was responsible for the
                                                             the programs oversight and

      management. Defendant Gustin specifically issued directives and guidance to his co-

      defendants which specifically governed the care, custody, and control of
                                                                            ofplaintiff.
                                                                               plaintiff. At the

      behest of his superiors, and upon his own volition, defendant Gustin directed his

                                                  8
        Case 23-35, Document 49, 04/24/2023, 3504052, Page22 of 139
                                              A-19


          Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 9 of 31



      subordinates to retaliate against plaintiff for the lawful exercise of his First Amendment

      rights by remanding him back to prison, and placing and/or was jointly responsible for

      placing him in solitary confinement at Fer
                                             FCI Otisville.

42.
42.   At all times relevant herein, defendant Patrick McFarland was a Residential Reentry

      Manager of the FROP.
                     FBOP. As manager, he oversaw the transferring of prisoners to home

      confinement and was responsible for the programs oversight and management. He

      specifically issued directives and guidance to his co-defendants which specifically

      governed the care, custody, and control of plaintiff. At the behest of his superiors and

      upon his own volition, defendant McFarland retaliated against plaintiff for the lawful

      exercise of his First Amendment rights by remanding him back to prison, and placing

      and/or was jointly responsible for placing him in solitary confinement at FCr
             wasjointly                                                         FCI Otisville.

43.   At all times relevant herein, defendant Enid Febus was a Supervisory Probation Officer
      Atall

      of the United States Probation and Pretrial Services. She was responsible for the care

      custody and control of plaintiff in the oversight, maintenance, and control of his home

      confinement and post-prison sentence. Defendant Febus specifically
                                                            spccifically issued directives and

      guidance to her co-defendants which specifically governed the care, custody, and control

      of plaintiff. At the behest of her superiors and upon her own volition, defendant Febus

      directed her subordinates to retaliate against plaintiff for the lawful exercise of his First
                   subordinatesto

      Amendment rights by remanding him back to prison, and placing and/or was jointly

      responsible for placing him in solitary confinement at FCI
                                              confinementat  Fcr Otisville.

44.
44,   At all times relevant herein, Adam Pakula was a Probation Officer of the United States

      Probation and Pretrial Services. He was responsible for the care custody and control of


                                                9
          Case 23-35, Document 49, 04/24/2023, 3504052, Page23 of 139
                                                A-20


           Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 10 of 31



        plaintiff in the oversight, maintenance, and control of his home confinement and post-

        prison sentence. Defendant Pakula issued directives and guidance which specifically

        governed the care, custody, and control of plaintiff. At the behest of his superiors and

        upon his own volition, defendant Pakula  retaliated against plaintiff for the lawful exercise
                                         Pakularetaliated

        of his First Amendment rights by remanding him back to prison, and placing and/or was
                     Amendmentrights

        jointly responsible for placing him in solitary confinement at FCI
                                                                       FCIOtisville.
                                                                           Otisville.

  45.
  45.   At all times relevant herein, defendants JOHN and JANE DOE(1-10)
                                                               DOE (1-10) were agents,

        servants, and employees of the United States who were responsible for the retaliation and

        unlawful incarceration of plaintiff whose identities are unknownatthis
                                                                 unknown at this time.

  46.
  46.   At all times relevant herein, defendant United States owned, operated, maintained and
        Atall

        controlled the Department of Justice, Federal Bureau of Prisons, the Residential Reentry

        Management
        Management Office,
                   Office, the
                           the United
                               United States
                                      States Probation
                                             Probation and
                                                       and Pretrial
                                                           Pretrial Services,
                                                                    Services, and the
                                                                              and the
        correctional facility FCI Otisville in the state of New York, and is the appropriate

        defendant under the Federal Torts Claim Act (“FTCA”).
        defendant under the Federal Iorts Claim Act ("FICA").

  47.
  47.   At all times relevant herein, the individual defendants acted within the course and scope
        Atall

        of their employment and under color of law. Plaintiff is suing them in their individual

        capacity.

   FACTUAL ALLEGATIONS
FACTUAL
   ALLEGATIONS

                    Mr. Cohen's
                        Cohen’s Prior Involvement with the former President

  48.   Mr. Cohen was previously employed by the former President, Donald J. Trump as an

        attorney and personal advisor in excess of one decade.




                                                 10
              Case 23-35, Document 49, 04/24/2023, 3504052, Page24 of 139
                                                    A-21


               Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 11 of 31



49.
49.        While employed at the Trump Organization, plaintiff became a surrogate of dcfcndant
                                                                                     defendant

           Trump during his 2016 United States Presidential campaign. Thereafter, and upon

           becoming personal attorney to the President of the United States, he continued to counsel

           and advise then President Trump on legal and personal matters.

 50.
 50.       Throughout his affiliation with defendant Trump, Mr. Cohen was
           Throughouthis                                                  privy to his decision-
                                                                      wasprivy

           making, businesses, campaign, and governing  strategies.
                                             governingstrategies.

51.
S51.       He also witnessed,
           He also witnessed, first-hand,
                              first-hand, the
                                          the way
                                              way defendant
                                                  defendant Trumptreated
                                                            Trump treated andretaliated  against his
                                                                          and retaliated against his

           perceived enemies.
           perceived enemies.
52.
52.        In August and November 2018 Mr. Cohen pleaded guilty to violations of federal law
           In August and November 2018 Mr. Cohen pleaded guilty to violations of federal law

           undcrtakcn in coordination with and
           undertaken                          at the direction of defendant Trump.
                                           andat

53.
 53.       He wassentenced
           He was sentenced to
                            to 36
                               36 months  incarceration.
                                  monthsincarceration.


54.
54.        On May 6, 2019, Mr. Cohen voluntarily surrendered for service of his sentence at FCI

           Otisville.
           Otisville.


55.
55.        During the term ofhis
                            of his incarceration, Mr. Cohen began working on a manuscript, which

                                                 book!,l , regarding his over decade long association
           would eventually be formulated into a book

           with defendant Trump.

56.        The publication chronicled the arc of his experiences with defendant Trump and how,

           upon reflection, came to the realization that his actions in furtherance of defendant

           Trump's
           Trump’s agenda ultimately led to his own downfall.
                   agendaultimately

57.        Mr. Cohen publicly stated that his book concerned matters of great national concern and

           interest. Considering his firsthand experiences with the former
                                                                    fonner President, plaintiff was


11   Disloyal: A Memoir: The True Story of the Fonner
                                               Former Personal Attorney to President Donald J. Trump
                                                     II
                                                     11
         Case 23-35, Document 49, 04/24/2023, 3504052, Page25 of 139
                                                 A-22


         Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 12 of 31



      privy to years of his non-public behavior which included, but was not limited to, anti-

      Semitic and racist remarks regarding numerous  individuals including prominent members
                                           numerousindividuals

      of the public such as former President Barack Obama and former President Nelson

      Mandela.
      Mandela.


58.
58.   Mr. Cohen’s book included numerous quotes and documentary evidence supporting
      Mr. Cohen's book included numerous quotes and documentary evidence supporting

      defendant Trump's
                Trump’s unseemly non-public behavior.

59.
59.   Further, Mr. Cohen publicly stated that his book would be unfavorable for defendant

      Trump and would substantiate his descriptions elicited during his Congressional

      testimony that then President Trump was "a
                                              “a cheat, a liar, a conman, a racist,”
                                                                            racist," among

      other things.

60.   Defendant Trump was aware of Mr. Cohen being witness to many years of the

                                                  not reflect well if made public, and even
      aforementioned unseemly conduct which would notreflect

      more specifically, could negatively impact his 2020 run for a second term as President of

      the United States.
      the


61.   Former President Trump was aware of Mr. Cohen’s
                                              Cohen's Congressional testimony briefly

      described and quoted above.

                      Mr. Cohen’s Release on Furloughfrom FCI Otisville
                      Mr. Cohen's Release on Furlough from FCIOtisville

62.   Mr. Cohen’s initial incarceration, prior to his unlawful remand, was uneventful, The
      Mr. Cohen's initial incarceration, prior to his unlawful remand, was uneventful. The

      drafting of his book during this time period was in compliance with all rules and

      regulations applicable to FCI Otisville.

63.   Upon completion of his sentence, Mr. Cohen was to
                                                     Lo be released from Otisville on

      November 22,2021.
      November22, 2021.


                                                 12
                                                 12
        Case 23-35, Document 49, 04/24/2023, 3504052, Page26 of 139
                                              A-23


         Case 1:21-cv-10774-LJL
         Case 1:21-cv-10774-LJL Document
                                Document 33 Filed
                                            Filed 12/17/21
                                                  12/17/21 Page
                                                           Page 13
                                                                13 of
                                                                   of 31
                                                                      31


64.
64.   Onset of the COVID-19 pandemic altered his sentence due to the fact that it was easily

      spread within the close confinement of a prison.
                              confinementof

65.
65.   This had special significance for Mr. Cohen due to various health comorbidities that

      made him highly susceptible to infection, serious injury and death from SARS-CoV-2.

66.
66.   As a result, Mr. Cohen petitioned the
                                        the defendants for early release from Fcr
                                                                              FCI Otisville

                 Congress’s passage of the CARES Act and defendant Barr's
      based upon Congress's                                        Barr’s March 26 and

      April 3, 2020 memorandums.

67.
67.   On March 31, 2020, Mr. Cohen submitted his request to FBOP officials for his release on
                                                            FBOPofficials

      furlough and then transfer to homeconfinement.
      furlough and then transfer to home confinement.

68.
68.   FBOP  officials, substantiated Mr. Cohen's
      FBOPofficials,                     Cohen’s concerns for his health, determined that he

      should be released on furlough and then transferred to home confinement.

69.   On April 18, 2020, Mr. Cohen was granted furlough approval by FBOP. The furlough

      time period was from May 1, 2020 to May 31, 2020.

70.
70.   Fourteen (14) days prior to plaintiff’s
                                  plaintiff's scheduled May 1, 2020 transfer to furlough Mr.

      Cohen was sequestered and placed into solitary confinement for what FCI Otisville
      Cohen was sequestered and placed into solitary confinement for what FCr Otisville

      officials represented would be the standard quarantine period -— plaintiff complied.

71.
71.   Defendants, however, kept Mr. Cohen in solitary confinement for approximately 35 days
                                    Cohenin

      rather than 14 days. Thereafter Mr. Cohen wastransferred
                                                was transferred to furlough.

72.   During the furlough time period, Mr. Cohen made several public statements via Twitter

                                        ofhis
      regarding the imminent publishing of his tell-all book about defendant Trump. A number

                           accompaniedby
      of those tweets were accompanied by the hashtag #WillSpeakSoon. Mr. Cohen planned to

      release his book by late September 2020.


                                              13
                                              13
         Case 23-35, Document 49, 04/24/2023, 3504052, Page27 of 139
                                               A-24


         Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 14 of 31



                              Plaintiff's Retaliatory Confinement
                              Plaintiff’s

73.
73.   In compliance with the directive of defendant Pakula, on July 9, 2020, Mr. Cohen,

      accompanied by his attorney, reported to the u.s.
                                                   U.S. Probation Office in downtown

      Manhattan in order to transition from furlough to home confinement. They met with

      Probation Officer Adam Pakula and Supervisory U.S. Probation Officer Enid Febus.

74.
74.   Defendants Pakula and Febus handed them a Federal Location Monitoring Program

      Participant Agreement(hereinafter
                  Agreement (hereinafter FLM).

75.
75.   The very first paragraph of the FLM read as follows:

             “No engagement of any kind with the
             "No                                   the media, including print, tv, film,
             books, or any other form of media/news. Prohibition from all social media
             platforms. No posting on social media and a requirement that you
             communicate with friends and family to exercise discretion in not posting
             on your behalf or posting an information about you. The purpose is to
             avoid glamorizing or bringing publicity to your status as a sentenced
             inmate serving a custodial tenn
                                        term in the community."
                                                    community.”

76.
76.   It was painfully apparent to Mr. Cohen and his counsel that the defendants were

      attempting to unlawfully, and in violation of his First Amendment rights under the United

      States Constitution, crcatc                                           Cohen's right to free
                           create a chilling effect and thereby silence Mr. Cohen’s

      speech basedonthe
             based on the priorrestraint
                          prior restraint set forth therein.

77.
77,   It was obvious this prior restraint paragraph was not normally included in FLMs
             obviousthis                                                              for those
                                                                                 FLMsfor

      transferring from incarceration or furlough to home confinement.
                                                          continement.

78.   Further, the document itself was not in the standard form issued by the defendants. It

      contained numerous grammatical and typographical errors, and had no legend identifying

      its federal fonn
                  form designation.




                                                14
                                                14
         Case 23-35, Document 49, 04/24/2023, 3504052, Page28 of 139
                                               A-25


         Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 15 of 31



79,
79.   Mr. Cohen and his counsel inquired why this paragraph was included within the FLM as

      it did not appear to be standard and that it would prevent him from the publication of his

      book.
      book.


80.
80.   Defendant Febus insisted the proposed FLM wasthe
                                                was the standard form used and Mr. Cohen

      was not being
      wasnot  being treated
                    treated any
                            any differently
                                differently than other prisoners.
                                            than other prisoners.

81.
81.   Defendant Pakula
      Defendant Pakula agreed
                       agreed and
                              and did
                                  did not
                                      not attempt
                                          attempt in
                                                  in any
                                                     any way
                                                         way toto correct,
                                                                  correct, modify or elaborate
                                                                           modify or elaborate
                   Febus’ statement, until defendant Pakula was underoath.
      co-defendant Febus'                                       under oath.

82.   In a July 22, 2020 signed declaration made under the penalty of perjury and submitted to

      the
      the Court in Cohen
          Court in Cohen v.v. Barr
                              Barr et ai, supra,
                                   etal,  supra, document number 23,
                                                 document number 23, defendant Pakula admitted
                                                                     defendant Pakula admitted
      in great detail how he and defendant Febus  lied to plaintiff.
                                           Febuslied

83.
83.   Further, the proposed FLM restrictions placed upon plaintiff's
                                                         plaintiff’s friends and family were

      onerous. It was questionable, in the least, how Mr. Cohen could be held responsible for

      the actions of others outside of his control.

84.   Inquiry was made
      Inquiry was made whether
                       whetheritit would
                                   would be
                                         be possible for the
                                            possible for     defendants toto adjust
                                                         the defendants      adjust the language
                                                                                    the language

                                       agreementsince
      or remove paragraph one from the agreement since it was overly broad, burdensome, and

      would unreasonably restrain Mr. Cohen's  rights.
                                      Cohen’srights.

85.                                                                 Cohen’s inquiry and "run
      The parties agreed to table this issue so they could take Mr. Cohen's             “runitit

      up the
      up the chain
             chain of
                   of command."
                      command.”    .
86.   After reviewing the rest of the FLM, Mr. Cohen asked some
                                                           someclarifying
                                                                 clarifying questions which

      were satisfactorily answered by the defendants.

87.   At no point during the meeting with defendants was Mr. Cohen asked to sign the FLM

      agreement.


                                                15
                                                15
         Case 23-35, Document 49, 04/24/2023, 3504052, Page29 of 139
                                              A-26


         Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 16 of 31



88.
88.   At no point did Mr. Cohen refuse to sign the FLM agreement, withhold consent to

      electronic monitoring, or any other condition of home confinement.

89.
89.   Following their review of the FLM agreement, defendants Pakula and Febus directed Mr.

      Cohen and
      Cohen and his
                his counsel
                    counsel toto remain
                                 remain inin the
                                             the waiting
                                                 waiting area
                                                         area while
                                                              while awaiting
                                                                    awaiting aa response
                                                                                response from their
                                                                                         from their

      superiors regarding paragraph one, the prior restraint provision, ofthe
                          paragraphone,theprior                         of the FLM.

90.
90.   After approximately
      After approximately 45
                          45 minutes,
                             minutes, plaintiff's
                                      plaintiff’s attorney
                                                  attorney inquired
                                                           inquired with defendants Pakula
                                                                    with defendants Pakula and
                                                                                           and
      Febus if everything was all right. Defendant Pakula assured him that everything was fine
                          wasall

      and they werestill
               were still awaiting a response from their superiors.

91.
91.   After a total waiting time of approximately 1liz hours three United States Marshals
                                                  1%

      arrived in
      arrived in the
                 the waiting
                     waiting area,
                             area, served
                                   served counsel
                                          counsel with an RRC
                                                          RRC remand ordered by
                                                                             by defendant
                                                                                defendant
      McFarland regarding Mr.
      McFarland regarding Mr. Cohen
                              Cohen that
                                    that falsely
                                         falsely stated
                                                 stated Mr.
                                                        Mr. Cohen
                                                            Cohen had“failed  to agree
                                                                  had "failed to agree toto the
                                                                                            the

      terms of Federal Location Monitoring"
                                Monitoring” and was being remanded for that reason.

92.   United States Marshals, over the objection of counsel, shackled, handcuffed and

      remanded plaintiff to prison.
      remandedplaintiff

93.   Defendant McFarland's
                McFarland’s allegation was a complete fabrication.

94.
94,   From the very start defendants had no intention of releasing Mr. Cohen to home

      confinement and used the onerous and unlawful "prior           provision” of the FLM as
                                                    “prior restraint provision"

      a predicate to remand him back to prison where they knew his life would be in danger

      due to his health conditions and the COVID-19 pandemic.

95.
95.   In the presence of United States Marshals plaintiff’s
                                                plaintiff's attorney stated to co-defendants

      Pakula and
      Pakula and Febus
                 Febusthat:  they knew
                       that: they knew the
                                       the meeting
                                           meeting was
                                                   was not
                                                       not finished, Mr. Cohen
                                                           finished, Mr.       and he
                                                                         Cohen and he were
                                                                                      were



                                               16
                                               16
         Case 23-35, Document 49, 04/24/2023, 3504052, Page30 of 139
                                              A-27


          Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 17 of 31



       waiting to hear back to see what, if anything, could be adjusted in the proposed FLM,
                                                                                        FLM,the
                                                                                             the

       remand order claim was untrue, and his client was willing to sign the FLM "as is".
                                                                                 “asis”.

96.
96.    Co-defendants Pakula and Febus did not deny this and instead respondedthat
                                                                    responded that it was "out
                                                                                          “out

       of their hands”,
                hands", the remand was an order from their superiors, and the proposed FLM

       agreement was “no longer on the table”.
       agreement was "no longer on the table".

97.
97.    In the presence of United States Marshals Mr. Cohen repeatedly stated to co-defendants

       Febus and Pakula that he would sign the FLM "as is" but those offers were rebuffed.
                                                   “asis”

98.
98.    Pursuant to the RRC remand order plaintiff was supposed to be remanded to MDC in
                           remandorder

       Brooklyn and yet defendants violated their own remand order by transporting Mr. Cohen

       to MCC in
       to MCC in Manhattan.
                 Manhattan.


99.
99.    Thereafter, Mr. Cohen was transported back to Otisville and initially placed within a

       special segregated housing unit.

100.   Plaintiff was then transferred to solitary confinement where he spent approximately 16

       days.

101.   During this time period, Mr. Cohen spent 23.5 hours of his day alone within a twelve by

       eight-foot cell. On weekends, Mr. Cohen was only permitted to leave his cell for 30

       minutes.
       minutes.


102.   Aside from the significantly increased risk of contracting COVID-19, the solitary

       confinement space where Mr. Cohen was imprisoned had poor ventilation, no air
                                                                                 aIr

       conditioning, and daily temperatures within plaintiff’s          confinementcell
                                                   plaintiff's solitary confinement cell exceeded

       one-hundred (100°) degrees. These conditions posed serious health risks for Mr. Cohen.




                                                 17
          Case 23-35, Document 49, 04/24/2023, 3504052, Page31 of 139
                                              A-28


           Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 18 of 31



       At times his blood pressure became dangerously high resulting in severe headaches,

       shortness of breath, and anxiety requiring immediate medicalattention.
                                                            medical attention.

103.
103.   While incarcerated, he was unable to proceed with the drafting of his book or make any

       public statements.

                    Defendants Prior History of Retaliation Against Enemies
                                             ofRetaliation
                         of Defendant Trump and his Administration
                         ofDefendant

104.
104.   Defendants efforts to exercise prior restraint over Mr. Cohen’s
                                                               Cohen's book was one instance in a

       long line of retaliatory measures engaged in by defendant Trump, his family and

       associates, and in the weaponization of his administration against his enemies, as with

       plaintiff.

105.
105.   On June 16,2020,
               16, 2020, the Civil Division of the U.S. Department of Justice, under the prior

       leadership of defendant Barr, brought a lawsuit against former National Security Advisor

       John Bolton to block the publication of his book, The Room Where It Happened. After

       instituting the suit, the Department of Justice filed an emergency motion seeking a

       temporary restraining order to stop the publication of his book. The
                                                                        Thc Court dcnied
                                                                                  denied this

       motion and refused to block the book's
                                       book’s publication.

106.
106.   On June 26, 2020, Mr. Trump's
                             Trump’s brother (through the same attorney who hadsent
                                                                            had sent a cease-

       and-desist letter to Mr. Cohen, Charles Harder), filed a lawsuit in New York State

       Supreme Court seeking to block the publication of Mary Trump’s
                                                              Trump's forthcoming book, Too
                                                                                        Zoo

       Much and Never Enough, which promised to disclose, embarrassing yet truthful, details

       of her personal experiences and observations relating to defendant Trump,her
                                                                          Trump, her uncle. The




                                               18
           Case 23-35, Document 49, 04/24/2023, 3504052, Page32 of 139
                                                 A-29


           Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 19 of 31



        Court denied the plaintiff's claims dismissing the action and allowed the publication of

        the book to occur on or about July 14, 2020.

107.
107.    This was not the first attempt to prevent publication of Mr. Cohen’s
                                                                     Cohen's book by the

        defendants. On April 30, 2020, Trump Organization attorney Charles Harder sent a cease-

        and-desist letter to Mr. Cohen's
                                 Cohen’s attorney, claiming Mr. Cohen was barred by a Non-

                             (“NDA”) from publishing his book. Mr. Cohen does not recall
        Disclosure Agreement ("NDA")

        signing any such agreement, nor was
                                        wasaa signed copyofit
                                                     copy of it ever presented to him.

108.
108.    On July 23, 2020 the Honorable Alvin K. Hellerstein, USDJ issued an Order granting a

        preliminary injunction
        preliminary injunction directing
                               directing defendants to release
                                         defendants to release Mr.
                                                               Mr. Cohen
                                                                   Cohen to
                                                                         to home confinement.
                                                                            home confinement.

        The Court further held that defendants "“.. .. .. purpose in transferring Cohen from release

        on furlough and home confinement back to custody wasretaliatory
                                                         was retaliatory in response to Cohen

        desiring to exercise his First Amendment rights to publish a bookcritical
                                       Amendmentrights               book critical of the President

        and to discuss the book on social media."                                Hon. Alvin K.
                                          media.” (See Exhibit A -— Order of the Han.

        Hellerstein, USDJ attached hereto.)

109.    This Exhibit "A"
                     “A” ruling and Order by the Court was not appealed, timely or otherwise.

110.    This Exhibit "A"
                     “A” ruling and Order by Judge Hellerstein
                                                   Hcllerstein is law of the case.
                                                                      ofthe




                                FIRST CAUSE OF OF ACTION
                                                   ACTION
                                        Retaliation
                       New York Common Law/    Federal Tort Claims Act
                                          Law/Federal
                                 (against the United States)

111 .
111.    Plaintiff adopts and incorporates by reference all preceding paragraphs as if said

        paragraphsare
        paragraphs are set forth fully herein.



                                                 19
          Case 23-35, Document 49, 04/24/2023, 3504052, Page33 of 139
                                                A-30


           Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 20 of 31



112.
112.   In the exercising of his right to free speech, the defendants did retaliate against the

       plaintiff by unlawfully detaining him by falsifying a violation of Federal Location

       Monitoring guidelines and, as a result, remanding him back to prison where he was held

       in solitary confinement for approximately 16 days.

113.
113.   Plaintiff was aware of his confinement. He did not consent to it, nor was it otherwise

       privileged.

114.
114.   Defendants actions were wrongful as aa-tort
                                              tort under the laws of the state of New York, and

       the law of the United States through the Federal Tort Claims Act, and without

       justification under any applicable federal statute or
       Justification                                         rule.
                                                          orrule.




                                 SECOND
                                 SECOND CAUSE
                                        CAUSE OF ACTION
                                              OF ACTION
             False Arrest, False Imprisonment, Abuse of Authority and Process
                      New York Common
                      New York Common Law/    Federal Tort
                                        Law/Federal    Tort Claims
                                                            Claims Act
                                                                   Act
                                (against the United States)

115.   Plaintiff incorporates by reference the allegation set forth in all preceding paragraphsas
                                                                                     paragraphs as if

       fully set forth herein.

116.   Whcn employees of the United States detained, sanctioned, and exercised legal or quasi-
       When

       legal authority and process over plaintiff and in violation of his rights, and specifically in
                                   overplaintiff

       retaliation for the lawful exercise of his First Amendmentrights,
                                                        Amendment rights, they used their positions

       of power and authority to exercise unlawful force and control over Mr. Cohen.

117.
117.   Employees of the United States exercised this force for the purpose of unlawfully and

       unnecessarily wrist and ankle shackling, arresting, and unlawfully confining plaintiff.




                                                 20
         Case 23-35, Document 49, 04/24/2023, 3504052, Page34 of 139
                                                A-31


          Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 21 of 31



118.   Plaintiff was aware of his arrest and confinement, did not consent to the arrest and

       confinement, nor were the arrest and confinement otherwise privileged.

119.
119.   The conduct of employees of the United States caused Mr. Cohen to be deprived of his
                                                                                     ofhis

       physical liberty for a period of approximately 16 days.

120.
120.   The actions of employees of the United States were wrongful as a tort under the laws of

       the state of New York, and the law of the United States through the Federal Tort Claims

       Act, and without justification under any applicable federal statute or rule.
                                                                           orrule.

121.   Plaintiff isis entitled
       Plaintiff      entitled to
                               to relief
                                  relief against
                                         against defendant
                                                 defendant United States because
                                                           United States because when
                                                                                 when employees
                                                                                      employees of
                                                                                                of

       the United States falsely arrested, imprisoned, abused their authority and process in their
       the United States falsely arrested, imprisoned, abused their authority and process in their

       unlawful detention of the plaintiff, they were acting under the color of law and as agents,

       servants, and employees of defendant United States, acting within the course and scope

       of their employment,
       oftheir  employment, and
                            and under the supervision
                                under the supervision of
                                                      of the
                                                         the United States.
                                                             United States.




                                 THIRD CAUSE OF   OF ACTION
                                                      ACTION
                                 Negligently Failure to Protect
                                   Federal
                                   Federal Tort  Claims Act
                                            Tort Claims  Act
                                  (against the United States)

122.   Plaintiff adopts and incorporates by reference all preceding paragraphs as if said

       paragraphs are set forth fully herein.
       paragraphsare

123.
123.   Defendant United States, had a legal duty to plaintiff as a prisoner in its care and custody

       to provide for the protection of inmates (18 U.S.C.S. §§ 4042), but breached that duty in

                                          FCI Otisville by the above described
       negligently operating and managing FeI                        describedacts.
                                                                               acts.




                                                21
                                                21
          Case 23-35, Document 49, 04/24/2023, 3504052, Page35 of 139
                                                 A-32


               Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 22 of 31



124.
124.   As
       As aa result
             result of
                    of the
                       the negligence
                           negligence of
                                      of defendant United States,
                                         defendant United         its agents,
                                                          States, its agents, servants
                                                                              servants and
                                                                                       and

       employees, as aforesaid, plaintiff has suffered extreme emotional harm,
                                                                         hann, physical injury,

       loss of enjoyment of life, and lost liberty.
               enjoymentof




                              FOURTH CAUSE OF ACTION ACTION
                          Negligent Infliction of Emotional Distress
                       New York
                       New York Common
                                Common Law/     Federal Tort
                                           Law/Federal       Claims Act
                                                        Tort Claims  Act
                                 (against the United States)

125.   Plaintiff adopts and incorporates by reference all preceding paragraphs as if said

       paragraphsare  set forth
       paragraphs are set forth fully
                                fully herein.
                                      herein. |
126.   When defendants retaliated against plaintiff by remanding him back to Fcr
                                                                             FCI Otisville,

       placing him in solitary confinement for approximately 16 days, and significantly

       increasing his risk of contracting COVID-19, they created an unreasonable risk of

       causing him severe emotional distress.
                          emotionaldistress.

127.   The type of severe emotional distress defendants causcd
                                                        caused plaintiff to suffer was

       foreseeable.

128.
128.   Defendants
       Defendants conduct
                  conduct caused
                          caused plaintiff
                                 plaintiff to
                                           to suffer severe emotional
                                              suffer severe emotional distress, bodily injury,
                                                                      distress, bodily injury,

       anguish, insecurity, anxiety, embarrassment, humiliation, fear, and loss of enjoyment of

       life.
       life.


129.   Defendants actions were wrongful as a tort under the laws of
                                                                 ofthe
                                                                    the state of New York, and

       the law of the United States through the Federal Tort Claims Act, and without

       justification under any applicable federal statute or rule.
                                          federalstatute




                                                  22
                                                  22
          Case 23-35, Document 49, 04/24/2023, 3504052, Page36 of 139
                                                 A-33


           Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 23 of 31



                                FIFTH CAUSE OF ACTION
                         Intentional Infliction of Emotional Distress
                       New York Common Law/Federal Tort Claims Act
                                 (against the United States)

130.
130.   Plaintiff adopts and incorporates by reference all preceding paragraphs as if said

       paragraphs are set forth fully herein.
       paragraphsare

131.
13l.   Byintentionally
       By                           plaintiff to retaliatory conduct by remanding him back to FCI
           intentionally subjecting plaintiffto                                               FCT

       Otisville, placing him III
                              in solitary confinement for approximately 16 days, and

       significantly increasing his risk of contracting COVID-19, defendants engaged III
                                                                                     in

       extreme and outrageous conduct.

132.   Defendants intended to inflict emotional distress, or they knew or should have knownthat
                                      emotionaldistress,                              known that

       severe emotional distress was the likely result of their conduct.

133.
133.   As a result of defendants conduct, plaintiff suffered severe and lasting emotional
       Asa                                                                                distress,
                                                                                emotionaldistress,

       loss of enjoyment of life, lost liberty, and was otherwise damaged and injured.
               enjoymentoflife,

134.   Defendants actions were wrongful as a tort under the laws of the state of New York, and

       the law of the United States through the Federal Tort Claims Act, and without

       justification under any applicable federal statute or rule.
       justification




                                SIXTH
                                SIXTH CAUSE
                                        CAUSE OF OF ACTION
                                                     ACTION

                    Negligent Hiring, Retention, Training, and Supervision
                      New York Common Law/Federal Tort   Tort Claims
                                                              Claims Act
                                                                     Act
                                  (against the United States)

135.   Plaintiff adopts and incorporates by reference all preceding paragraphs as if said

       paragraphs are set forth fully herein.
       paragraphsare




                                                 23
             Case 23-35, Document 49, 04/24/2023, 3504052, Page37 of 139
                                                  A-34


             Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 24 of 31



136.
136.    Defendant United States, had a legal duty to plaintiff as a prisonerin
                                                                    prisoner in its care and custody,

        breached that duty in negligently operating and managing FCI
        breachedthat                                             FeI Otisville by, inter alia:

        a.      Hiring and retaining agents, servants, and employees known or should have been

        known to defendants to be of such poor moral character, temperament, and disposition as

        to be totally unfit to be hired, retained and placed in charge of plaintiff.
                                                                chargeofplaintiff.

        b.      Failing to adopt, incorporate and enforce such rules, regulations, policies and

        procedures for the operation and management of FCI
                                                       FeI Otisville as would reasonably

        protect plaintiff and others being unlawfully detained or incarcerated and being exposed

        to a deadly viral pathogen, predicated upon defendants abuse of authority, falsifying

        government documentation, and other such unlawful acts of their agents, servants, and

        employees, including, but not limited to, the individually named defendants.

        c.
        C.      Failing to properly supervise, investigate, and review the operation and

        management of the Department of Justice, Federal Bureau of Prisons, the United States

        Probation and Pretrial Services, and the correctional facility FeI
                                                                       FCI Otisville in the state of

        New York and the activities and performance of defendants thereat.
                 andthe

        d.      Failing to properly investigate allegations of retaliation brought against

       _ defendants and otherwise failing to discipline the perpetrators of or institute safeguards
                                                                                         safeguardsto
                                                                                                    to

        prevent the unlawful conduct suffered by the plaintiff and others similarly situated from

        occurrmg.
        occurring.

137.                                      againstplaintiff
        The aforementioned acts committed against plaintiff by defendants were
                                                                          werc a direct result of

        the negligence, carelessness, and recklessness of defendant United States, its agents,

        servants and employees, in failing to meet its duty of care to plaintiff in its scrcening,
                                                                                        screening,

                                                  24
                                                  24
          Case 23-35, Document 49, 04/24/2023, 3504052, Page38 of 139
                                                 A-35


           Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 25 of 31




       hiring, training, supervising, evaluating, managing,
                                                  managmg, controlling, and retaining of

                                    servarits, and employees of the UnitedStates.
       defendants and other agents, servants,                       United States.

138.
138.   As a result of the negligence of defendant United States, its agents, servants and

       employees,as
       employees, as aforesaid, plaintiff has suffered extreme emotional harm, physical injury,

       loss of enjoyment of life, and lost liberty.
               enjoymentoflife,



                                SEVENTH CAUSE OF ACTION
 Violation of Plaintiff's
              Plaintiff’s Rights against Retaliation for Exercising his Right to Free Speech,
             Right against Unlawful Seizure of his Person, and to be Free from
                                 Cruel and Unusual Punishment
                                                     Punishment
                        First, Fourth, and Eighth Amendments, Bivens
                               (against all Individual Defendants)

139.
139.   Plaintiff adopts and incorporates by reference all preceding paragraphs as if said

       paragraphs are set forth fully herein.
       paragraphsare

140.
140.   Defendants intentionally retaliated against plaintiff for exercising his right to free speech

       and committed an unlawful seizure of the body of plaintiff. by unlawfully claiming a

       violation of Federal monitoring guidelines and remanding him back to FCI
                                                                            FeI Otisville

       where he wasplaced
                was placed in solitary confinement for approximately 16 days, preceded by 35

       days in solitary confinement, which,in  turn, posed a substantial risk of serious illness and
                                     which, in tum,

       death and caused him to suffer extreme emotional harm and physical injury in violation

       of his First, Fourth, and Eighth Amendment rights. Retaliatory incarceration serves no

       penological purposeas
                   purpose as it is not a lawful penalty for criminal offenders in the custody of

       the
       the United
           United States
                  States Government.
                         Government.




                                                 25
          Case 23-35, Document 49, 04/24/2023, 3504052, Page39 of 139
                                                A-36


           Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 26 of 31



141.
141.   As a result of defendants conduct, plaintiff suffered extreme emotional harm, physical

       injury, and loss of enjoyment of life.
                           enjoymentoflife.

142.
142.   The conduct of all defendants was accomplished under color of law and deprived plaintiff
                                                                             deprivedplaintiff

       of rights, privileges, or immunities secured by the First, Fourth, and Eighth Amendment

       to the
       to the U.S.
              U.S. Constitution.
                   Constitution.




                                                26
                                                26
          Case 23-35, Document 49, 04/24/2023, 3504052, Page40 of 139
                                                  A-37


           Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 27 of 31



                                  REQUESTS FOR
                                  REQUESTS FOR RELIEF
                                               RELIEF

WHEREFORE,plaintiff
WHEREFORE,           respectfully requests
           plaintiff respectfully requests that
                                           that this
                                                this Court:
                                                     Court:

       a. Assume
       a. Assumejurisdiction  over this
                 jurisdiction over this matter;
                                        matter;

       b. Award compensatory
       b.       compensatory damages
                             damagestoplaintiff;
                                     to plaintiff;

       c. Award
       c. Award punitive damages
                         damagesto
                                 to plaintiff;

                                                            of this claim;
       d. Convene and empanel a jury to consider the merits ofiliis

          Awardplaintiff
       e. Award plaintiff reasonable costs and interest; and

                    otherrelief
       f. Grant any other relief that the Court may deem appropriate and equitable.

  Dated: New York,
             York, NY
         December 16, 2021                                             I,'-"~

                                                       Respectfiulfy,Submitted,
                                                       Respectfuyi Submitted,


                                                                            . LAUFER, PLLC


                                                       By: "'TV''''''''Af

                                                       MICHAEL D. COHEN
                                                                40th Street, Suite 604
                                                       264 West 40tStreet,
                                                       New York,
                                                       New  York, New
                                                                  New York
                                                                       York 10018
                                                                              10018
                                                             422-1020
                                                       (212) 422-1020




                                                       Attorney for Plaintiff
                                                       MICHAEL D. COHEN
                                                        340 West
                                                       340       57th Street,
                                                            West 57%  Street, Suite
                                                                              Suite 11E
                                                                                    lIE
                                                       New York, NY 10019
                                                       New  York, NY   10019
                                                       (212) 721-9600
                                                       (212) 721-9600
                                                       JL@NYadvocate.com
                                                       JL@NYadvocate.com




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                                                  27
Case 23-35, Document 49, 04/24/2023, 3504052, Page41 of 139
                            A-38


Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 28 of 31




      EXHIBIT A
      EXHIBIT A
    Case 23-35, Document 49, 04/24/2023, 3504052, Page42 of 139
                                                             A-39


     Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 29 of 31


             Case 1:20-cv-05614-AKH
             Case 1:20-cv-05614-AKH Document
                                    Document 30
                                             30 Filed
                                                Filed 07/23/20 Page 11 of
                                                      07/23/20 Page    of 22




 UNITED STATES
 UNITED STATES DISTRICT
               DISTRlCT COURT
                        COURT
 SOUTHERN DISTRlCT OF
 SOUTHERNDISTRICT   OF NEW
                       NEW YORK
                           YORK
  . ---.. ---....---------------------------------.. -----------_. . . _--.. x.
 wanenneteecenenenneeee ne enenannnncenmatnneeceneneccceeonmeeen xX
 MICHAEL D.
 MICHAEL D. COHEN,
            COHEN,                                                          :

                                                 Petitioner,
                                                 Pétitioner,                :     ORDER
                                                                                  ORDER GRANTING
                                                                                        GRANTING       :
                v.
                Vv.                                                         :     PRELIMINARY
                                                                                  PRELIMINARY INJUNCTION
                                                                                              INJUNCTION

 WILLIAM BARR,
 WILLIAM      BARR, in   in his official
                                  official capacity
                                            capacity as:
                                                      as :                        20
                                                                                  20 Civ.
                                                                                     Civ. 5614
                                                                                          5614 (AKH)
 Attorney General
 Attorney  General of
                    of the
                        the United States,
                                    States, MICHAEL
                                             MICHAEL ::
 CARVAJAL, in his official
 CARVAJAL,in           official capacity
                                capacity as
                                          as Director
                                             Director of
                                                      of ::
                                        PETRUCCI, in ::
 the Bureau of Prisons, and JAMES PETRUCCI,in
     official capacity as Warden of the Federal
 his official                                   Federal :
 Correctional Institution, Otisville,
 Correctional                                            :

                                                Respondents.
 preteeneeeneta   neneeenemeneneenecenennncennenacnencteenennee X
 -------------------------------------------------------------- X
         HELLERSTEIN, U.S.DJ.:
ALVIN K. HELLERSTEIN,U.S.D.J.:

                      Upon the findings and conclusionsstated
                      Uponthe               conclusions stated on the record at oral argument

                                 23,2020,
conducted telephonically on July 23,                             Cohen's motion for injunctive
                                     2020, Petitioner Michael D. Cohen’s

relief, see ECF No.
                No.4,
                    4, is granted as follows.

                      The Court finds
                                tInds that Respondents'
                                           Respondents’ purpose in transferring Cohen from release on

furlough and home confinement back to custody wasretaliatory
                                              was retaliatory in response to Cohen desiring to

                   Amendmentrights
exercise his First Amendment                     bookcritical
                             rights to publish a book critical of the President and to discuss the

book on social media. Accordingly, Respondents are hereby enjoined from any continuing or

                           Cohenfor
future retaliation against Cohen                          Amendmentrights.
                                 for exercising his First Amendment rights. Respondents are

directed to provide Cohen with aa COVID-19
                                  COVID-19 test                            nolater
                                            test at his place of detention no later than tomorrow

                                                                    andto
morning, July 24, 2020, to report the results of that test to Cohen and to his Probation Officer

promptly when they become available, and to release Cohen from custody to any memberofhis
promptly when they become available, and to release Cohen from custody to any member of his

immediate family
immediate family atat the
                      the place
                          place of
                                ofhis  detention atat or before
                                   his detention         before 2:00
                                                                2:00 p.m.
                                                                     p.m. tomorrow,
                                                                          tomorrow, July 24,
                                                                                         24, 2020.
                                                                                             20290.
                      Upon Cohen's
                      Upon Cohen’srelease,   the parties
                                   release, the  parties agree,
                                                         agree, and
                                                                and II so
                                                                       so order,
                                                                          order, that
                                                                                 that Cohen
                                                                                      Cohen will
                                                                                            will be
                                                                                                 be subject
                                                                                                    subject
 to the
to   the eight
         eight conditions
               conditionsof  release set
                          of release set forth
                                         forth inin the
                                                     the Federal
                                                         Federal Location
                                                                 Location Monitoring
                                                                          Monitoring Agreement,
                                                                                     Agreement, see
                                                                                                see
ECF No.
ECF No. 7-2,
        7-2, provided,
             provided, however,
                       however, that
                                 that adherence
                                      adherence toto condition
                                                     condition one,
                                                               one, except
                                                                    except for
                                                                           for the
                                                                                the last
                                                                                     last sentence,
                                                                                          sentence,isis
   Case 23-35, Document 49, 04/24/2023, 3504052, Page43 of 139
                                              A-40


    Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 30 of 31


           Case
           Case 1:20-cv-05614-AKH
                1:20-cv-05614-AKH Document
                                  Document 30 Filed
                                              Filed 07/23/20 Page 2 of 2



                          parties’ renegotiation of said temporary condition.
temporary, subject to the parties'                                 condition.!1 The condition shall

                             Amendmentand
be consistent with the First Amendment                                           conductto
                                       and legitimate penological limitations on conduct to

whichthe
which the parties mutually agree or the Court subsequently orders. The parties shall have one

        conducttheir
week to conduct                                                           granted,file
                their negotiations and will, unless an extension has been granted, file a proposed

                           31, 2020. rI reserve continuing jurisdiction to resolve any disputes in
order to the Court by July 31,2020.

settling an order and enforcing same.

                                                                         argument,is
                  This order, which codifies my extemporaneous ruling at argument, is intended to

   final. A written decision providing a fuller statement of my findings and conclusions
be tinal.                                                                    conclusionswill
                                                                                         will

                                                                             No. 4).
follow when ready. The Clerk is instructed to terminate the open motion (ECF No.4).



                  SO ORDERED.
                  SO ORDERED.


Dated: —          July 23, 2020                                     Is!
                                                                    /s/
                                                  ---A-L-V-IN~K~.H~EL-L-E-R-S-TE-I-N---
                  New York, New York                  ALVIN K. HELLERSTEIN
                                                      United States District Judge




ann

'I Condition one provides:
                                                  2
            Case 23-35, Document 49, 04/24/2023, 3504052, Page44 of 139
                                                          A-41


             Case 1:21-cv-10774-LJL Document 3 Filed 12/17/21 Page 31 of 31

UNITED STATES DISTRICT COURT                               |                            Case No: -
SOUTHERNDISTRICT OF NEW YORK
SOUTHERN DISTRICT OF NEW YORK                                                           Case No:     J... \ C-0 ( -0 -, 1 '+
                                                                                                     PANCU(ET7
MICHAEL D. COHEN,                                                                       Plaintiff,
                                                                           -against-

UNITED STATES OF AMERICA, DONALD J. TRUMP, former
                                    TRUMP,former
President of the United States, WILLIAM BARR,       former Attorney
                                            BARR,former
General of the United States, MICHAEL CARVAJAL,          Director of the
                                           CARVAJAL,Director
Bureau of Prisons, JON GUSTIN, Administrator of the Residential Reentry
Management Branch of the Bureau of Prisons, PATRICK McFARLAND,
ManagementBranch
Residential Reentry Manager
                     Managerofof the Federal Bureau of Prisons,  JAMES
                                                        Prisons,JAMES
PETRUCCI, Warden
              Wardenof                         FEBUS,Supervisory
                      of FCI Otisville, ENID FEBUS,     Supervisory Probation
Officer of the United States Probation and Pretrial Services, ADAM PAKULA,
Probation Officer of the United States Probation and Pretrial Services, and JOHN
and JANE DOE     (1~lO) agents, servants, and employees
            DOE(1-10)                         employeesofof the United States,          Defendants,



                               COMPLAINT AND DEMAND FOR A JURY TRIAL
                                             DEMANDFORA



                                       LAW OFFICE
                                       LAW OFFICE OF
                                                  OF ANDREW
                                                     ANDREW C.
                                                            C. LAUFER
                                                               LAUFER

                                                Attorney(s) for Plaintiff

                                          Office and Post Office
                                                          Office Address
                                                                  Address
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                                          264 W.   40th Street.
                                               W.40th   Street. Suite
                                                                Suite 604
                                                                      604
                                                    York, NY
                                              New York.   NY 10018
                                                Tel: (212) 422 1020
                                                Fax: (212) 422 1069

                                                                       Signature (Rule 130-1.1-a)
To:
                                                                       Print. name
                                                                       Print  name beneath
                                                                                   beneath


                                                                       Service of a copy of the within is hereby admitted.

                                                                       Dated:
                                                                       Dated:
Attorney(s) for:
Attorney(s)for:


PLEASE TAKE
PLEASE TAKE NOTICE:
            NOTICE:

oOX NOTICE
    NOTICE OF OF ENTRY
                  ENTRY
that the within is a (certified) true copy of a
duly entered in the office of the clerk of the within named court on

oCO NOTICE
    NOTICE OFOF SETTLEMENT
                 SETTLEMENT
that an order of which the within is a true copy
will be presented for settlement to the HON one
                                              oneof
                                                  of the judgesof
                                                         judges of the
within named
within named Court
               Court at
                     at
on
on                at
                  at               M.
                                   M.
Dated,                                                                 Yours, etc.

                                                                       Law Office of
                                                                       Law Office of Andrew
                                                                                     Andrew C. Laufer
                                                                                            C. Laufer
     Case 23-35, Document 49, 04/24/2023, 3504052, Page45 of 139
                                                   A-42


     Case 1:21-cv-10774-LJL Document 60-1 Filed 05/27/22 Page 2 of 3

            Case 1:20-cv-05614-AKH Document 30 Filed 07/23/20 Page 1 of 2




  UNITED STATES DISTRICT COURT
  SOUTHERN  DISTRICT OF NEW YORK
  SOUTHERNDISTRICT
  --------------------------------------------------------------
  5iaaiesenchant.icaeps xX                                       X
  MICHAEL D. COHEN,

                                         Petitioner,
                                         Petitioner,           :     ORDER
                                                                     ORDER GRANTING
                                                                           GRANTING
              v.
              %.                                               :     PRELIMINARY INJUNCTION

 WILLIAM BARR, in his official capacity as:         as               20 Civ. 5614 (AKH)
 Attorney General of the United States, MICHAEL :
 CARVAJAL,in
 CARVAJAL,     in his official capacity as Director of ::
                                      PETRUCCI,in
 the Bureau of Prisons, and JAMES PETRUCCI,         in :
 his official capacity as Warden of the Federal :
 Correctional Institution, Otisville,

                                          Respondents.
 eeeeeeneeeneene xX
 -------------------------------------------------------------- X
AL  VIN K. HELLERSTEIN,
ALVIN        HELLERSTEIN,U.S.D.J.: U.S.D.l:

                   Upon the findings and conclusions stated on the record at oral argument

conducted telephonically on July 23, 2020, Petitioner Michael D. Cohen’s
                                                                 Cohen's motion for injunctive

relief, see ECF No.
                No.4,
                    4, is granted as follows.

                   The Court finds that Respondents’
                                        Respondents' purpose in transferring Cohen fromrelease
                                                                                   from release on

furlough and home confinement back to custody wasretaliatory
                                              was retaliatory in response to Cohen desiring to

exercise his First Amendmentrights
                   Amendment rights to publish a bookcritical
                                                 book critical of the President and to discuss the

book on social media. Accordingly, Respondents are hereby enjoined from any continuing or

future retaliation against Cohen for exerCising
                                     exercising his First Amendment rights. Respondents are

directed to provide Cohen with a COVID- 19 test at his place of detention no later than tomolTOW
                                 COVID-19                                               tomorrow

morning, July 24, 2020, to report the results of that test to Cohen andto
                                                                    and to his Probation Officer

promptly when they
promptly when they become
                   become available,
                          available, and
                                     and toto release
                                              release Cohen from custody
                                                      Cohen from         to any
                                                                 custody to any member
                                                                                memberofhis
                                                                                       of his

immediate family at the place of
                              ofhis  detentionat
                                 his detention at or before 2:00 p.m. tomorrow, July 24, 2020.
                                                                                     24,2020.

                        Cohen’s release, the parties agree, and I so order, that Cohen will be subject
                   Upon Cohen's

to the
to the eight
       eight conditions
             conditions of
                        of release
                           release set
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                                             in the
                                                the Federal
                                                    Federal Location
                                                            Location Monitoring Agreement, see
ECFNo.7-2,   provided, however,
ECF No. 7-2, provided, however, that
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     Case 23-35, Document 49, 04/24/2023, 3504052, Page46 of 139
                                                 A-43


     Case 1:21-cv-10774-LJL Document 60-1 Filed 05/27/22 Page 3 of 3

           Case 1:20-cv-05614-AKH
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be final.
   final. A written decision
                    decision providing a fuller
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follow when ready. The Clerk is instructed to terminate the open motion (ECF No.4).
follow                                                                       No. 4).



                  SO ORDERED.
                  SO ORDERED.


Dated:           July 23, 2020                        __________~/s/
                                                                 /s/___________
                 New York, New York                       ALVIN K. HELLERSTEIN
                                                          United States District Judge




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      Case 23-35, Document 49, 04/24/2023, 3504052, Page47 of 139
                                   A-44


     M82YCOHC                                                          1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    MICHAEL D. COHEN,

4                    Plaintiff,

5               v.                               21 Civ. 10774 (LJL)

6    UNITED STATES OF AMERICA, et
     al.,
7
                     Defendants.
8
     ------------------------------x
9                                                New York, N.Y.
                                                 August 2, 2022
10                                               4:30 p.m.

11   Before:

12                          HON. LEWIS J. LIMAN,

13                                               District Judge

14                                 APPEARANCES

15   LAW OFFICE OF ANDREW C. LAUFER
     BY: ANDREW C. LAUFER
16        -AND-
     LAW OFFICES OF JEFFREY K. LEVINE
17   BY: JEFFREY K. LEVINE
          Attorneys for Plaintiff
18
     UNITED STATES ATTORNEY'S OFFICE, SDNY
19        Attorneys for all defendants excluding Defendant Trump
     BY: ALLISON ROVNER
20        ALYSSA O'GALLAGHER

21   HABBA MADAIO & ASSOCIATES LLP
          Attorneys for Defendant Trump
22   BY: ALINA HABBA
          MICHAEL T. MADAIO
23

24

25

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page48 of 139
                                    A-45


     M82YCOHC                                                           2

1               (Case called)

2               THE DEPUTY CLERK:    Starting with counsel for

3    plaintiff, please state your appearance for the record.

4               MR. LAUFER:    Andrew Laufer for the plaintiff, Michael

5    Cohen.   Good afternoon, your Honor.

6               THE COURT:    Good afternoon, Mr. Laufer.

7               MR. LEVINE:    Good afternoon, your Honor.    My name is

8    Jeffrey Levine, also for Michael Cohen.

9               THE COURT:    Good afternoon, Mr. Cohen.

10              MS. ROVER:    Allison Rovner for all defendants except

11   for the former president.

12              MS. O'GALLAGHER:    AUSA Alyssa O'Gallagher for all of

13   the defendants except the former president.

14              MS. HABBA:    Good afternoon, your Honor.    Alina Habba

15   for former President Donald Trump.

16              THE COURT:    Good afternoon, Ms. Habba.

17              MR. MADAIO:    Good afternoon, your Honor.    Michael

18   Madaio for former President Donald Trump.

19              THE COURT:    I'll hear first from the defendants in

20   support of the motion, first from the attorneys for the

21   government and then for the attorneys for Mr. Trump.        And then

22   I will hear from the plaintiffs.      And then, if the government

23   wants a little bit of time for rebuttal at the end, I'll hear

24   from the government.

25              I understand, Ms. Rovner, that you and your colleague

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page49 of 139
                                   A-46


     M82YCOHC                                                             3

1    wish to split your time.

2               Is my recollection correct?

3               MS. ROVNER:   Yes, your Honor.    If acceptable to the

4    Court, I will first address the FTCA, and then my colleague

5    will address Bivens.

6               THE COURT:    That's acceptable to the Court.   You each

7    may address the Court from the podium and take your mask off.

8    I think that will be easier for the court reporter and easier

9    for me.

10              Before we get started, let me mention two things:

11   First of all, I would ask each counsel to try to speak slowly.

12   I will give you sufficient time to argue this case.        I don't

13   have anything scheduled for later today, and it will be easier

14   for me and for the court reporter if you do speak slowly.

15              The second is that I'm going to ask the defendants to

16   stick around afterwards and to pay for the cost of the

17   transcript on an expedited basis with the government and the

18   attorneys for Mr. Trump splitting that cost on a 50/50 basis.

19              Ms. Rovner, I'll hear from you first.

20              MS. ROVNER:   Okay.   For argument or whether

21   your Honor's request is okay?

22              THE COURT:    For argument.   There's no question with

23   respect to ordering the transcript.       That's a directive.

24   You're going to order a copy of the transcript, and you're

25   going to try to speak slowly.

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page50 of 139
                                      A-47


     M82YCOHC                                                              4

1               MS. ROVNER:    Okay.

2               MS. HABBA:    Your Honor, before we do start, if I may,

3    I just want to state that I will be handling argument for the

4    former president, but I do have my co-counsel here as well who

5    is well-versed.    So I would just ask for permission, if there

6    is something he wants to add, that he have time to speak.

7               THE COURT:    So what is he going to address that you're

8    not going to address?      Because I generally don't like to

9    have --

10              MS. HABBA:    Okay.    I have it then.

11              THE COURT:    All right.     Ms. Habba, you will be the

12   sole attorney speaking for Mr. Trump.

13              MS. HABBA:    No problem.

14              MS. ROVNER:    May it please the Court.     The Court

15   should dismiss Mr. Cohen's FTCA claims.         First, the Court

16   should dismiss Mr. Cohen's claim for First Amendment

17   retaliation.

18              This is because a claim for a constitutional violation

19   cannot be brought under the FTCA.         The FTCA waives sovereign

20   immunity for a claim for money damages under circumstances in

21   which the United States -- if a private individual would be

22   liable in accordance with the law of the place where the act or

23   omission occurred.

24              The Supreme Court --

25              THE COURT:    Slow down, Ms. Rovner.

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page51 of 139
                                   A-48


     M82YCOHC                                                         5

1               MS. ROVNER:    The Supreme Court in FDIC v. Meyer stated

2    that "Law of the place means law of the state."      And the Court

3    also stated that because federal law provides the source of

4    liability for a violation of constitutional rights, a

5    constitutional claim cannot be brought under the FTCA.

6               In Hernandez v. United States, the Second Circuit also

7    stated that the FTCA does not waive sovereign immunity for

8    claims against government officials for constitutional torts.

9               Mr. Cohen does nothing to address this controlling

10   precedent.    He also does not cite any case in any jurisdiction

11   supporting that a claim for a constitutional tort can be

12   brought under the FTCA.      For this reason, the Court should

13   dismiss Mr. Cohen's claim for First Amendment retaliation.

14              Second, the Court should dismiss Mr. Cohen's claims

15   for false arrest, false imprisonment, abuse of process, and

16   related emotional distress claims.      With respect to Mr. Cohen's

17   claim for false arrest and imprisonment, Mr. Cohen has not

18   alleged that his arrest and imprisonment are not otherwise

19   privileged.

20              Arrest and imprisonment are otherwise privileged if

21   proper under the law, meaning that it is a lawful arrest

22   supported by probable cause.      A claim --

23              THE COURT:    Don't you end up with this argument

24   basically saying to Mr. Cohen, damned if you do and damned if

25   you don't?    He can't pursue the false imprisonment or false

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page52 of 139
                                   A-49


     M82YCOHC                                                          6

1    arrest claims because they were pursuant to process, but he

2    can't pursue an abuse of process claim because the wrong that

3    he's complaining of was not in the obtaining of process but was

4    in the execution of process.

5               Isn't that kind of a perverse outcome?

6               MS. ROVNER:   Well, I mean, both sets of claims, the

7    false arrest and false imprisonment and abuse of process, he

8    can't essentially bring either of those because he was within

9    the custody of BOP already pursuant to the sentence that

10   Judge Pauley entered.

11              THE COURT:    Pursuant to process presumably.   Correct?

12   The sentence is the process.

13              MS. ROVNER:   That was the process.   The sentence that

14   Judge Pauley entered, the criminal sentence, back in

15   December 2018.    And that sentence was to run from May 2019

16   until November 2021.

17              So in July 2020, when Mr. Cohen was on furlough and

18   the events alleged in the complaint occurred, Mr. Cohen was

19   already lawfully arrested and imprisoned pursuant to

20   Judge Pauley's criminal sentence.

21              And under regulation during that time period, that

22   means he was within the custody of the attorney general in

23   service of a term of imprisonment, and that's the furlough

24   regulation referenced in the moving defendant's brief.

25              And although Mr. Cohen was not yet on home

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                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page53 of 139
                                    A-50


     M82YCOHC                                                             7

1    confinement, he had not yet been placed on home confinement, if

2    he was on home confinement, he would also be in the custody of

3    the Bureau of Prisons pursuant to statute.

4               And Mr. Cohen's only response to that with respect to

5    the false arrest and false imprisonment claims is that home

6    confinement, he argues, is not official custody.

7               THE COURT:    No.   I understand that.   He relies upon

8    the Bail Reform Act.     And your position is that those cases are

9    distinguishable because when somebody is released on pretrial

10   release, they're not in the custody of the Bureau of Prisons by

11   definition.

12              Am I understanding the position correctly?

13              MS. ROVNER:   That's correct.   I would go even further

14   to say that the only controlling case that Mr. Cohen cites,

15   Reno v. Koray, the Supreme Court case.      In that case, the

16   Supreme Court made the distinction between the individuals who

17   a judge released on bail to a community treatment center prior

18   to trial or sentencing and sentenced individuals who BOP

19   transferred to community treatment center.

20              The ones that the judge, prior to trial or sentencing

21   release, could not receive credit for time served; while those

22   in BOP's custody, after sentencing transferred to community

23   treatment center, could receive credit for time served.        And

24   the Court stated that the critical distinction was this latter

25   group of sentenced individuals were completely within BOP's

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page54 of 139
                                      A-51


     M82YCOHC                                                             8

1    custody and control.

2               So Koray, the Supreme Court case that Mr. Cohen cites

3    in his brief, actually supports the government's position.

4               THE COURT:    Okay.    Now can you address the abuse of

5    process claim.

6               MS. ROVNER:    Yes, your Honor.    The abuse of process

7    claim, Mr. Cohen has failed to state an abuse of process claim

8    because there was no legal process involved in BOP's decision

9    to remand him to FCI Otisville.         And once again --

10              THE COURT:    Because the process was the process that

11   had been obtained previously by the conviction in

12   Judge Pauley's sentence.

13              MS. ROVNER:    Yes.    That's correct, your Honor.   So

14   that was the process, and then BOP was exercising its sole

15   discretion over Mr. Cohen's place of confinement when it

16   decided to remand him to FCI Otisville.

17              THE COURT:    But if you were to take those words,

18   "abuse of process," literally, isn't what happened here exactly

19   abuse of process?

20              That is, if I take the allegations of the complaint as

21   true, the Bureau of Prisons and Mr. Trump abused the process

22   that was in place and abused it to achieve political purposes

23   and to retaliate against First Amendment speech.        It abused

24   process.

25              MS. ROVNER:    The allegations in Mr. Cohen's complaint

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page55 of 139
                                      A-52


     M82YCOHC                                                           9

1    have to be taken as true, that he is alleging retaliation and

2    that BOP, he's alleging, did something it shouldn't have done.

3    But from a legal standpoint, we have to look at whether

4    Mr. Cohen can state a claim as a matter of law.

5               THE COURT:    No.   I understand that.   But taking those

6    allegations, don't the allegations support that the defendants

7    in this case abused process that was in place?

8               And isn't that enough to constitute an abuse of

9    process claim?

10              MS. ROVNER:    It is not enough to constitute an abuse

11   of process claim because all the case law I've seen says that

12   it needs to be abuse of a legal process.      And Mr. Cohen did not

13   cite any cases.    And in my own research, I did not see any

14   cases that are even analogous in supporting that the

15   allegations that he alleged in his complaint constitute abuse

16   of process as that claim is understood under New York law.

17              THE COURT:    Okay.    Continue.

18              MS. ROVNER:    And Mr. Cohen, he does reference -- he

19   attaches to his opposition a BOP remand document, and that's a

20   document from BOP to the United States Marshal Service asking

21   to remand Mr. Cohen from his furlough back into secured

22   custody.

23              And, again, it said that he was a sentenced federal

24   prisoner, and he was not being rearrested or reimprisoned.        He

25   was being remanded.      It was an internal government document

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page56 of 139
                                      A-53


     M82YCOHC                                                        10

1    remanding him back into secure custody from the furlough

2    custody that he was already in.

3               So under similar circumstances, I don't think there is

4    case law supporting that the allegations Mr. Cohen has stated

5    support an abuse of process claim under the law.

6               THE COURT:    Okay.

7               MS. ROVNER:   And then quickly with respect to the

8    emotional distress claims, Mr. Cohen does not even address the

9    government's argument that he has not stated cognizable claims

10   for intentional infliction of emotional distress or negligent

11   infliction of emotional distress.       So the Court should dismiss

12   those claims.

13              And then, even if the Court were to reject the

14   arguments that I've just made regarding false arrest, false

15   imprisonment, abuse of process, or emotional distress, those

16   claims should also be dismissed because of a lack of a private

17   analogue because there's no private analogue here, as necessary

18   for waiver of sovereign immunity, under the FTCA.

19              This is because a private person would not be held

20   responsible for similar alleged conduct under the law of the

21   state where the actor of the emotion occurred because a private

22   person would not transfer individuals between different places

23   of confinement.

24              And there is a Second Circuit case that's very on

25   point on this issue, McGowan v. United States.       In that case,

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page57 of 139
                                      A-54


     M82YCOHC                                                         11

1    under similar circumstances, the Second Circuit held that there

2    was no private analogue where an individual alleged that he was

3    transferred from a halfway house back to prison in violation of

4    his First Amendment rights.

5               He had alleged he was retaliated against for

6    publishing an article with his byline.         So McGowan v.

7    United States is very strong authority supporting the

8    government's argument that these claims should be dismissed due

9    to a lack of private analogue.

10              THE COURT:    Okay.    Thank you.

11              MS. ROVNER:   And then finally, the discretionary

12   function exception to the FTCA bars Mr. Cohen's claims for

13   failure to protect, negligent infliction of emotional distress,

14   and negligent hiring retention training and supervision.

15              THE COURT:    Let me ask you about that.    The claim with

16   respect to failure to protect has to do with his confinement in

17   a cell by himself where the heat went to 100 degrees or over

18   100 degrees with some serious health impacts for him.

19              Why do you say that that falls within the

20   discretionary function exception?

21              MS. ROVNER:   First of all, because BOP's decisions

22   regarding prison management and operations involved elements of

23   judgment not compelled by statute or regulations.        The statutes

24   and regulations cited in moving defendant's brief contain very

25   broad language about the housing, placement, treatment,

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page58 of 139
                                   A-55


     M82YCOHC                                                          12

1    classification of prisoners.

2               THE COURT:    What if they permitted the heat to go up

3    to 120 degrees?    Would you say that that fell within a

4    discretionary function exception?

5               MS. ROVNER:    Well, the discretionary function

6    exception doesn't look so much at the actual conduct.        It looks

7    at whether the overall choices and decisions that the

8    government is making are discretionary.

9               THE COURT:    Right.   But if you look at it the way

10   Judge Leval did for the Second Circuit, he drew a distinction

11   between the same actions could both fall within the

12   discretionary function exemption or not fall within the

13   discretionary function exemption, depending upon whether there

14   was some sort of a policy reason for the action.

15              Why isn't it appropriate to read the complaint here to

16   assume that this was just a case of pure negligence with no

17   policy reason behind it whatsoever?

18              MS. ROVNER:    I think in areas of prison management and

19   operations, most courts have held that those are areas that

20   involve policy, the second factor that involve policy

21   considerations, and are susceptible to policy analysis.

22              Prison management operations quintessentially involve

23   considerations of public policy because of the need to preserve

24   discipline and order and maintain institutional security.

25              THE COURT:    Are you saying just as a blanket matter,

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page59 of 139
                                   A-56


     M82YCOHC                                                        13

1    nobody could ever have an FTCA claim based upon being put in a

2    cell that went up to 130 degrees let's call it?

3               I mean, what's your limiting principle?

4               MS. ROVNER:    Again, I don't think it's looking at the

5    alleged conduct.    I think most of the law --

6               THE COURT:    Yes, but the conduct does bear a little

7    bit upon whether one can infer that there is some kind of

8    discretionary decision being made.

9               MS. ROVNER:    I mean, I think in the circumstance of

10   100 degrees or 130 degrees, I mean, first of all, I think the

11   allegations are a bit vague.      I think he talked about whether

12   his cell was well-ventilated, and he does say that the

13   temperatures rose in excess of 100 degrees.

14              But I think, if you look at the regulations

15   involving -- like, for example, 28 C.F.R. 541.31 discusses that

16   a cell should be well-ventilated, adequately lighted,

17   appropriately heated, and maintained in a sanitary condition.

18   And this leaves prison officials with the discretion, since it

19   doesn't specify, for example, how many degrees or what range a

20   cell must be within.

21              THE COURT:    Don't people who work for the Postal

22   Service and drive postal cars also have discretion in terms of

23   how fast they drive the car and how they drive it on the

24   highway?

25              MS. ROVNER:    Well, I mean, I think the law is there

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page60 of 139
                                      A-57


     M82YCOHC                                                            14

1    that specifies speed limits.        So I think that would be

2    mandatory.

3               THE COURT:    So your difference between the reason why

4    your argument doesn't cut out every postal case is because in

5    those cases, the driver is always violating the law.        They're

6    not being negligent.      They're just violating the law.

7               MS. ROVNER:    Yes.    And with the discretion function

8    exception, there are two factors that come into play.          One is

9    whether it involves an element of detriment or choice or is

10   compelled by statute or regulation.        That's the first factor.

11   And in your Honor's example, I would think the speed limit is

12   something that's mandatory.

13              THE COURT:    Right.    But under your argument, there

14   could never be negligence in the absence of a violation of a

15   traffic law.

16              MS. ROVNER:    In the absence?    Well, it depends on what

17   we're talking about.      If we're going back to Mr. Cohen's

18   case --

19              THE COURT:    I'm just trying to understand how you read

20   the discretionary function exemption.

21              MS. ROVNER:    Well, I wouldn't agree that there could

22   never be negligence in violation of a traffic law.        I mean, if

23   we're talking about the speeding example --

24              THE COURT:    You know, the law that he's invoking is

25   the law that's invoked all the time here by people who are

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page61 of 139
                                      A-58


     M82YCOHC                                                            15

1    injured by government employees acting negligently.

2               You seem to be making an argument that in the

3    management of a prison, we're talking about prisoners as being

4    sort of the sole U.S. citizens who don't get the protection of

5    the FTCA, and I'm not sure I understand the argument.

6               MS. ROVNER:    I mean, if there are mandatory

7    regulations, then the discretionary function exception would

8    not bar the conduct.

9               THE COURT:    Okay.    I'll look more closely at this.

10              MS. ROVNER:    Okay.    And I would also point out that

11   Mr. Cohen, his only argument in response to the discretionary

12   function exception, is that it does not apply to constitutional

13   violations.

14              He doesn't address the government's assertion of the

15   discretionary function exception with respect to negligent

16   conduct, which is the only conduct with respect to which the

17   government's asserting the discretionary function exception.

18              THE COURT:    As I recall, Colbertson involved the

19   prison gym.    And the problem was that the weight system fell

20   down on the prisoner.      Right?

21              Is that what the Colbertson case was?      That is what

22   the Colbertson case is.      Just trust me on that one.

23              So are you saying the reason why the Second Circuit

24   reversed in that case and sent it back to the district court

25   was because the guards violated a rule?        I'll look back at it.

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page62 of 139
                                   A-59


     M82YCOHC                                                          16

1               MS. ROVNER:    I'm sorry.

2               THE COURT:    I'll look back at it.

3               All right.    Let me hear from your colleague on Bivens.

4               MS. O'GALLAGHER:    Thank you, your Honor.    May it

5    please the Court.

6               The Court should also dismiss Mr. Cohen's Bivens

7    claims for violations of the First, Fourth, and Eighth

8    Amendments for two reasons:      First, a Bivens remedy does not

9    exist for any of the alleged constitutional violations.        And

10   second, even if the Court were to determine that a Bivens

11   remedy does exist, the individual moving defendants would be

12   entitled to qualified immunity.

13              To take Cohen's First Amendment Bivens claim first,

14   the Supreme Court's recent decision in Egbert v. Boule

15   unequivocally foreclosures Mr. Cohen's First Amendment Bivens

16   claim.

17              In that case, the Supreme Court held:      "There is no

18   Bivens action for First Amendment retaliation."        And for that

19   reason, the Court should dismiss Mr. Cohen's First Amendment

20   Bivens claim.

21              With respect to Mr. Cohen's Fourth and Eighth

22   Amendment Bivens claims, recent Supreme Court precedent also

23   foreclosures any Bivens relief.        The Supreme Court has stated

24   on several occasions that expanding the Bivens remedy is "a

25   disfavored judicial activity."

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page63 of 139
                                   A-60


     M82YCOHC                                                         17

1               The Supreme Court has so stated in recognition of the

2    very important separation of powers concerns that come into

3    play when a Court implies a damages remedy.      Creating a cause

4    of action is an essentially legislative endeavor and one that

5    Congress is far better suited than courts to undertake.

6               THE COURT:   Let me press you on that one.   I've read

7    the Supreme Court opinions the same as you have, and I've also

8    paid attention to who's being sued in those cases and the

9    underlying facts.

10              This case is different from those cases in that if you

11   were to credit the allegations, there was an effort led by the

12   then person holding the office of the presidency of the

13   United States to squash the political commentary of somebody

14   who was threatening his reelection efforts.      None of those

15   cases involved somebody who is at the head of Article II.

16              Correct?

17              MS. O'GALLAGHER:   As far as I'm aware -- and I take

18   your Honor's word for it.     I think the most important question

19   and the animating question that the Court should be considering

20   is who should decide whether or not there should be a damages

21   remedy.

22              THE COURT:   Right.   And if you're thinking about that

23   question and you're thinking about constitutional structure,

24   you've got two branches of government that constitute elected

25   officials and sometimes elected officials who are elected by

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page64 of 139
                                   A-61


     M82YCOHC                                                         18

1    members of the same party and who have an interest, one would

2    assume, in maintaining power, if they are members of the same

3    party.

4               Wouldn't you, if you thought about things from a

5    regional principal's perspective, think that the one branch of

6    government that would be necessary to protect democracy would

7    be those folks in black robes who enjoy life tenure and, once

8    they get this job, are not beholden to any political party?

9               Isn't that what the logic of our constitutional

10   structure suggests?

11              MS. O'GALLAGHER:   Yes.   I understand your Honor's

12   point, and I would argue that the folks in the black robes that

13   you're referencing have already provided Mr. Cohen with a

14   remedy in this case.   And a very important consideration that

15   courts should look to in deciding whether to apply a damages

16   remedy is whether there are alternative remedial structures

17   available.

18              In this case, there are at least two.    In fact,

19   Mr. Cohen successfully availed himself of one of those

20   alternative remedial structures, which is he filed a habeas

21   action in this court, and he was ultimately granted transfer

22   from furlough -- excuse me -- from FCI Otisville to home

23   confinement.

24              So in that instance, there is the availability --

25   there was the availability -- of an alternative remedial

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page65 of 139
                                 A-62


     M82YCOHC                                                          19

1    structure that involved the Article III courts, and Mr. Cohen's

2    interest was vindicated through that habeas action.

3               The question that we're considering here is whether

4    Mr. Cohen is also entitled to a damages remedy.      And I think

5    that the Supreme Court has been pretty unequivocal in stating

6    that if there's even a single reason for courts to defer to

7    Congress on that question, that the courts should not apply a

8    Bivens remedy.

9               And in the most recent Supreme Court case in Egbert v.

10   Boule, the Supreme Court urged courts not to look at too low a

11   level of granularity when considering that question.      And I

12   think if the Court looks at this case, there are several sound

13   reasons for the Court to defer to Congress and not imply a

14   Bivens remedy here.

15              Those reasons include the fact, as I mentioned, there

16   were multiple alternative remedial structures available to

17   Mr. Cohen.    In addition to the habeas action, he could also

18   have filed a grievance through the BOP's administrative remedy

19   program.

20              And that program, courts in this district, in this

21   Circuit, and outside, have recognized that that's an

22   alternative remedial structure that can preclude Bivens relief.

23              As I mentioned, in the Supreme Court's Egbert v. Boule

24   case, the Supreme Court made very clear that the existence of

25   alternative remedial structures alone is a sufficient reason to

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page66 of 139
                                  A-63


     M82YCOHC                                                          20

1    decline to apply Bivens relief.

2               And there are other special factors here, so-called

3    "special factors" that counsel hesitation in the absence of

4    affirmative action by Congress.      Congress has extensively

5    legislated in the arena of prison administration, most recently

6    in the PLRA.

7               In the PLRA, Congress did not provide for a standalone

8    damages remedy against federal jailers.      Congress has never

9    provided for a standalone remedy against federal jailers.       And

10   several courts have found, in that silence, an indication that

11   the court should stay its hand and decline itself to apply a

12   damages remedy where Congress has not seen fit to do so.

13              In the PLRA, Congress also included an administrative

14   exhaustion requirement.     And the inclusion of that

15   administrative process evinces Congress' general preference for

16   the resolution of inmate grievances to take place through the

17   administrative process, not through the courts implying damages

18   remedies.

19              THE COURT:   That administrative process that you say

20   is available, was available to Mr. Cohen, would not have

21   provided any damages.     Correct?

22              So we're not talking about the question of whether a

23   federal court could provide damages.      If I accept your

24   argument, nobody -- no administrative agency, no state court,

25   no federal court -- there would be no organ of government that

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page67 of 139
                                   A-64


     M82YCOHC                                                        21

1    would provide relief to Mr. Cohen for the 16 days that he spent

2    in solitary confinement because of his political speech.

3               MS. O'GALLAGHER:    I believe that's correct, your

4    Honor, though the Supreme Court has made it clear on several

5    occasions that where, as here, there are alternative remedial

6    structures available, the Court shouldn't imply a Bivens

7    remedy.

8               And it has made very clear that the remedy that's

9    available through alternative remedial structures need not

10   provide complete relief.      Complete relief could, perhaps, be

11   damages in certain cases.

12              But the alternative remedial structure that is

13   sufficient for a court to decline to imply a Bivens remedy need

14   not provide such complete relief.      It simply needs to provide

15   enough deterrence.      And the Court should in fact defer to

16   Congress' estimation of what the appropriate amount of

17   deterrence is where there are alternative remedial structures.

18              THE COURT:    I understand the argument that Congress is

19   particularly well-suited to understanding the value of

20   deterrence versus the chilling impact that a damages remedy can

21   have.

22              When you're talking about low-level or even mid-level

23   members of an administration or the executive branch, it's hard

24   for me to understand why you would think or the Court would

25   think that Congress is more competent than the judiciary in

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page68 of 139
                                   A-65


     M82YCOHC                                                        22

1    balancing those factors when it comes to a remedy against the

2    president of the United States.

3               MS. O'GALLAGHER:   I think I understand your Honor's

4    point.   And my response would be the same response I offered

5    previously, which is the Article III courts have already

6    provided an adequate measure of deterrence via Mr. Cohen's

7    habeas action.

8               And that was a habeas action pursuant to federal

9    statute, which was Congress' own estimation of what the

10   appropriate level of deterrence would be where there is the

11   availability of that alternative remedial structure.

12              And Mr. Cohen has already successfully availed himself

13   of filing a habeas action and having his habeas petition

14   granted and receiving transfer from FCI Otisville to home

15   confinement.

16              THE COURT:   Your point essentially is this is what the

17   Supreme Court has said.     And, Judge, that's what the

18   Supreme Court said.     Whether it is the way in which things

19   might be designed appropriately, considering constitutional

20   structure, the Supreme Court is the leading court in this

21   country.

22              MS. O'GALLAGHER:   Yes.   I think that is essentially my

23   argument, that this Court is bound by recent Supreme Court

24   precedent, which has made clear that only in the most unusual

25   of circumstances should a court find a Bivens remedy available.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page69 of 139
                                   A-66


     M82YCOHC                                                            23

1    And the Supreme Court has declined to do so in the last 40

2    years since the most recent case in which it applied a Bivens

3    remedy.

4               THE COURT:   I think I've got your argument.   You can

5    go on more if you want.     I think I understand the argument.

6               MS. O'GALLAGHER:   Thank you, your Honor.

7               I would just finish with in the event that the Court

8    does find that a Bivens remedy is available here to Mr. Cohen,

9    the individual moving defendants would still be entitled to

10   qualified immunity.

11              Mr. Cohen does not dispute in his papers that the

12   individual moving defendants are entitled to qualified immunity

13   with respect to his Fourth and Eighth Amendment claims.        He

14   limits his argument to his First Amendment claim.      And as I

15   mentioned earlier in my argument, pursuant to Egbert v. Boule,

16   there is no First Amendment retaliation claim under Bivens.

17              With that, I would rest on the papers with respect to

18   my other arguments and ask the Court to dismiss Mr. Cohen's

19   complaint in full with respect to the moving defendants that

20   the government represents.

21              THE COURT:   I have your argument.   Thank you.

22              MS. O'GALLAGHER:   Thank you, your Honor.

23              THE COURT:   Let me hear from Ms. Habba.

24              MS. HABBA:   Good afternoon, your Honor, or early

25   evening I should say.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page70 of 139
                                  A-67


     M82YCOHC                                                          24

1               THE COURT:   It's still afternoon.   The sun is still

2    shining.

3               MS. HABBA:   The sun is still shining.

4               May it please the Court, your Honor.     I represent

5    Donald J. Trump.    As it relates to my client, Donald Trump, the

6    complaint is improperly pled and defective on its face, and for

7    numerous reasons I'll discuss, it must be dismissed for my

8    client outright from this action.

9               The gravamen of plaintiff's complaint against my

10   client is that he issued specific directives and guidance to

11   his codefendants concerning the handling of plaintiff's

12   incarceration and potential furlough.

13              The codefendants referred to are represented by the

14   Department of Justice are all former and current employees of

15   the Department of Justice and the Federal Bureau of Prisons,

16   both of which are part of the executive branch.

17              As the head of the executive branch, issuing

18   directives to his subordinates, particularly those regarding

19   the day-to-day operations of a federal agency, would clearly be

20   within the scope of his official duties.

21              The single cause of action which the plaintiff asserts

22   against my client which is a Bivens claim is wholly barred by

23   the doctrine of presidential immunity.    And while my co-counsel

24   and my colleague here argued Bivens, it's different for a

25   president because they have presidential immunity which is

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page71 of 139
                                  A-68


     M82YCOHC                                                        25

1    automatically --

2               THE COURT:   Let me try to understand the limiting

3    principle of your argument.     I understand this case may be a

4    little bit different in that Mr. Cohen was, at the time he was

5    put back in prison, still subject to a criminal justice

6    sentence that had not yet run.

7               But let's change the facts a little bit.    Let's assume

8    that he had not been convicted.     He was just a citizen walking

9    on the street.    And let's assume that your client ordered

10   somebody he had hired into the executive office of the

11   presidency to kidnap Mr. Cohen and just keep him silent for two

12   weeks.    I think we've seen that picture play out in other

13   countries.

14              Is it your position that the president has the

15   absolute immunity to do that in this country?

16              MS. HABBA:   Absolutely not, your Honor.   My position

17   is that when he's acting in his official rights, within his

18   official acts under the scope of his official duties, he can do

19   so and he would, frankly, in this situation that's

20   distinguishable from what you're saying because he was

21   imprisoned and it was part of the executive branch's ability to

22   decide.

23              THE COURT:   So, just to come up with the limiting

24   principles, he could not have ordered his valet, let's call it,

25   to kidnap Mr. Cohen.     That would not be covered by the doctrine

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page72 of 139
                                     A-69


     M82YCOHC                                                          26

1    of presidential immunity.

2               MS. HABBA:   Your Honor, I think that's what Nixon v.

3    Fitzgerald is on point discussing here.

4               THE COURT:   Just tell me what you think the answer is

5    to that question.

6               Could he order his valet, in the two weeks leading up

7    to a presidential election, to kidnap a political opponent?

8               MS. HABBA:   No.

9               THE COURT:   Okay.    What about the Secret Service?

10   Could he order the Secret Service, in the two weeks leading up

11   to a political election, to kidnap his political opponent?

12              MS. HABBA:   No.

13              THE COURT:   So where do you draw the difference?

14              What falls within the president's powers and what

15   doesn't for the purposes of presidential immunity?

16              MS. HABBA:   I think that the courts are really clear

17   that the conduct of the president has to be under the color of

18   law.   Here, the executive branch is in charge of -- and I have

19   to say for the record, your Honor -- I haven't gotten to it,

20   but obviously we have press in the room.

21              My client vehemently denies the allegations that

22   Mr. Cohen has brought in this complaint which are frankly

23   baseless.    He has no proof of the same, and he just claims that

24   he believes the president has ordered this treatment by other

25   members.    So I must state that for the record.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page73 of 139
                                     A-70


     M82YCOHC                                                             27

1               THE COURT:   Okay.    You've made your statement for the

2    press.

3               MS. HABBA:   I had to state that.

4               THE COURT:   I have to take the complaint and

5    allegations as pled.     So speak to me.

6               MS. HABBA:   Sure.    I think, your Honor, at all

7    relevant times, Donald Trump was the president here.        And the

8    First Amendment claims, as my colleague mentioned, in Egbert,

9    were -- Bivens doesn't apply.

10              And it's very simple.       He has one count against the

11   president here.    The count he has against the president is a

12   Bivens claim for the First, the Fourth, and the Eighth

13   Amendment violations that he claims happened as a result of

14   something the president did.

15              THE COURT:   Okay.    But let's get back to your doctrine

16   of presidential immunity because you argue that is an

17   independent basis in this case.         And you've told me that it

18   would not be covered by presidential immunity if the president

19   ordered the Secret Service to kidnap Mr. Cohen.

20              MS. HABBA:   Yes.

21              THE COURT:   He would not have immunity in that case.

22              MS. HABBA:   No, because that's not under his authority

23   as the president of the United States.

24              THE COURT:   And let's say he told the Secret Service,

25   this guy presents -- actually, why isn't that within his

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                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page74 of 139
                                  A-71


     M82YCOHC                                                            28

1    authority under your argument?

2               Doesn't the Secret Service have some power to protect

3    the president?

4               MS. HABBA:   Actually, the Secret Service reports to

5    the government, and they have their own discretion and their

6    own policies.    But, no.   The president cannot order crimes that

7    are not within the purview of his role as president.

8               THE COURT:   So how is it within his purview to issue

9    an order to the folks who are administering the

10   Bureau of Prisons to incarcerate Mr. Cohen to silence him?

11              MS. HABBA:   First of all, the president didn't do

12   that.   But if your argument was what if he did, I would say

13   that the claim on this complaint of Bivens fails, also they're

14   covered under absolute immunity.     The public policy, your

15   Honor, is that as long as --

16              THE COURT:   What's the difference between the two

17   hypotheticals?    The one where he orders the Secret Service to

18   pick up the guy off of the street and the one where he just

19   jumps ahead of everybody else and orders the folks at the

20   Bureau of Prisons to put him back in?

21              MS. HABBA:   Both of them are under the executive

22   branch.    What you're saying is to take a person off of the

23   street who is not under the control -- Mr. Cohen, let's

24   remember, had committed crimes.     We're forgetting that.     He

25   committed crimes.   He was under the authority of the

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page75 of 139
                                    A-72


     M82YCOHC                                                           29

1    government.    They were making decisions, the Bureau of Prisons.

2               THE COURT:   You're quarreling now with both the

3    hypothetical and with the allegations of the complaint.

4               MS. HABBA:    Not really, your Honor.   I think we're

5    forgetting that Mr. Cohen wasn't put in prison because he

6    didn't do anything.

7               THE COURT:    No.   But the fact that he was put in

8    prison, I don't understand how that ties into your presidential

9    immunity argument.      So what you're saying is that the limits of

10   presidential immunity are that you can do it to somebody who's

11   imprisoned but you can't do it to a citizen on the street.

12              MS. HABBA:    I think the president's argument of

13   absolute immunity, regardless of who the person is, for a very

14   important public policy reason, which has been brought into

15   every case, which is that presidents have to be able to do

16   their job without sitting here in court incurring legal fees.

17   That does not mean that they have the right to go willy-nilly

18   and commit crimes.

19              In fact, your Honor is aware of in court and other

20   issues that have to do with other claims against a president,

21   and those are right now on appeal.       I think that speaking in

22   hypotheticals, your Honor, quite honestly is irrelevant here.

23   This is a very clean-cut case where absolute immunity does

24   apply.

25              THE COURT:    Well, hypotheticals actually are very

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page76 of 139
                                  A-73


     M82YCOHC                                                         30

1    helpful in teasing out legal rules and understanding the limits

2    of argument.    That's the reason why I'm asking these questions.

3               As I understand your argument, it is even if the

4    Congress of the United States said that we're going to provide

5    for a damages remedy against anybody who retaliates against a

6    political opponent in the one week before the election, your

7    client alone, among everybody else in the United States, your

8    client would be immune from that damages remedy.      Congress

9    couldn't do a damn thing about it.      That's your argument.

10              MS. HABBA:   He's part of the executive branch.     And as

11   president of the United States, they are granted privileges

12   that other people do not have, your Honor.

13              THE COURT:   Right.   And that's the reason why I'm

14   asking about the extent of your argument, because the extent of

15   your argument is really not about the power of the courts.

16   You're really talking about the power of Congress.

17              So where does that power of Congress end?    You've said

18   to me Congress can provide a damages remedy if the president

19   ordered the Secret Service to pick up somebody off the street.

20              But why not if the president ordered somebody from the

21   Bureau of Prisons to take a person who was on home detention,

22   no violations, on home detention, and just yank him out of the

23   home and put him in?

24              Why can't Congress do that?    Why can't Congress

25   provide a remedy for that?

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page77 of 139
                                  A-74


     M82YCOHC                                                        31

1               MS. HABBA:   I think that there's already been a method

2    to expand Bivens, which is what you would be implying.

3               THE COURT:   I'm just talking about if Congress passed

4    a statute because you're saying there's presidential immunity

5    against Congress.

6               MS. HABBA:   Well, he's part of the executive branch,

7    and our founding fathers created different branches of

8    government for this reason.     A president has absolute immunity

9    when it comes to these things for a very good reason.

10              There has to be a person in charge, and if the

11   president sees a reason to -- we're speaking hypothetically

12   which I would like to get back to the merits of this case.

13              But if you would like me to argue for all presidents,

14   I can tell you that presidents do act within their scope.       They

15   order bombs across countries, and they have to do so without

16   the threat of someone saying that an individual was shot or

17   killed because they're the president of the United States.

18   There are certain things that come into play when you're the

19   president.

20              My client did nothing to attack Mr. Cohen, although he

21   would like to think so.     And at the end of the day, if you

22   would like to extend Bivens to a new context -- and First

23   Amendment is basically the crux of his argument against my

24   client, which Egbert completely invalidated recently, last

25   month.   The Supreme Court gave an --

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page78 of 139
                                      A-75


     M82YCOHC                                                            32

1               THE COURT:    I understand the Bivens argument.     I

2    understand Egbert.      But you're asking me to say, even if

3    there's a Bivens remedy, I should dismiss your client from the

4    case, leave everybody else in the case but dismiss your client.

5               MS. HABBA:    Correct, because my client has absolute

6    immunity as the president of the United States.        Correct.    And

7    if your Honor would like to expand the Bivens remedy, which is

8    disfavored activity as was stated in Ziglar v. Abbasi, then

9    there is a test to do that.        And even under that situation,

10   that's not this case.      But I'm happy to go through that, your

11   Honor, if you'd like.

12              THE COURT:    I've heard the government on Bivens.      If

13   you've got something to say that they didn't say, I'm happy to

14   hear from you on it.

15              MS. HABBA:    Sure.    Let me review my notes, your Honor.

16   I'll get off of Bivens.      But just to say on this complaint, I

17   also just believe there's just no cognizable cause of action

18   against my client.

19              Even if you were to consider this as an exception to

20   the steadfast rule of absolute immunity, plaintiff's claim

21   fails on basic level because it doesn't set forth a cognizable

22   cause of action on its face.

23              Outside of Egbert, which we've discussed, that only

24   leaves plaintiff's claims for Fourth and Eighth Amendment.          But

25   he fails to identify even a single act by former

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page79 of 139
                                  A-76


     M82YCOHC                                                        33

1    President Trump that could reasonably be construed as a

2    violation of plaintiff's rights under the Fourth or Eighth

3    Amendment.

4               So the entirety of plaintiff's claim is premised on

5    his vague and conclusory assertion that my client issued

6    directives to the BOP, to the DoJ.    And there are no facts of

7    that contention.    Nor does plaintiff offer a single fact in

8    support of his belief that defendant directed or guided

9    codefendants.    Notably, he fails to even articulate specific

10   directives that say that he was remanded back to prison.       He

11   just broadly asserts that fact.

12              Therefore, frankly, even viewed in the light most

13   favorable to plaintiff, there is simply no factual basis to

14   support his claim that former President Trump violated

15   plaintiff's constitutional rights.

16              For all of the reasons I have discussed, it is

17   respectfully requested that the Court grant my client's motion

18   to dismiss the complaint pursuant to (12(b)(1) and 12(b)(6) and

19   acknowledge what has frankly been the steadfast rule, that

20   absolute immunity exists for presidents, for the decisions that

21   they make under the executive branch and that, frankly, the way

22   this was pled, if it fails under one, it fails under both.      So

23   thank you, your Honor.

24              THE COURT:   Thank you, Ms. Habba.

25              Before I hear from the plaintiff, Ms. Rovner, I

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page80 of 139
                                   A-77


     M82YCOHC                                                           34

1    miscited a case to you which may have been the cause of your

2    confusion.    I meant to cite to the Coulhurst case.    I may have

3    said Colbertson.    But I meant Coulhurst, which you cited to me.

4    I'm not sure whether it makes a difference in terms of your

5    answer, but I wanted to correct myself.

6               MS. ROVNER:   Thank you, your Honor.    I am aware of

7    that case.

8               Would you like me to address it now?

9               THE COURT:    Certainly.   You can go to the podium.

10              MS. ROVNER:   So Coulhurst is the Second Circuit case I

11   believe we cited for the standard on the discretionary function

12   exception.    That case, I think the distinction it was making is

13   it depended on what the negligence was that was being asserted

14   in the complaint.

15              And your Honor was correct that it involved the

16   plaintiff being injured by equipment in the gym.       And the

17   distinction was whether the prison was careless in its

18   procedures to inspect the gym and inspect the cable.      And in

19   those circumstances, I think the court indicated the

20   discretionary function exception would apply.

21              But because the complaint could also be read to convey

22   that the person who was inspecting the gym was lazy,

23   inattentive, or careless, which I think some courts

24   interpreting Coulhurst -- I don't remember the exact term but

25   have called it like the lazy or inattentive actor exception or

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page81 of 139
                                     A-78


     M82YCOHC                                                        35

1    something like that.

2               So that case recognized an exception to the

3    discretionary function exception where the case could be read

4    as alleging kind of lazy, inattentive conduct that resulted in

5    negligence.

6               And I guess a vague complaint could be read many ways,

7    but I don't think Mr. Cohen's complaint is fairly read as

8    alleging a negligent or inattentive action or a lazy action by

9    the Bureau of Prisons.

10              THE COURT:    Yes.   In a way, that's what I'm struggling

11   with, just to lay it out there, because in Coulhurst, the

12   complaint also was vague, and the court recognized that and

13   said it could be read in two different ways.

14              The complaint here also is vague.     I haven't compared

15   the two complaints up against one another yet.       But I'm

16   wondering whether, if the Second Circuit thought that the

17   complaint in that case could be read to convey that there might

18   be an FTCA claim because the prison guard was careless, whether

19   the complaint here could be read in the same way and, even if I

20   were to agree with your argument on every other count, whether

21   this count would survive because it could be read that way.

22              MS. ROVNER:   I think in context, if you look at the

23   overall complaint, which is primarily alleging intentional

24   conduct, it would seem odd to infer that this was negligent

25   conduct in the sense of just being inattentive, careless, or

                      SOUTHERN DISTRICT REPORTERS, P.C.
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      Case 23-35, Document 49, 04/24/2023, 3504052, Page82 of 139
                                      A-79


     M82YCOHC                                                          36

1    lazy.

2               The complaint, in making all of these constitutional

3    tort claims under the FTCA alleging intentional conduct and

4    alleged unlawful arrest and imprisonment and abuse of process,

5    those seem to be very intentional-type claims.         It would seem

6    somewhat illogical I think to interpret Mr. Cohen's vague

7    allegations as alleging a lazy actor by BOP when the rest of

8    the complaint is completely to the contrary.

9               THE COURT:    Okay.    Thank you.

10              MS. ROVNER:   Thank you.

11              THE COURT:    All right.     Let me hear from the

12   plaintiff.    Mr. Laufer.

13              MR. LAUFER:   Good evening, your Honor or afternoon.

14              THE COURT:    Still afternoon.

15              MR. LAUFER:   Still afternoon.

16              Your Honor, I just want to clarify a few things, I

17   guess a general comment about some of the comments that were

18   made by the defendants.     This isn't a case about absolute

19   immunity or whether or not someone is in official custody.

20   This is a case about retaliation.         The defendants retaliated

21   against my client for the lawful exercise of his First

22   Amendment rights.   There is no question about that.

23              I was wondering a number of different things watching

24   my adversaries making their statements to the Court today,

25   watching them contort themselves to avoid the elephant in the

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                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page83 of 139
                                   A-80


     M82YCOHC                                                          37

1    room, the order of Judge Hellerstein, who has already found

2    that my client's remand back to FCI Otisville was indeed

3    retaliatory and in violation of his First Amendment rights.

4               THE COURT:    But at this stage, maybe that has some

5    significance in terms of whether you've got a well-pleaded

6    complaint, in other words, whether you've pled facts.      It

7    doesn't necessarily establish that the facts that you've pled

8    lead to a violation of law that I can address.

9               MR. LAUFER:    Well, in terms of I think your Honor

10   might be inferring the decision in Egbert and Abbasi.      Those

11   cases are completely different and distinguishable from this

12   one.   We're talking about the unlawful incarceration of my

13   client.

14              Egbert had to do with an individual who owned an

15   establishment called Smuggler's Inn, and it was a known hotbed

16   of criminal activity, drug smuggling and people illegally

17   crossing the border between America and Canada since this inn

18   was right on the border.

19              That is completely different than here.    My client was

20   placed back in FCI Otisville because of his First Amendment,

21   because of the statements he was making public.      He was

22   punished.    It was an abuse of power by the defendants.

23              THE COURT:    But all First Amendment retaliation claims

24   you could say are abuses of power.      When the warden puts

25   somebody in segregated housing because the prisoner has spoken

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page84 of 139
                                      A-81


     M82YCOHC                                                             38

1    out against the warden, that's an abuse of power of an

2    egregious, gross type.

3               MR. LAUFER:    Yes.

4               THE COURT:    I don't know that Egbert would permit a

5    Bivens claim under those circumstances.           That seems to be

6    squarely what the Supreme Court was talking about when it said

7    there's no Bivens claim for First Amendment retaliation.

8               MR. LAUFER:    Well, I think it was a little bit more

9    nuanced in Egbert, your Honor.           In Egbert, they said -- they

10   didn't outlaw expanding Bivens in Egbert or the First Amendment

11   either.    They said it's a "disfavored activity" and that the

12   court has to go through the analysis which your Honor is aware

13   of.

14              If this is not a call for an expansion of Bivens into

15   the First Amendment realm, I don't know what possibly could be.

16   This was a retaliatory act by the president of the

17   United States, then president of the United States, and members

18   of his administration against my client for the lawful exercise

19   of his rights.

20              He was put in jail, in solitary confinement, for 16

21   days because of it.      And only after his attorneys did a habeas

22   petition was he then released.           If you read Judge Hellerstein's

23   opinion, he's never seen anything like this before in all the

24   years he's been on the bench.           This was the ultimate abuse of

25   power.    It needs to be addressed.

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page85 of 139
                                   A-82


     M82YCOHC                                                           39

1               THE COURT:    Assume that I would agree with you.

2               How do I draw a limiting principle so that your

3    argument doesn't mean that every prisoner who complains that a

4    correction officer is retaliating against him or her or every

5    warden isn't the subject of a Bivens lawsuit?

6               It may be that that would be a good thing.     But it

7    would be -- I think you would agree it would be an expansion of

8    the Bivens remedy, which the Supreme Court has held is a

9    disfavored judicial activity.

10              MR. LAUFER:    Yes, your Honor.   I agree.   I think if

11   the Court were to do something like this, it would have to be

12   narrowly tailored for some specific situation.      What we don't

13   generally have in these other types of cases -- which I agree,

14   your Honor.    I think there should be a Bivens First

15   Amendment -- for retaliatory transfer or anything of that

16   nature between prisons or solitary confinement.

17              But placing that aside, what we have here is a ruling

18   already from another federal judge, from one of your

19   colleagues, that stated that Bill Barr, the former attorney

20   general; that Mike Carvajal, the soon to be former head of BOP;

21   and James Petrucci, the former head of Otisville violated my

22   client's rights by having him or are responsible for his

23   incarceration at Otisville.      That's what that order says.

24              So what we have here --

25              THE COURT:    Can you define for me what the legal rule

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                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page86 of 139
                                   A-83


     M82YCOHC                                                           40

1    is that you're asking me to adopt.

2               MR. LAUFER:    What I'm asking you to adopt is that my

3    client was taken from home confinement, which is not official

4    custody.    We disagree.    If your Honor would like me to expand

5    on that, I will.

6               THE COURT:    I'm happy to hear.   As I told you, I don't

7    have any time limits.      So I'm happy to hear whatever you have

8    to say.    The same with your adversaries.

9               MR. LAUFER:    Right.   Home confinement is not -- we

10   Have Reno v. Koray.      We have all the case law that I've placed

11   in my brief which essentially says that an individual that is

12   on home confinement -- and the DoJ has argued this countless

13   times when talking about sentence crediting -- is not official

14   custody.    Those are their own words.     It is not official

15   custody.

16              Home confinement -- and they haven't made this

17   distinction -- is not any different whether it's pre or post

18   sentencing or pre or post verdict.       There is no difference.

19   There is not a separate home confinement for bail when someone

20   is out awaiting trial or at the end of their sentence.         There's

21   just nothing.    There's nothing out there.     So I don't really

22   see any kind of distinction.

23              My client could have a cocktail at night if he chose

24   to.   He wouldn't be able to do that in BOP.      My client could go

25   for a run around the perimeter of his home if he chose to.         He

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page87 of 139
                                   A-84


     M82YCOHC                                                           41

1    cannot do that at his own leisure in BOP.        He is not under the

2    complete dominion of the Federal Bureau of Prisons.

3               So it is not official custody.   They don't tell him

4    when to wake up.    They don't tell him when to eat.      They don't

5    tell him when he can go to the bathroom or shower.       None of

6    that occurs when someone is on home confinement.        So it is not

7    official custody, and the case law I've presented, your Honor,

8    reflects that.

9               In terms of how we can craft this First Amendment

10   expansion in a very limited way, I agree with your Honor, that

11   the facts -- this is very fact-specific --

12              THE COURT:    I'm asking questions.    Don't agree with me

13   or disagree with me or assume that I have one view or another.

14   I'm asking hypotheticals to tease out legal arguments.

15              MR. LAUFER:   I think in this case, we don't have to

16   get too far into the granular aspects of motive here, your

17   Honor.   Everything is plainly stated.    What occurred here is

18   that my client was remanded back to Otisville because of the

19   exercise of his lawful First Amendment rights.

20              And everything, whether it's a Fourth Amendment claim,

21   whether it's an Eighth Amendment claim, runs from that.        The

22   Fourth Amendment claim, he was taken into custody.        They put

23   cuffs on him.    They put ankle shackles on him.      They took him

24   to MDC in Brooklyn, and then they sent him up to Otisville.

25   This wasn't a transfer between prisons.     This was a remand back

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page88 of 139
                                   A-85


     M82YCOHC                                                          42

1    to prison.    Those are the words that Judge Hellerstein uses.

2               THE COURT:    I'm not sure how you get beyond Egbert.

3               Is what you want to say that there's a Bivens remedy

4    that applies when, for retaliatory reasons, somebody is taken

5    from home detention and put into a federal correctional

6    institution?

7               MR. LAUFER:    If the remand back to prison is done for

8    an unlawful purpose, a lawful power used for unlawful purpose.

9    That's what this is here.      If we were to buy that he was in

10   official custody, which, again, the plaintiff does not concede.

11   He was not in official custody.

12              But there is a unlawful power that BOP used, that the

13   former president used, that the attorney general used for an

14   unlawful purpose, to retaliate against my client for exercising

15   his First Amendment rights.

16              THE COURT:    If I were to apply the reasons that Egbert

17   tells me, look at whether Congress can pass a law to address

18   this; look at whether there were alternative remedies

19   available.    There were alternative remedies.    Your client took

20   advantage of them.

21              And if there are transfers from home detention to

22   prison for retaliatory reasons, that would seem to be almost

23   pragmatically the kind of thing that Congress would be

24   particularly well-suited at figuring out how to craft the legal

25   laws regarding the remedy.

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page89 of 139
                                   A-86


     M82YCOHC                                                          43

1               MR. LAUFER:    Well, the commentary from Congress, your

2    Honor, demonstrates to us that they meant the FTCA and Bivens

3    actions to work together; that one was not supposed to replace

4    the other.    So the focus with regard to Bivens is that there is

5    individual liability to deter unlawful constitutional behavior.

6    That is the purpose of Bivens.

7               FTCA, it's the United States government.    It's a tort.

8    No one is really getting disciplined for anything.      The

9    taxpayers are I guess indirectly.      But no one who engaged in

10   this unlawful behavior is answering for it, unlike Bivens.

11              We need to do something here, your Honor.    SCOTUS did

12   not absolutely foreclosure the expansion of Bivens, even though

13   it is disfavored.   This is a very unique case.     This is someone

14   that had over a decade relationship with the former president.

15   He was the private attorney to the president.      He knew all the

16   actors involved.

17              And when he did the right thing and he testified

18   before Congress and he made numerous public statements telling

19   the truth about the former president, about Defendant Trump,

20   because he is a defendant in this action and he's a defendant

21   in a number of other actions as well.      And I have a feeling

22   he's going to continue being a defendant elsewhere.

23              THE COURT:    I don't need that argument from you, just

24   as I don't need it from the lawyers for Mr. Trump.      The lawyers

25   for Mr. Trump can say that there's no evidence that he did

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page90 of 139
                                   A-87


     M82YCOHC                                                          44

1    anything wrong.

2               I have to take the allegations of the complaint as

3    true.   You can argue from the allegations of the complaint.

4    You're not going to argue about other cases.       I'm deciding this

5    case.   It's enough to decide this case.

6               MR. LAUFER:    Very good, your Honor.

7               This was retaliatory conduct that was engaged in.      We

8    already have evidence of that, credible evidence of that,

9    against my client for the lawful exercise.       All we have to

10   demonstrate under Iqbal v. Ashcroft is plausibility, are the

11   allegations made in the complaint plausible.       That's the

12   standard.

13              And I think, given the ruling from Judge Hellerstein

14   coupled with my client's former relationship with the former

15   president, it is plausible, given the totality of the

16   circumstances surrounding here, the facts as they are pled in

17   the case, that what occurred here will survive a motion to

18   dismiss.

19              THE COURT:    I want to make sure -- I'll hear

20   everything that you want to say about Bivens, but I also do

21   want to make sure you address the FTCA claims.

22              MR. LAUFER:    Yes, your Honor.   The FTCA claims, there

23   is a private analogue I've included in my brief for all the

24   claims that we've made in there.      This was an arrest.   My

25   client was not in custody.      My client can go to the store when

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      Case 23-35, Document 49, 04/24/2023, 3504052, Page91 of 139
                                   A-88


     M82YCOHC                                                         45

1    he's under home confinement and furlough.        He's well within his

2    rights to do that, within a certain perimeter around his home.

3    He was free.

4               I'll grant that maybe Geo, which was the contractor

5    who would normally help someone moving from prison or furlough

6    to home confinement, maybe DoJ or BOP or parole have the right

7    to suddenly say, hey, forget Geo.        Come on down to the Southern

8    District.    We want to talk about the conditions that are going

9    to oversee or rule or govern your home confinement.

10              Fine.    We come down.    At that point, they didn't have

11   a good-faith basis for bringing my client down here.       It was

12   all premeditated.     They knew, as soon as they saw that first

13   paragraph, there was going to be an issue which would restrain

14   his ability to speak publicly about the former president.

15              As soon as they weren't signing the agreement or they

16   decided to sign it to avoid prison, it didn't matter anymore.

17   He was taken into custody.     U.S. Marshals came and arrested

18   him.   As far as we're concerned, that's a Fourth Amendment

19   violation.

20              My client was released under the CARES Act because of

21   his comorbidities.     They knew that, at that point when there

22   was no treatment for COVID, it would be a potential death

23   sentence for him to be remanded back to prison.

24              Otisville, as most federal prisons were, a hotbed for

25   the spread of COVID.     It would have exposed him to a potential

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                                 (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page92 of 139
                                      A-89


     M82YCOHC                                                            46

1    death sentence.    But they knew that because they granted him

2    furlough based upon his comorbidities and COVID, yet they still

3    sent him back.

4               THE COURT:    They had the legal authority, even without

5    any reason, to put him back in prison.           Right?

6               That would not have been reviewable if they just

7    decided they didn't want to take the risk of him being out on

8    home confinement or furlough.           They could have put him back in.

9    He was serving a criminal justice sentence.

10              MR. LAUFER:    Yes.    But under the CARES Act, they

11   already found that he qualified for it.           They already made a

12   determination.    I guess one could say arguably that we want to

13   revoke his furlough, but he wasn't on furlough anymore.          He was

14   converted to home confinement.           And the basis, even though they

15   may have a legal authority to do that, was unlawful.

16              THE COURT:    Had he been converted to home confinement?

17   Or was he still on furlough technically as of the time he was

18   put back into BOP custody?

19              MR. LAUFER:    No.    He was on home confinement at that

20   point.   And the reason why I say that is because if you look at

21   our exhibit -- I forgot the exhibit.           I think it might be B or

22   C.   We don't have many exhibits.          Maybe B -- you'll see Patrick

23   McFarland, the residential reentry management, said that I am

24   remanding Michael Cohen back to prison for violation of the

25   rules of home confinement.        So he states that.

                      SOUTHERN DISTRICT REPORTERS, P.C.
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      Case 23-35, Document 49, 04/24/2023, 3504052, Page93 of 139
                                      A-90


     M82YCOHC                                                              47

1               That is an admission from the defendants stating that

2    he was under home confinement at the time.           And that was the

3    predicate for them to remand him back to Otisville, because he

4    wouldn't sign a clearly unconstitutional and I would say

5    unlawful home confinement agreement which violated his rights.

6               As for the FTCA claim, your Honor, I'm not really

7    sure.

8               What specifically would you like me to address?

9               THE COURT:    Well, there are a couple of claims that

10   I'd like to hear from you on.           One is the abuse of process

11   claim.

12              MR. LAUFER:    Yes.

13              THE COURT:    The government makes I think a fairly

14   powerful argument that abuse of process, as it's been developed

15   by the courts, refers to abuse in the obtaining of process.

16   Whether the process is a subpoena that somebody obtains

17   improperly or an arrest warrant, it's the abuse of the court

18   system that takes place when process is obtained for improper

19   purposes, not the subsequent abuse that takes place in the

20   execution of process.

21              I didn't see a response from you on that.

22              MR. LAUFER:    Well, your Honor, I think that what

23   Mr. McFarland did here was an abuse of process because he has

24   to notify the court that Mr. Cohen is no longer, as part of his

25   sentence, relegated to home confinement.           He is in violation of

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                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page94 of 139
                                   A-91


     M82YCOHC                                                         48

1    his home confinement agreement.       And for that purpose, he has

2    now been sent back to Otisville.

3               U.S. Marshals needed to be notified to come and arrest

4    him.    So I think in that regard, there was a fraud committed

5    upon the court by using a predicate of a violation of my

6    client's rights to have him remanded back to Otisville.

7               THE COURT:    But the abuse doesn't take place in terms

8    of obtaining the process.      It's really what's done thereafter.

9               MR. LAUFER:    Well, I think that the process here --

10              THE COURT:    The process here was Judge Pauley's

11   sentence.

12              MR. LAUFER:    Correct.   The process was -- by the

13   sentencing guidelines and the rules, there was already a

14   process that was stated, and that process was abused by

15   Mr. McFarland and defendants in remanding him back to prison

16   for unlawful means.

17              I mean, they may have the authority to do something

18   like that, but they abused that authority by remanding him

19   back.    And they abused the process that was already in place by

20   the court to do so.

21              THE COURT:    Can you address the Coulhurst issue with

22   respect to your client's treatment after he had been

23   re-incarcerated.

24              MR. LAUFER:    Well, yes, your Honor.   I think this goes

25   more along the lines of abuse.       I think the words we're looking

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                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page95 of 139
                                   A-92


     M82YCOHC                                                         49

1    for here with regard to once my client was re-incarcerated are

2    "deliberately indifferent."

3               They placed him in a confined area, solitary

4    confinement, for 16 days where he was dealing with conditions

5    that were clearly harmful to I think any human being, let alone

6    someone that has existing comorbidities.        And they were

7    deliberately indifferent to his health, safety, and welfare.

8               THE COURT:    You allege negligence, and the complaint

9    is very general and very vague in terms of in what respect the

10   defendants were negligent.        So maybe you can tell me now what

11   your theory is of negligence.        I assume that you're familiar

12   with Coulhurst.

13              MR. LAUFER:    Yes, your Honor.    Our theory of

14   negligence in that respect is that Otisville, as with most

15   federal prisons -- I know in MDC here, it's a nightmare.        MCC

16   was also a nightmare -- it is the maintenance and upkeep and

17   the habitability of these correctional facilities that we place

18   prisoners in, on of them, at the time, being my client.

19              They knew that -- I guess we could say it was

20   negligent upkeep, maintenance, and things of that nature.

21              THE COURT:    Right.    There could be negligence in the

22   form that's discussed in Coulhurst of we're only going to go by

23   the cell so many times to check it out because we've got, you

24   know, a limited budget.      We've got other priorities, and we're

25   making a policy-based decision about risk.        Or it could be that

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page96 of 139
                                     A-93


     M82YCOHC                                                            50

1    the person is just asleep.

2               MR. LAUFER:    The negligent guard theory.

3               THE COURT:    Your complaint is not clear which one.

4    In fact, it could be read to say, listen.        It was the time of

5    COVID, and the Bureau of Prisons had a lot of different

6    priorities, and courts shouldn't be involved in --

7               MR. LAUFER:    In the day-to-day management --

8               THE COURT:    -- the day-to-day management and where

9    they put their resources.        That's what the discretionary

10   function exception is about.

11              MR. LAUFER:    Right.    But they can't violate public

12   policy, these decisions.        And to have these prisoners in these

13   Gulag-type conditions is a violation of public policy, as

14   your Honor aptly stated earlier.

15              THE COURT:    So is your legal proposition that they

16   made a decision about how to allocate resources but they did it

17   in a way that is illegal because it resulted in him being in

18   these awful circumstances?

19              Is that how I should understand your complaint?

20              MR. LAUFER:    I think that the policies and procedures

21   in place -- we're just speaking of the negligence claim.

22              THE COURT:    Yes.    Just the negligence claim.

23              MR. LAUFER:    The policies and procedures in place

24   during COVID at Otisville were egregiously bad in that they,

25   aside from deliberately indifferent, were just negligent in the

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page97 of 139
                                      A-94


     M82YCOHC                                                              51

1    maintenance and upkeep which led to further exposure of my

2    client to horrendous conditions.

3               THE COURT:    All right.     Anything further?

4               MR. LAUFER:    The qualified immunity I guess briefly,

5    your Honor.    My papers kind of address all that.        Essentially

6    retaliation -- and I have case law in there -- for the lawful

7    exercise of someone's First Amendment rights is a well-known

8    issue by law enforcement, whether they're in prison, whether

9    they're police officers, or anything of that nature.

10              So they know that you cannot imprison someone because

11   of their speech.    There is ample case law with regard to that,

12   and that's more under a 1983 claim.          But in general, that I

13   think that that is not outside the purview or the ken, so to

14   speak, of an average correction officer or member of our

15   government.

16              THE COURT:    You mean the fact that it's 1983 versus

17   Bivens is kind of irrelevant from your perspective.         It's the

18   Constitution.

19              MR. LAUFER:    Yes.    Exactly.    I think we're not talking

20   state and local here, but I think it's under color of federal

21   law obviously, what we're dealing with here under Bivens.

22              And if the Court is not inclined to expand the First

23   Amendment, the actions, the facts that are surrounding this

24   case, led to all of the other violations, whether it's the

25   FTCA violations or whether it's the Fourth Amendment and Eighth

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page98 of 139
                                     A-95


     M82YCOHC                                                            52

1    Amendment violations.

2               So, yes.   There is an analogy between 1983 First

3    Amendment retaliation by state and local and, if the Court is

4    inclined to expand Bivens to First Amendment coverage in this

5    one particular instance, given the very unique fact pattern

6    here, yes.    You cannot retaliate against a perceived enemy by

7    placing him back in prison.

8               THE COURT:    Thank you very much.

9               I think your client may have passed you a note.      I

10   don't know if he did or not.

11              MR. LAUFER:    No.

12              THE COURT:    Anything further from the plaintiffs?

13              MR. LAUFER:    Your Honor, I don't know if the Court

14   wants to entertain.      My co-counsel knows a little bit more

15   about the comorbidities of Mr. Cohen.      I think he could maybe

16   fill in the blanks a little bit about that.

17              THE COURT:    I'm going to judge this based upon the

18   allegations in the complaint.

19              MR. LAUFER:    Very good.

20              THE COURT:    I don't need to hear more about that I

21   don't think.

22              MR. LAUFER:    Very good, your Honor.   Thank you.

23              THE COURT:    Anything further from counsel for the

24   government?

25              MS. ROVNER:    Your Honor, I'd just like to make a brief

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                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page99 of 139
                                      A-96


     M82YCOHC                                                            53

1    rebuttal regarding FTCA.

2               THE COURT:    That's fine.

3               MS. ROVNER:    I'd just like to address three points:

4    First regarding the abuse of legal process claim, Mr. Cohen's

5    counsel has not identified any court process.        And once again,

6    the memo he cites is an internal government memorandum between

7    BOP and the United States Marshal Service.

8               Second, regarding Koray, Mr. Cohen's counsel

9    referenced a couple of times how restrictive the confinement

10   was and said that home confinement isn't very restrictive

11   because Mr. Cohen could go get a cocktail or something.

12              And in Koray, the Supreme Court made clear that how

13   restrictive the confinement is is not the relevant distinction.

14   The relevant distinction is that before trial or sentencing, an

15   individual who is released is not within the custody or control

16   of BOP; whereas, a sentenced individual is.        And that's why --

17              THE COURT:    That's what I do when I impose sentence, I

18   commit somebody to the custody of the Bureau of Prisons.

19              That's correct?

20              MS. ROVNER:    Yes.    I just wanted to point out that

21   Koray rejected the analysis that some courts have been making

22   before the decision by looking at how restrictive the

23   confinement was.    So I just wanted to make that point.

24              And then finally, with respect to the discretionary

25   function exception, although the Court gave Mr. Cohen's counsel

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page100 of 139
                                      A-97


     M82YCOHC                                                          54

1    a chance to clarify what he meant by the vague allegations in

2    the complaint, I think he did clarify it by saying -- he called

3    the conduct "deliberately indifferent"; that it involved

4    considerations of public policy, which is what the

5    discretionary function applies to.

6               So I don't think that his complaint could be

7    interpreted as raising the lazy or negligent guard theory.

8               THE COURT:    Ms. Rovner, was Mr. Cohen on furlough or

9    home confinement at the time that the Bureau of Prisons then

10   put him back into custody?

11              MS. ROVNER:    He was on furlough because he went -- he

12   met with the probation officers to be placed on home

13   confinement, but he had not yet been placed on home

14   confinement.    So he was on furlough during that time period.

15              But regardless, there's a regulation that applies to

16   furlough saying that he would be in the custody of the attorney

17   general if on furlough.      And if he was on home confinement,

18   which he wasn't, there's also a statute saying that he would be

19   within the custody of the Bureau of Prisons during that time.

20              THE COURT:    Okay.

21              MS. ROVNER:    Thank you.

22              THE COURT:    I'll give the plaintiffs the last word,

23   but I'm not going to do so until I ask counsel for Mr. Trump

24   whether they want a further word.

25              MS. HABBA:    Only two sentences, your Honor.   I'm happy

                      SOUTHERN DISTRICT REPORTERS, P.C.
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      Case 23-35, Document 49, 04/24/2023, 3504052, Page101 of 139
                                  A-98


     M82YCOHC                                                           55

1    to do so right here.

2               THE COURT:   If you're going to take off your mask even

3    a little bit, you should go up to the podium.

4               MS. HABBA:   I would just like to make very brief

5    points.    Number one, Hellerstein's decision, Donald Trump was

6    not a part of that decision.     He was not at all.     That decision

7    had nothing to do with Donald Trump.       He wasn't even in it.   I

8    just wanted to go back to your question --

9               THE COURT:   I think that's actually the plaintiff's

10   point, is that they want to be able to sue your client

11   according to habeas corpus.

12              MS. HABBA:   Of course.    I understand.   I did want to,

13   just want for the record, state that in Nixon v. Fitzgerald,

14   they did say that a rule for absolute immunity going back to

15   your question about the kidnapping, which would be a criminal

16   activity, that the rule for absolute immunity for the president

17   would not leave the nation with a president that's not above

18   the law.

19              That's why there is impeachment and other items that

20   exist for checks and balances.       That's why the president is

21   constantly being scrutinized.       And those alternative remedies

22   and deterrence establishes that absolute immunity will not

23   place the president in that situation.       That's all I just

24   wanted to add.

25              Also briefly, he spoke a lot about intent and

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                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page102 of 139
                                   A-99


     M82YCOHC                                                           56

1    specifically to my client.      Malicious intent is not to be

2    considered, and the case law is very well established on that.

3    Intent has nothing to do with it.

4               THE COURT:    With absolute immunity.   I understand.

5               MS. HABBA:    Thank you, your Honor.

6               THE COURT:    Mr. Laufer, you wanted the last word.     I'm

7    happy to give it to you.      But do it from the podium.

8               MR. LAUFER:    A couple of things.   Ms. Rovner is

9    incorrect.    The document that was signed by Patrick McFarland

10   was related to his home confinement saying that Mr. Cohen

11   violated his home confinement.       So I believe it's an exhibit

12   also.

13              Again, one thing about the habeas relief.     My client

14   was freed because of the habeas relief.       That stopped the

15   bleeding, your Honor.

16              But what about the 16 days of virtual torment that he

17   dealt with being unlawfully incarcerated?       He has not been made

18   whole for that.    That is something that needs to be addressed.

19              Judge Hellerstein was very specific that he was not --

20   that Mr. Cohen was not in the custody of BOP at the time during

21   the transfer to home confinement -- from furlough to home

22   confinement; that he was able to leave his home; that he wasn't

23   under any restrictions, other than his furlough agreement and

24   his home confinement agreement, which gave him much greater

25   freedom.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
      Case 23-35, Document 49, 04/24/2023, 3504052, Page103 of 139
                                  A-100


     M82YCOHC                                                        57

1               Again, Reno v. Koray and its progeny clearly draw a

2    distinction between being incarcerated and under home

3    confinement.    Once you're under home confinement, you're under

4    different rules.    You're not under the same rules as you were

5    being an incarcerated detainee.      I think that's essentially it.

6               THE COURT:    Thank you very much.   The Court will take

7    this under advisement.     I will try to get you an answer as soon

8    as I can.    I appreciate the arguments from all counsel.

9    Everybody stay safe and stay healthy.      Thank you.

10              (Adjourned)

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                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
         Case 23-35, Document 49, 04/24/2023, 3504052, Page104 of 139
                                                     A-101


           Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 1 of 33


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UNITED STATES DISTRICT COURT                                               ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                              DOC #:_ _ _ _ _ __
---------------------------------------------------------------------- X   DATE FILED: 11/14/2022
                                                                       :
MICHAEL COHEN,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      21-cv-10774 (LJL)
                  -v-                                                  :
                                                                       :   OPINION AND ORDER
UNITED STATES OF AMERICA, et al.,                                      :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        Plaintiff Michael Cohen’s complaint centers around allegations of serious violations of

his constitutional rights by the United States government, then-President Donald J. Trump, then-

Attorney General William Barr, and various officers within the Federal Bureau of Prisons.

Cohen alleges—and another Court found with respect to certain of the defendants, see infra—

that the defendants remanded him to prison because he wanted to publish a book critical of the

then-President. He seeks redress for the violations of his constitutional rights through this

damages action.

        Cohen’s complaint and the motions to dismiss now before this Court raise fundamental

questions about the meaning and value of constitutional rights, the relationship between a citizen

and the government, and the role of the federal courts in protecting those rights. The ability to

publicly criticize even our most prominent politicians and leaders without fear of retaliation is a

hallmark of American democracy; political speech is core First Amendment speech. “[I]t is a

prized American privilege to speak one’s mind, although not always with perfect good taste, on

all public institutions.” Bridges v. California, 314 U.S. 252, 270 (1941). And it is a further

hallmark of American democracy that, where one’s rights have been violated, one may seek to
        Case 23-35, Document 49, 04/24/2023, 3504052, Page105 of 139
                                              A-102


          Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 2 of 33




vindicate those rights in the courts. In the oft-quoted words of Chief Justice John Marshall:

“The government of the United States has been emphatically termed a government of laws, and

not of men. It will certainly cease to deserve this high appellation, if the laws furnish no remedy

for the violation of a vested legal right.” Marbury v. Madison, 1 Cranch 137, 163 (1803). The

Court today must consider the limits of these hallmark principles.

                                         BACKGROUND

       The following facts are drawn from the complaint and are taken as true for the purposes

of this motion to dismiss.

       Plaintiff Michael D. Cohen (“Cohen” or “Plaintiff”) was formerly employed by

individual defendant Donald J. Trump (“Trump”) as his attorney and personal advisor for over a

decade. Dkt. No. 3 (“Compl.”) ¶ 48. In August and November of 2018, Cohen pleaded guilty to

various crimes including lying to Congress and campaign finance violations; he was sentenced to

thirty-six months of incarceration. Id. ¶¶ 4, 52–53. In May of 2019, he voluntarily surrendered

for service of his sentence at FCI Otisville. Id. ¶ 54.

       While incarcerated, Cohen began to work on a book about his association with Trump.

Id. ¶ 55. The book chronicles the arc of his experiences with Trump and describes how, upon

reflection, he came to the realization that his actions in furtherance of Trump’s agenda ultimately

led to his own downfall. Id. ¶ 56. Cohen publicly spoke about his forthcoming book in ways

that made it clear that the book would be critical of and perhaps damaging to Trump; he publicly

stated that his book would be unfavorable to Trump and would substantiate the descriptions he

gave during his congressional testimony of Trump as “a cheat, a liar, a conman, [and] a racist,”

among other things. Id. ¶¶ 57, 59. The complaint also alleges that Cohen was privy to years of

non-public behavior by Trump, which included witnessing anti-Semitic and racist remarks by

him; that the book included quotes and documentary evidence of such behavior; and that Trump


                                                  2
        Case 23-35, Document 49, 04/24/2023, 3504052, Page106 of 139
                                             A-103


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 3 of 33




was aware that Cohen was witness to many years of such behavior that, if made public, could

damage Trump’s reputation and his future political goals, including, at that time, his potential

run for a second term as President in 2020. Id. ¶¶ 57–58, 60.

       Cohen’s incarceration in 2019 and the beginning of 2020 was uneventful. Id. ¶ 62. Upon

completion of his sentence, Cohen was to be released from FCI Otisville on November 21, 2021.

Id. ¶ 63. The onset of the COVID-19 pandemic, however, altered this. Id. ¶ 64. COVID-19

caused significant concerns for prison populations because the virus spreads easily within the

close confines of a prison; this was particularly concerning for Cohen because he has various

health comorbidities that make him highly susceptible to COVID-19 risks. Id. ¶¶ 64–65. Cohen

petitioned the defendants for early release from FCI Otisville based on Congress’s passage of the

Coronavirus Aid, Relief, and Economic Security (“CARES”) Act, Pub. L. No. 116-136, and

then-Attorney General Barr’s memoranda of March 26, 2020 and April 3, 2020. Id. ¶ 66. Cohen

submitted his request to officials from the Federal Bureau of Prisons (“FBOP”) on March 31,

2020; the officials determined that Cohen should be released on furlough and then transferred to

home confinement. Id. ¶¶ 67–68. The FBOP granted Cohen furlough approval on April 18,

2020; the furlough time period was from May 1, 2020 to May 31, 2020. Id. ¶ 69.

       During that time period, while on furlough, Cohen made several public statements via

Twitter regarding the imminent publication of his book about Trump, a number of which were

accompanied by the hashtag #WillSpeakSoon. Id. ¶ 72. Cohen planned to release his book by

late September of 2020. Id.

       On July 9, 2020, in compliance with a directive by defendant Adam Pakula, a probation

officer with U.S. Probation and Pretrial Services, Cohen reported to the U.S. Probation Office in

downtown Manhattan, along with his attorney, in order to transition from furlough to home




                                                 3
       Case 23-35, Document 49, 04/24/2023, 3504052, Page107 of 139
                                             A-104


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 4 of 33




confinement. Id. ¶ 73. They met with Pakula as well as defendant Enid Febus, a supervisory

probation officer. Id. Pakula and Febus gave Cohen a Federal Location Monitoring Program

Participant Agreement (“FLM”), which set forth conditions for Cohen’s home confinement. Id.

¶ 74. In the first paragraph, it contained a broad provision prohibiting Cohen from engaging with

the media in any form, including books, and from posting on social media:

       No engagement of any kind with the media, including print, tv, film, books, or any
       other form of media/news. Prohibition from all social media platforms. No posting
       on social media and a requirement that you communicate with friends and family
       to exercise discretion in not posting on your behalf or posting information about
       you. The purpose is to avoid glamorizing or bringing publicity to your status as a
       sentenced inmate serving a custodial term in the community.

Id. ¶ 75. Cohen viewed this condition as an attempt to chill and restrain his First Amendment

rights; he also suspected that this condition was not a standard one in FLMs for those transferring

to home confinement, partially because he noted that the document was not in the standard FLM

form, contained grammatical and typographical errors, and was not identified with its federal

form designation. Id. ¶¶ 76–78. He and his attorney inquired why the paragraph was included in

the FLM, since it did not appear to be standard and would prohibit the publication of his book.

Id. ¶ 79. Febus replied—and Pakula agreed—that that this was the standard form used, and that

Cohen was not being treated differently than other prisoners.1 Id. ¶¶ 80–81. Cohen and/or his


1
  The complaint alleges that “[i]n a July 22, 2020 signed declaration made under penalty of
perjury and submitted to the Court in Cohen v. Barr et al, supra, document number 23, defendant
Pakula admitted in great detail how he and defendant Febus lied to plaintiff.” Id. ¶ 82. The
declaration, however—which is referred to and relied upon by the complaint and is thus
incorporated by reference, and which the Court can take judicial notice of the contents of as a
public record pursuant to Federal Rule of Evidence 201(b), see Rothman v. Gregor, 220 F.3d 81,
92 (2d Cir. 2000)—does not contain such a broad admission. Rather, Pakula states that he drew
the FLM agreement presented to Cohen from an agreement sent to him by a probation officer in
another district as an example of an FLM agreement used for high-profile inmates. Declaration
of Adam Pakula, Cohen v. Barr et al., 1:20-cv-05614 (S.D.N.Y. July 22, 2020), ECF No. 23.
Taking Cohen’s allegations here as true—particularly, that Febus and Pakula told Cohen that this
was the standard form and that he was not being treated differently than other prisoners—
Pakula’s declaration does indicate that the statements made to Cohen were not true, in that he

                                                4
        Case 23-35, Document 49, 04/24/2023, 3504052, Page108 of 139
                                              A-105


          Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 5 of 33




attorney asked whether it would be possible to adjust the language of the paragraph or remove it

entirely; the parties agreed to table the question so that they could “run it up the chain of

command,” and continued with reviewing the rest of the FLM. Id. ¶¶ 84–86. Cohen was not

asked at that time or at any other point in the meeting to sign the FLM agreement, nor did he

refuse to sign the agreement, withhold consent to electronic monitoring, or refuse any other

condition of home confinement. Id. ¶¶ 87–88.

        After Cohen, his attorney, Pakula, and Febus finished reviewing the agreement, Pakula

and Febus directed Cohen and his attorney to remain in the waiting area while they waited for a

response from their supervisors about the first paragraph of the FLM. Id. ¶ 89. After waiting for

about an hour and half—during which time Cohen’s attorney checked in with Pakula and Febus

to see if everything was alright, and was assured that everything was fine and that they were just

waiting for a response from their supervisors—three United States marshals came to the waiting

area and served Cohen’s attorney with a remand ordered by defendant Patrick McFarland that

stated that Cohen had failed to agree to the terms of FLM and was being remanded for that

reason. Id. ¶¶ 90–91. Cohen was shackled, handcuffed, and remanded to prison. Id. ¶ 92.

Cohen’s attorney explained that the meeting had not concluded, that they were still waiting to

hear back as to what, if anything, could be adjusted, that Cohen had not refused to agree to the

terms of the FLM, and that Cohen was prepared to sign the FLM “as is.” Id. ¶ 95. Pakula and

Febus responded that it was “out of their hands,” and that the proposed FLM was no longer on

the table. Id. ¶ 96.




was, at least, being treated differently than lower-profile prisoners, and this was not the standard
form used in such cases.

                                                  5
        Case 23-35, Document 49, 04/24/2023, 3504052, Page109 of 139
                                             A-106


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 6 of 33




       Cohen was transported to the Metropolitan Correctional Center (“MCC”) in Manhattan

and then transported back to FCI Otisville, where he was placed in a special segregated housing

unit and then transferred to solitary confinement for sixteen days. Id. ¶¶ 98–100. While in

solitary confinement, he spent all but thirty minutes of his day alone in a twelve by eight-foot

cell with poor ventilation, no air conditioning, and temperatures frequently over one hundred

degrees. Id. ¶¶ 101–102. These conditions caused health problems for Cohen; his blood

pressure was elevated, resulting in severe headaches, shortness of breath, and anxiety, which

required immediate medical attention. Id. ¶ 102. While incarcerated, Cohen was unable to

proceed with drafting his book and was unable to make any public statements. Id. ¶ 103.

       Cohen filed a habeas petition against Barr, Michael Carvajal, in his official capacity as

Director of the FBOP, and James Petrucci, in his official capacity as Warden of FCI Otisville,

challenging his incarceration on July 20, 2020, eleven days after having been remanded. On July

23, 2020, Judge Hellerstein issued an order granting Cohen’s motion for a preliminary injunction

directing these defendants to release Cohen to home confinement. Id. ¶ 108. Judge Hellerstein

found that the defendants’ “purpose in transferring Cohen from release on furlough and home

confinement back to custody was retaliatory in response to Cohen desiring to exercise his First

Amendment rights to publish a book critical of the President and to discuss the book on social

media.” Cohen v. Barr, 2020 WL 4250342, at *1 (S.D.N.Y. July 23, 2020). Cohen had spent

two weeks either in the special segregated housing unit or in solitary confinement. Compl. ¶ 27.

       Cohen filed the complaint in this case on December 17, 2021. See generally id. The

complaint names as defendants: (i) the United States of America, (ii) former President Trump,

(iii) former Attorney General Barr, (iv) Director of the FBOP Carvajal, (v) Administrator of the

Residential Reentry Management Branch of the FBOP Jon Gustin, (vi) Residential Reentry




                                                 6
        Case 23-35, Document 49, 04/24/2023, 3504052, Page110 of 139
                                               A-107


          Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 7 of 33




Manager of the FBOP McFarland, (vii) Warden of FCI Otisville Petrucci, (viii) Supervisory

Probation Officer Febus, (ix) Probation Officer Pakula, and (x) John and Jane Doe (1-10) agents,

servants, and employees of the United States.

        The United States and the individual defendants with the exception of Trump filed a joint

motion to dismiss on March 31, 2022; Trump filed a separate motion to dismiss the same day.

Dkt. Nos. 39, 41. Cohen filed oppositions to the motions on May 27, 2022. Dkt. Nos. 59, 61.

The defendants filed replies on June 17, 2022. Dkt. Nos. 67, 68. The Court held oral argument

on the motions on August 2, 2022.

                                            DISCUSSION

        Cohen’s complaint asserts seven causes of action. Broadly, they can be grouped into two

categories. First, Cohen brings claims against all the individual defendants, including Trump, for

violations of his First, Fourth, and Eighth Amendment rights; the claims are brought under a

Bivens cause of action. See Compl. ¶¶ 139–142. Second, Cohen brings claims against the

United States for (i) retaliation; (ii) false arrest, false imprisonment, and abuse of authority and

process; (iii) negligent failure to protect; (iv) negligent infliction of emotional distress;

(v) intentional infliction of emotional distress; and (vi) negligent hiring, retention, training, and

supervision. See Compl. ¶¶ 111–138. These claims are all brought under the Federal Tort

Claims Act (“FTCA”).

        The Court turns first to the Bivens claims brought against all the individual defendants

and then considers the FTCA claims against the United States.

I.      Cohen’s Bivens Claims

        The seventh cause of action in the complaint—the only one brought against the

individual defendants—is brought as a Bivens cause of action for violations of Cohen’s First,

Fourth, and Eight Amendment rights, and alleges that defendants intentionally retaliated against


                                                   7
        Case 23-35, Document 49, 04/24/2023, 3504052, Page111 of 139
                                              A-108


          Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 8 of 33




Cohen by remanding him to prison for exercising his right to free speech, in violation of his First

Amendment rights; committed an unlawful seizure in so doing, in violation of his Fourth

Amendment rights; and placed him in dangerous solitary confinement conditions, in violation of

his Eighth Amendment rights. Compl. ¶¶ 139–142. All of the individual defendants move to

dismiss this count. They do not dispute that Cohen’s constitutional rights were violated and that

he suffered injury as a result. They instead argue that the Bivens cause of action is not available

for Cohen’s claims. See Dkt. No. 40 at 20; Dkt. No. 42 at 10.

       The Supreme Court has held that whether a Bivens cause of action is available is an

“antecedent issue” to whether a plaintiff has alleged a violation of a clearly established

constitutional right. See Wood v. Moss, 572 U.S. 744, 757 (2014); see also Hernandez v. Mesa,

137 S. Ct. 2003, 2006 (2017) (“The Court turns first to the Bivens question, which is ‘antecedent’

to the other questions presented.” (quoting Wood, 572 U.S. at 757)). At this stage, therefore, the

question before this Court is simple: Assuming, in the first instance, that Cohen has sufficiently

alleged that federal officials violated his constitutional rights, is there a judicial mechanism

through which he can vindicate those rights and seek to recover for the harm he suffered from

those who harmed him? It is a question that, here, is strengthened by the fact that—with regard

to Cohen’s First Amendment claim—another court in this District has already found Cohen’s

constitutional rights were violated. The question thus becomes whether the Constitution and the

courts afford Cohen a forum in which to seek relief for the injury he suffered as a result of that

violation. It is a question that, in 1803—“The very essence of civil liberty certainly consists in

the right of every individual to claim the protection of the laws, whenever he receives an injury,”

Marbury, 1 Cranch at 163—or in 1971—“Historically, damages have been regarded as the

ordinary remedy for an invasion of personal interests in liberty,” Bivens v. Six Unknown Named




                                                  8
        Case 23-35, Document 49, 04/24/2023, 3504052, Page112 of 139
                                               A-109


          Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 9 of 33




Agents of the Fed. Bureau of Narcotics, 403 U.S. 388, 395 (1971)—likely would have been

answered in the affirmative. His claim would have been entertained either in state or in federal

court. It is a question to which the answer seems intuitive; what, after all, is the value of a right

if one has no recourse when that right is violated? But it is also a question that the Supreme

Court has unequivocally answered in the negative. The Court is bound by that ruling. See State

Oil Co. v. Khan, 522 U.S. 3, 20 (1997) (“[I]t is this Court’s prerogative alone to overrule one of

its precedents.”).

       In 1971, in Bivens v. Six Unknown Named Agents of the Federal Bureau of Narcotics, the

Supreme Court squarely considered this question for the first time, in the Fourth Amendment

context; as it put it, the question before the Court was “merely whether petitioner, if he can

demonstrate an injury consequent upon the violation by federal agents of his Fourth Amendment

rights, is entitled to redress his injury through a particular remedial mechanism normally

available in the federal courts.” 403 U.S. at 397. In Bivens, the petitioner, Webster Bivens,

alleged that agents of the now-defunct Federal Bureau of Narcotics violated his Fourth

Amendment rights by entering his apartment, searching it, and arresting him, all without a

warrant and with unreasonable force. Id. at 389. The Court concluded that Bivens was entitled

to redress his alleged constitutional injury through the mechanism of a damages suit against the

federal officers. Justice Brennan, writing for the majority, noted: “That damages may be

obtained for injuries consequent upon a violation of the Fourth Amendment by federal officials

should hardly seem a surprising proposition.” Id. at 395. After looking to Marbury, the Court

held that “petitioner is entitled to recover money damages for any injuries he has suffered as a

result of the agents’ violation of the Amendment.” Id. at 397.




                                                  9
        Case 23-35, Document 49, 04/24/2023, 3504052, Page113 of 139
                                               A-110


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 10 of 33




       After Bivens, the Supreme Court twice extended the implied cause of action to other

constitutional rights: In Davis v. Passman, the Court expanded the Bivens action to sex

discrimination under the due process clause of the Fifth Amendment, 442 U.S. 228 (1979), and

in Carlson v. Green, the Court expanded the Bivens action to a violation of Eight Amendment

rights in a federal prison, 446 U.S. 14 (1980). In each of these cases, the Court treated the

expansion of Bivens as the straightforward application of settled law and settled constitutional

principles.

       In the era after Bivens, Passman, and Carlson, however, the Court’s jurisprudence

markedly shifted. By 2001, in Correctional Services Corp. v. Malesko, the Court recognized that

it had “consistently refused to extend Bivens liability to any new context or new category of

defendants.” 534 U.S. 61, 68 (2001).

       This shift has frequently been explained in context of the broader shift in the Court’s

approach towards implying damages remedies for statutory violations. Bivens was decided in an

era in which the Court took an expansive view of the ability of the courts to fashion a remedy to

persons injured as a result of a violation of a congressional statute. See, e.g., J. I. Case Co. v.

Borak, 377 U.S. 426 (1964) (“While this language makes no specific reference to a private right

of action, among its chief purposes is ‘the protection of investors,’ which certainly implies the

availability of judicial relief where necessary to achieve that result.”). The Court later retreated

from that view, instead believing that “[l]ike substantive federal law itself, private rights of

action to enforce federal law must be created by Congress,” and that “[t]he judicial task” is not to

give effect to the statute’s purpose but rather “to interpret the statute Congress has passed to

determine whether it displays an intent to create not just a private right but also a private

remedy.” Alexander v. Sandoval, 532 U.S. 275, 286 (2001). Indeed, this contextualization of




                                                  10
        Case 23-35, Document 49, 04/24/2023, 3504052, Page114 of 139
                                              A-111


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 11 of 33




the Court’s newfound hostility towards the Bivens cause of action has repeatedly been professed

by the Court itself: “Bivens is a relic of the heady days in which this Court assumed common-

law powers to create causes of action—decreeing them to be ‘implied’ by the mere existence of a

statutory or constitutional provision.” Malesko, 534 U.S. at 75 (Scalia, J., concurring).

       In Ziglar v. Abbasi, against the backdrop of the September 11 terrorist attacks, the Court

again considered the availability—and continued force—of the Bivens cause of action. 137 S.

Ct. 1843 (2017). The Court emphasized that Bivens and its progeny were part of an “ancien

regime” in which “the Court followed a different approach to recognizing implied causes of

action than it follows now.” Id. at 1855. Under the new approach, “the Court adopted a far more

cautious course before finding implied causes of action,” and “clarified . . . that, when deciding

whether to recognize an implied cause of action, the ‘determinative’ question is one of statutory

intent.” Id. at 1855–56. The Ziglar Court did recognize that “[t]he decision to recognize an

implied cause of action under a statute involves somewhat different considerations than when the

question is whether to recognize an implied cause of action to enforce a provision of the

Constitution itself.” Id. at 1856. The Court failed, however, to give significant meaning to that

distinction, recounting that “the Court’s expressed caution as to implied causes of actions under

congressional statutes led to similar caution with respect to actions in the Bivens context, where

the action is implied to enforce the Constitution itself.” Id. Noting that “expanding the Bivens

remedy is now a ‘disfavored’ judicial activity,” id. at 1857 (quoting Ashcroft v. Iqbal, 556 U.S.

662, 675 (2009)), the Court clarified the somewhat piecemeal Bivens jurisprudence into a

cohesive—and narrow—two-step test, which first asks “[i]f the case is different in a meaningful

way from previous Bivens cases decided by this Court,” meaning that it presents a new context,

id. at 1859, and then asks if there are “special factors counselling hesitation in the absence of




                                                 11
        Case 23-35, Document 49, 04/24/2023, 3504052, Page115 of 139
                                              A-112


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 12 of 33




affirmative action by Congress,” in which case a court should decline to extend Bivens, id. at

1857.

        Hernandez v. Mesa, the next significant Bivens case confronted by the Court, followed

the reasoning and analysis of Ziglar. Again distinguishing Bivens, Passman, and Carlson as “the

products of an era when the Court routinely inferred ‘causes of action’ that were ‘not explicit’ in

the text of the provision that was allegedly violated,” but from which the Court has now retreated

as it “came to appreciate more fully the tension between this practice and the Constitution’s

separation of legislative and judicial power,” the Court declined to extend a Bivens cause of

action to a lawsuit brought under the Fourth Amendment by the family of Sergio Hernandez, a

fifteen-year-old Mexican citizen who was shot and killed by a U.S. border patrol agent, allegedly

without provocation. 140 S. Ct. 735, 741 (2020). The Hernandez Court applied the same “two-

step inquiry” articulated in Ziglar, asking first “whether the request involves a claim that arises

in a new context or involves a new category of defendants,” with “new context” understood to

mean any context that “is different in a meaningful way from previous Bivens cases decided by

this Court,” and then, if a claim arises in a new context, asking “whether there are any special

factors that counsel hesitation about granting the extension.” Id. at 743 (internal quotation marks

and citations omitted).

        Finally, and most recently, in Egbert v. Boule, the Supreme Court considered the

availability of a Bivens cause of action for a First Amendment retaliation claim and a Fourth

Amendment excessive force claim. Rejecting both claims, the Court stated that “our cases have

made clear that, in all but the most unusual circumstances, prescribing a cause of action is a job

for Congress, not the courts.” 142 S. Ct. 1793, 1800 (2022). The Court provided an even

narrower test than that articulated in Ziglar and Hernandez—“[w]hile our cases describe two




                                                 12
        Case 23-35, Document 49, 04/24/2023, 3504052, Page116 of 139
                                              A-113


           Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 13 of 33




steps, those steps often resolve to a single question: whether there is any reason to think that

Congress might be better equipped to create a damages remedy.” Id. at 1803.

       Explaining that test, the Egbert Court made clear that, effectively, it operates as a bar to a

Bivens claim in all cases except, perhaps, those involving Fourth, Fifth and Eighth Amendment

claims factually indistinguishable from Bivens, Passman, or Carlson. In an all-encompassing

articulation of the special factors inquiry, the Court majority stated that “[e]ven in a particular

case, a court likely cannot predict the ‘systemwide’ consequences of recognizing a cause of

action under Bivens. That uncertainty alone is a special factor that forecloses relief.” Id. at

1804. And claims that paralleled Bivens, Passman, or Carlson exactly could also be foreclosed:

“Even assuming the factual parallels [to Passman] are as close as Boule claims, Passman carries

little weight because it predates our current approach to implied causes of action and diverges

from the prevailing framework in three important ways.” Id. at 1808. Departing from Ziglar’s

assurance that “this opinion is not intended to cast doubt on the continued force, or even the

necessity, of Bivens in the search-and-seizure context in which it arose,” 137 S. Ct. at 1856,

Egbert held that where a case is directly parallel to Bivens, Passman, or Carlson, even that is

insufficient, because those cases do not align with the Court’s current approach to Bivens; “a

plaintiff cannot justify a Bivens extension based on ‘parallel circumstances’ with Bivens,

Passman, or Carlson unless he also satisfies the ‘analytic framework’ prescribed by the last four

decades of intervening case law,” 142 S. Ct. at 1809. Concluding, the Court all but held that no

case would ever be able to satisfy that analytic framework, because “if we were called to decide

Bivens today, we would decline to discover any implied causes of action in the Constitution.” Id.

at 1809.




                                                  13
        Case 23-35, Document 49, 04/24/2023, 3504052, Page117 of 139
                                               A-114


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 14 of 33




       Applying those principles to the First Amendment claim before it, and in keeping with its

sweeping rejection of Bivens, the Egbert Court went beyond merely holding that a damages

cause of action should not be extended to the particular facts of the case before it; seemingly

rejecting the fact-specific inquiry set forth in its prior Bivens jurisprudence, it categorically held

that “there is no Bivens action for First Amendment retaliation.” Id. at 1807.

       That holding squarely forecloses Cohen’s First Amendment retaliation claim here. And

the Court’s broader Bivens jurisprudence forecloses his Fourth Amendment claim as well; there

is no question that it is factually distinct from the Fourth Amendment claim implied in Bivens.

The federal officers at issue in Bivens were members of the Federal Bureau of Narcotics, while

the federal officers named as individual defendants in Cohen’s complaint are members of the

Bureau of Prisons, in addition to the former President and former Attorney General. Under the

Court’s current jurisprudence, this distinction alone appears to be enough to create a new context

because one of the oft-quoted examples of a “new context” is a case that involves a “new

category of defendants.” Malesko, 534 U.S. at 68; see Egbert, 142 S. Ct. at 1803; Ziglar, 137 S.

Ct. at 1876. Nor were the Bureau of Prisons officers performing functions “in the common and

recurrent sphere of law enforcement,” as in Bivens, see Ziglar, 137 S. Ct. at 1857; rather, they

were effectuating a remand of a federal prisoner who had already been sentenced to a term of

incarceration.

       Likewise, Cohen’s Eighth Amendment claim arises in a new context. In Carlson, the

Eighth Amendment claim centered on grossly inadequate medical care provided to an inmate

during a severe asthma attack. 446 U.S. at 16 n.1. Cohen’s Eighth Amendment claim centers on

the conditions of his solitary confinement, which—although he claims “posed serious health

risks”—did not result in him receiving inadequate medical care. Compl. ¶ 102. To the contrary,




                                                  14
        Case 23-35, Document 49, 04/24/2023, 3504052, Page118 of 139
                                               A-115


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 15 of 33




the complaint states that the conditions resulted in Cohen’s “blood pressure bec[oming]

dangerously high resulting in severe headaches, shortness of breath, and anxiety requiring

immediate medical attention,” implying, if anything, that “immediate medical attention” was

provided to him. Id. Cohen’s claim asserts a somewhat different “mechanism of injury”

(conditions of confinement as opposed to deliberate indifference to medical needs) and thus

presents a new context under the Supreme Court’s precedents. Egbert, 142 S. Ct. at 1805

(quoting Ziglar, 137 S. Ct. at 1859); see, e.g., Mammana v. Barben, 856 F. App’x 411 (3d Cir.

2021) (mem.) (holding that Eight Amendment claim based on conditions of “confinement in a

chilled room with constant lighting, no bedding, and only paper-like clothing” bore little

resemblance to the facts in Carlson); Schwarz v. Meinberg, 761 F. App’x 732 (9th Cir. 2019)

(mem.) (holding that Eighth Amendment claim based on unsanitary cell conditions presented a

new context). While these contexts are undoubtedly similar, the Supreme Court has counseled

that “even a modest extension [of Bivens liability] is still an extension.” Ziglar, 137 S. Ct. at

1864.

        Because Cohen’s claims arise in a new context, the next question is whether there are

“special factors” which the Supreme Court has stated indicate “that the Judiciary is at least

arguably less equipped than Congress to ‘weigh the costs and benefits of allowing a damages

action to proceed’” and thus further prevent the Court from recognizing a Bivens remedy.

Egbert, 142 S. Ct. at 1803 (quoting Ziglar, 137 S. Ct. at 1858). The Supreme Court has stated

that “[i]f there is even a single ‘reason to pause before applying Bivens in a new context,’ a court

may not recognize a Bivens remedy,” id. (quoting Hernandez, 140 S. Ct. at 743), and where there

are “alternative remedial structures in place, ‘that alone,’ like any special factor, is reason

enough to ‘limit the power of the Judiciary to infer a new Bivens cause of action,’” id. at 1804




                                                  15
         Case 23-35, Document 49, 04/24/2023, 3504052, Page119 of 139
                                               A-116


          Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 16 of 33




(quoting Ziglar, 137 S. Ct. at 1858). It does not matter if those existing remedial structures “do

not provide complete relief” or are “not as effective as an individual damages remedy.” Id.

(quoting Bush v. Lucas, 462 U.S. 367, 372, 388 (1983)).

         In this case, defendants point to two remedial structures that they argue preclude this

Court from recognizing a Bivens remedy for Cohen: (i) the FBOP’s Administrative Remedy

Program and (ii) a writ of habeas corpus. Dkt. No. 40 at 27–29. Cohen does not contest that he

had these remedial structures available to him; to the contrary, he admits that he availed himself

of the latter option. See Oral Argument Tr. at 56 (“Again, one thing about the habeas relief. My

client was freed because of the habeas relief. That stopped the bleeding, your Honor.”).

         While the Supreme Court has held that the FBOP’s Administrative Remedy Program is

an alternative remedial structure sufficient to preclude Bivens liability in prior cases, see, e.g.,

Malesko, 534 U.S. at 74 (declining to find Bivens remedy where “[i]nmates in respondent’s

position [] have full access to remedial mechanisms established by the BOP, including suits in

federal court for injunctive relief and grievances filed through the BOP’s Administrative Remedy

Program”), this Court is reluctant to find—assuming that Cohen’s allegations are true as it must

at this stage—that Cohen could have successfully remedied the alleged constitutional violations

in such a forum. Cohen alleges in his complaint that senior FBOP officials, including the

Director of the FBOP and the Warden of FCI Otisville, effectively acted at the behest of

President Trump in committing the various Constitutional violations alleged. See, e.g., Compl. ¶

39. Yet, it is precisely these senior FBOP officials who exercise control over the Administrative

Remedy Program: Complaints are made to the Warden and are appealed to the General Counsel

who appears to report up to the Director of the FBOP.2 If Cohen’s allegations are thus proved, it



2
    See Administrative Remedy Program, FBOP (Jan. 6, 2014),

                                                  16
        Case 23-35, Document 49, 04/24/2023, 3504052, Page120 of 139
                                               A-117


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 17 of 33




is hard to imagine that the same individuals who committed the constitutional violations against

Cohen would, in any meaningful sense, provide a remedy for those violations.

       Defendants’ argument that Cohen had an alternative remedial structure through a writ of

habeas corpus is more persuasive. See Ziglar, 137 S. Ct. at 1865 (“And there might have been

alternative remedies available here, for example, a writ of habeas corpus.”); Rodriguez v. Easter,

2022 WL 356478, at *6 (D. Conn. Feb. 7, 2022) (“[C]ourts that have applied the Ziglar analysis

to a claim of First Amendment retaliation by an inmate have noted the existing alternative

remedial structures, including the BOP administrative grievance process and writ of habeas

corpus.”). While the Supreme Court has left open the availability of habeas relief for federal

prisoners challenging the conditions of their confinement (as Cohen does here), see Ziglar, 137

S. Ct. at 1862–63 (“[W]e have left open the question whether they might be able to challenge

their confinement conditions via a petition for a writ of habeas corpus.”); Bell v. Wolfish, 441

U.S. 520, 527 (1979) (leaving “to another day the question of the propriety of using a writ of

habeas corpus to obtain review of the conditions of confinement, as distinct from the fact or

length of the confinement itself”), the Second Circuit has held that prisoners in federal custody

may seek habeas relief related to the conditions of their confinement under 28 U.S.C. § 2241, see

Thompson v. Choinski, 525 F.3d 205, 209 (2d Cir. 2008) (“This court has long interpreted § 2241

as applying to challenges to the execution of a federal sentence, ‘including such matters as the

administration of parole, . . . prison disciplinary actions, prison transfers, type of detention and




https://www.bop.gov/policy/progstat/1330_018.pdf; FBOP – Administrative Remedy Program,
D.C. Corrections Information Counsel,
https://cic.dc.gov/sites/default/files/dc/sites/cic/page_content/attachments/BOP%20Administrativ
e%20Remedies%2011.15.17%20REVISED.pdf (last visited Nov. 11, 2022); Experienced
Leadership, FBOP, https://www.bop.gov/about/agency/leadership.jsp (last visited Nov. 11,
2022).

                                                  17
        Case 23-35, Document 49, 04/24/2023, 3504052, Page121 of 139
                                               A-118


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 18 of 33




prison conditions.’”); Roba v. United States, 604 F.2d 215, 219 (2d Cir. 1979) (“At that point

petitioner’s challenge to his transfer while seriously ill would be a challenge to the conditions of

his confinement, for which habeas corpus relief under § 2241 would be available.”); Elleby v.

Smith, 2020 WL 2611921, at *2 (S.D.N.Y. May 22, 2020) (“[T]he Second Circuit has held that

both habeas petitions, at least for prisoners in federal custody . . . may address conditions of

confinement and seek the remedy of transfer (e.g., to a different prison population or facility).”);

Ilina v. Zickefoose, 591 F. Supp. 2d 145, 146–49 (D. Conn. 2008) (describing § 2241 as a “broad

remedy available to federal prisoners challenging the conditions of their confinement”). That

Cohen could successfully avail himself of habeas relief is borne out by the fact that he was able

to do so in this case.

        Cohen also likely could have sought relief through the right of federal courts to enjoin

unconstitutional actions by state and federal officers. “Availability of federal equitable relief to

remedy constitutional violations has been presumed by the courts,” Jensen v. Farrell Lines, Inc.,

625 F.2d 379, 383 (2d Cir. 1980), and “it is established practice . . . to sustain the jurisdiction of

federal courts to issue injunctions to protect rights safeguarded by the Constitution,” Free Enter.

Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2 (2010) (quoting Bell v. Hood, 327

U.S. 678, 684 (1946)); see Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 337 (2015)

(Sotomayor, J., concurring) (“That parties may call upon the federal courts to enjoin

unconstitutional government action is not subject to serious dispute.”); see also Stephen I.

Vladeck, Douglas and the Fate of Ex Parte Young, Yale L.J. (Forum) (Apr. 30, 2012) (“Whether

or not Ex parte Young itself articulated this rule, it is now generally understood that injunctive

relief for constitutional violations does not require a freestanding statutory cause of action (and

instead arises under the relevant constitutional provision).”). As the Supreme Court stated in




                                                  18
        Case 23-35, Document 49, 04/24/2023, 3504052, Page122 of 139
                                              A-119


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 19 of 33




Armstrong, the “ability to sue to enjoin unconstitutional actions by state and federal officers is

the creation of courts of equity, and reflects a long history of judicial review of illegal executive

action, tracing back to England.” 575 U.S. at 327. Thus, even if habeas relief were not

available, a citizen imprisoned by the President to prevent him from expressing critical views of

that President on the eve of an election is not without remedy. Cohen—and if there ever are any

others similarly situated—could have sought an injunction for defendants’ violations of the

Constitution. See Ojo v. United States, 364 F. Supp. 3d 163, 174 (E.D.N.Y. 2019) (finding

“there were alternative channels that plaintiff could have pursued” including “injunctive or

declaratory relief to challenge and seek alterations to the BOP Policy affecting the provision of

dental care.”); see also Malesko, 534 U.S. at 74 (“And unlike the Bivens remedy, which we have

never considered a proper vehicle for altering an entity’s policy, injunctive relief has long been

recognized as the proper means for preventing entities from acting unconstitutionally.”).

       It is worth noting that these alternative remedial structures are hardly adequate

replacements for a suit for monetary damages. These alternative remedies would not compensate

Cohen for or address the harms Cohen had already suffered prior to the issuance of the

injunction. While Cohen would have been able to enjoin the defendants, as he did in this case,

“a prospective injunction” does not “normally provide plaintiffs with redress for harms they have

already suffered.” Ziglar, 137 S. Ct. at 1879. Moreover, those avenues for prospective relief do

not eliminate the deterrent effect that imprisonment (in solitary confinement) can have on all but

the most intrepid. And, while Bivens is “concerned solely with deterring the unconstitutional

acts of individual officers,” Egbert, 142 S. Ct. at 1806 (quoting Malesko, 534 U.S. at 71), the

injunctive relief that Cohen was awarded in his prior case in front of Judge Hellerstein does little

to deter the unconstitutional acts of the defendants. An injunction is primarily focused on




                                                 19
        Case 23-35, Document 49, 04/24/2023, 3504052, Page123 of 139
                                                A-120


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 20 of 33




stopping an unconstitutional violation from occurring on an ongoing basis. It does not seek to

punish someone for what they have done and thus, in turn, deter that person from committing

similar wrongs in the future. See Sec. & Exch. Comm’n v. Stubos, 2022 WL 6776741, at *10

(S.D.N.Y. Oct. 11, 2022) (“Injunctive remedies, as discussed, are tailored to deter future

violations of law by that individual; not to punish the defendant and, through that punishment,

send a message to those in the community not to do similar bad acts.”). Nevertheless, the

Supreme Court has instructed that it does not matter whether the existing remedies provide

“complete relief” or appear inadequate. Egbert, 142 S. Ct. at 1804 (citation omitted). These

difficult issues merit, and will no doubt receive, further consideration in the future, if not in this

case.

        As things currently stand, however, the Supreme Court’s precedents squarely and

unequivocally foreclose the Bivens claims here. None of the claims present a direct parallel to

Bivens, Passman, or Carlson; even if one did, the Egbert Court has thrown into doubt the

availability of the Bivens cause of action for any new claim, particularly where, as here,

alternative remedial structures are in place.

        As such, Cohen’s Bivens claims must be dismissed. Before doing so, however, this Court

pauses to reiterate the profound violence this holding does to Cohen’s constitutional rights.

Cohen’s complaint alleges an egregious violation of constitutional rights by the executive

branch—nothing short of the use of executive power to lock up the President’s political enemies

for speaking critically of him. The Supreme Court’s precedents ensure that there is at best a

partial remedy for the abuse of power and violation of rights against the perpetrators of those

wrongs. And those precedents rest on a mistaken proposition—that the Court’s reluctance to

imply a damages remedy for statutorily created rights where Congress did not explicitly intend




                                                  20
        Case 23-35, Document 49, 04/24/2023, 3504052, Page124 of 139
                                               A-121


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 21 of 33




for there to be such a remedy necessarily must extend to a reluctance to find such a remedy for

constitutionally guaranteed rights.

       As Justice Harlan articulated in Bivens, “[I]t must also be recognized that the Bill of

Rights is particularly intended to vindicate the interests of the individual in the face of the

popular will as expressed in legislative majorities.” 403 U.S. at 407 (Harlan, J., concurring).

The notion that, for there to be any remedy for such a right, it must be explicitly provided for by

one of the very branches of government from whom the right is designed to protect the

individual is particularly insidious. And it does not logically follow from the Court’s decisions

in the statutory realm. The parallel to a jurisprudential shift towards looking to express

congressional intent3 in deciding whether to recognize an implied cause of action for a right

conferred by Congress is emphatically not looking towards congressional intent in deciding

whether to recognize an implied cause of action for a right conferred by the Constitution itself.

Unlike statutory rights, constitutional rights do not stem from Congress; there is no reason why

the remedies for such rights must then stem from Congress, and much reason to think that they

need not.4 This is the precise distinction that the Supreme Court recognized, but failed to give



3
  See Steven I. Vladeck, Bivens Remedies and the Myth of the “Heady Days,” 8 U. St. Thomas
L.J. 513, 521–22 (2011) (“Whatever the merits of Sandoval’s approach, it is worth emphasizing
that the crux of the dispute between the majority and the dissenters—and between more recent
and older case law—boils down to methodological disagreements over statutory interpretation.
There is simply no dispute today that congressional intent is dispositive when it comes to the
existence of a private cause of action to enforce a federal statute . . . .”).
4
  See George D. Brown, Letting Statutory Tails Wag Constitutional Dogs—Have the Bivens
Dissenters Prevailed?, 64 Ind. L.J. 263, 265 (1989) (“One may agree with the Court’s
reservations about judicial lawmaking, its concern for the doctrine of separation of powers and
its general views about the superior institutional competence of Congress. These positions . . .
should not be determinative in the Bivens context. The basic question is availability of judicial
relief for constitutional violations. In the recent cases the statutory tail comes to wag the
constitutional dog. That is, the Court’s emphasis on the statutory component of the remedial
issues tends to obscure and downgrade their constitutional dimension. It is as if the whole
problem involved only the judiciary’s role in an article I legislative scheme. Yet the Bivens


                                                  21
        Case 23-35, Document 49, 04/24/2023, 3504052, Page125 of 139
                                              A-122


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 22 of 33




meaning to, in Ziglar: “The decision to recognize an implied cause of action under a statute

implies somewhat different considerations than when the question is whether to recognize an

implied cause of action to enforce a provision of the Constitution itself.” 137 S. Ct. at 1856.

Rather, a proper inquiry—one parallel to that articulated in Sandoval, one still removed from the

“heady days” where the Court looked to whether it believed a damages remedy should

normatively be available for a particular right, and one that would honor the important

distinction between rights conferred by a legislative majority and rights conferred by the

Constitution—would look to whether the framers—in the language they used, the structure of the

government they established, the limitations they intended to place on executive power, and the

authority they gave to the federal courts—intended for there to be such a remedy.

       There are powerful reasons to believe that, in many circumstances, the answer to that

question will be yes,5 reasons that are not easily brushed aside with the Supreme Court’s

rejection of Marbury’s promise—drawn from English common law, see Marbury, 1 Cranch at

163 (quoting Blackstone’s commentaries)—that, if one’s rights are violated by executive

officials, the courts provide a legal remedy for that violation.

                                                ***




doctrine deals with judicial enforcement of rights whose origin is outside of, and hierarchically
superior to, any statute.”).
5
  See, e.g., Walter Dellinger, Of Rights and Remedies: The Constitution as a Sword, 85 Harv. L.
Rev. 1532, 1542 (1972) (“Given a common law background in which courts created damage
remedies as a matter of course, it is not unreasonable to presume that the judicial power would
encompass such an undertaking on the part of the federal courts, unless there were some contrary
indication that the judicial implementation of such a remedy was not to be a part of the article III
judicial power. While with one exception prior to Bivens, the Court has never explicitly
exercised the judicial power to create a damage remedy in a case arising under the Constitution,
its power to do so would seem rather easily established.”).

                                                 22
        Case 23-35, Document 49, 04/24/2023, 3504052, Page126 of 139
                                              A-123


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 23 of 33




       For the foregoing reasons, the complaint’s claims against all the individual defendants,

brought under the Bivens cause of action, are dismissed.6

II.    Cohen’s FTCA Claims

       Cohen’s remaining causes of action—all brought against the United States—are brought

under the FTCA. Cohen asserts claims for retaliation under New York common law; false arrest,

false imprisonment, and abuse of authority and process under New York common law; negligent

failure to protect under 18 U.S.C. § 4042; negligent infliction of emotional distress under New

York common law; intentional infliction of emotional distress under New York common law;

and negligent hiring, retention, training, and supervision under New York common law. The

United States moves to dismiss all of Cohen’s FTCA claims.

       “The United States, as sovereign, is immune from suit save as it consents to be sued, . . .

and the terms of its consent to be sued in any court define that court’s jurisdiction to entertain the


6
  Defendant Trump also moves to dismiss the claims against him for the independent reason that
they are barred by presidential immunity. Because the claims against Trump are dismissed along
with the claims against the other individual defendants, the Court need not address his claimed
immunity here. Nonetheless, it is worth noting—and rejecting—Trump’s argument that,
effectively, a president may never be subject to a damages suit for violations of constitutional
rights because “[i]t is blackletter law that a president is entitled to absolute immunity for acts
taken within the scope of his official duties,” Dkt. No. 42 at 1 (quoting Nixon v. Fitzgerald, 457
U.S. 731 (1982)), and Bivens claims—if available at all—are available only for actions taken by
the official “under color of his authority,” Bivens, 403 U.S. at 389. Trump reasons that “[s]ince a
president is entitled to absolute immunity for ‘acts within the outer perimeter of his official
capacity,’ it follows that a Bivens claim—which must arise from an act performed ‘under color
of his authority’—cannot be maintained against a [p]resident.” Dkt. No 42 at 3. But the
language of these two doctrines is not the same, and there is no reason to assume that the one
wholly subsumes the other. For an official’s actions to be “under color of authority,” “the
conduct must be ‘cloaked with official power and the official must purport to be acting under
color of official right.’” Mueller v. Gallina, 137 F. App’x 847, 850 (6th Cir. 2005) (mem.)
(internal quotation marks omitted and alterations adopted) (quoting Browning v. Clinton, 292
F.3d 235, 250 (D.C. Cir. 2002)). One could imagine a situation, for example, in which the
President ordered Secret Service to kidnap his political opponent a few weeks before an
election—asserting, all the while, that he was doing so in an exercise of executive authority.
Such an action could be taken under color of authority, while at the same time not legitimately
within the president’s official capacity, and thus not subject to presidential immunity.


                                                 23
       Case 23-35, Document 49, 04/24/2023, 3504052, Page127 of 139
                                             A-124


        Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 24 of 33




suit.” United States v. Mitchell, 445 U.S. 535, 538 (1980) (internal quotation marks omitted)

(quoting United States v. Sherwood, 312 U.S. 584, 586 (1941)). “‘The FTCA, 28 U.S.C.

§§ 13469(b), 2401(b), and 2671–2680, constitutes a limited waiver by the United States of its

sovereign immunity’ and allows for tort suits against the United States under specified

circumstances.” Hamm v. United States, 483 F.3d 135, 137 (2d Cir. 2007) (quoting Millares

Guiraldes de Tineo v. United States, 137 F.3d 715, 719 (2d Cir. 1998)). “Under the FTCA, a

private citizen may sue for injuries caused by ‘the negligent or wrongful act or omission of any

employee of the Government while acting within the scope of his office or employment, under

circumstances where the United States, if a private person, would be liable to the claimant in

accordance with the law of the place where the act or omission occurred.’” Id. (quoting 28

U.S.C. § 1346(b)). The FTCA waives sovereign immunity for claims that are:

       [1] against the United States, [2] for money damages, . . . [3] for injury or loss of
       property, or personal injury or death [4] caused by the negligent or wrongful act or
       omission of any employee of the Government [5] while acting within the scope of
       his office or employment, [6] under circumstances where the United States, if a
       private person, would be liable to the claimant in accordance with the law of the
       place where the act or omission occurred.

Id. (quoting FDIC v. Meyer, 510 U.S. 471, 477 (1994)). The “source of substantive liability

under the FTCA” is “law of the State.” FDIC, 510 U.S. at 478.

       Cohen’s first FTCA claim is a claim for “retaliation,” for “the exercising of his right to

free speech,” which he asserts is “a tort under the laws of the state of New York.” In defending

the claim in his opposition to the United States’ motion to dismiss, however, Cohen makes it

clear that the only substantive source of this claim is the First Amendment. See Dkt. No. 59 at

27 (concluding that “defendants did imprison Mr. Cohen for the lawful exercise of his First

Amendment rights”); see also id. at 26 (first quoting Lancaster v. Incorporated Village of

Freeport, 1 N.E.3d 302 (N.Y. 2013) (considering a First Amendment retaliation claim); then



                                                24
        Case 23-35, Document 49, 04/24/2023, 3504052, Page128 of 139
                                             A-125


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 25 of 33




quoting People v. Oeser, 721 N.Y.S.2d 147 (3d Dep’t 2001) (not considering free speech claims

at all); then quoting People v. Bollander, 558 N.Y.S.2d 795 (Sup. Ct. 1990) (considering whether

fear of retaliatory prosecution for challenging a conviction implicates due process rights, which

is inapposite to Cohen’s claim, and not considering free speech claims at all); and then quoting

People v. Douglas, 704 N.Y.S.2d 438, 439 (Sup. Ct. 1999) (noting that “retaliatory” motivation

behind indictment “was particularly offensive and repugnant to the fair administration of law,”

and therefore dismissing an indictment). That a handful of New York cases, one arising in the

First Amendment context, mention the word “retaliation” does not demonstrate a freestanding

New York common law tort claim for retaliation. Rather, Cohen’s claim is clearly predicated on

the First Amendment. “The FTCA ‘has not waived the Government’s sovereign immunity with

respect to claims that its employees have committed constitutional torts’ under the federal

constitution.” Hernandez v. United States, 939 F.3d 191, 205 (2d Cir. 2019) (alteration adopted)

(quoting Castro v. United States, 34 F.3d 106, 110 (2d Cir. 1994)).7 As such, Cohen’s first cause

of action against the United States for First Amendment retaliation is not cognizable under the

FTCA and must be dismissed.

       Cohen’s second FTCA claim is for false arrest, false imprisonment, and abuse of

authority and process under New York common law. “False arrest and false imprisonment

overlap; the former is a species of the latter.” Wallace v. Kato, 549 U.S. 384, 388 (2007).

“Under New York law, the elements of a false arrest and false imprisonment claim are: ‘(1) the

defendant intended to confine the plaintiff, (2) the plaintiff was conscious of the confinement,

(3) the plaintiff did not consent to the confinement and (4) the confinement was not otherwise



7
  In Hernandez, the Second Circuit also held that a FTCA claim could not be brought against a
federal officer on the theory that his actions violated the New York State constitution. 939 F.3d
at 205-06.

                                                25
        Case 23-35, Document 49, 04/24/2023, 3504052, Page129 of 139
                                             A-126


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 26 of 33




privileged.’” Hernandez, 939 F.3d at 199 (quoting McGowan v. United States, 825 F.3d 118,

126 (2d Cir. 2016) (per curiam)). “For purposes of the privilege element of a false arrest and

false imprisonment claim, an act of confinement is privileged if it stems from a lawful arrest

supported by probable cause.” Id. (internal quotation marks omitted) (quoting De Lourdes

Torres v. Jones, 47 N.E.3d 747 (2016)). A claim for false imprisonment will only lie where the

confinement does not stem from legal process. As the Supreme Court articulated:

       Reflective of the fact that false imprisonment consists of detention without legal
       process, a false imprisonment ends once the victim becomes held pursuant to such
       process—when, for example, he is bound over by a magistrate or arraigned on
       charges. Thereafter, unlawful detention forms part of the damages for the ‘entirely
       distinct’ tort of malicious prosecution, which remedies detention accompanied, not
       by absence of legal process, but by wrongful institution of legal process.

Wallace, 549 U.S. at 389–90. “[T]he tort of false arrest does not permit recovery for

‘confinement imposed pursuant to legal process.’” Coakley v. Jaffe, 72 F. Supp. 2d 362, 363

(S.D.N.Y. 1999) (quoting Heck v. Humphrey, 512 U.S. 477, 483 (1994)).

       Cohen’s false arrest and false imprisonment claim are based on the marshals’ shackling

him, handcuffing him, and remanding him to MCC and then to FCI Otisville, and his

confinement there for sixteen days. The first three elements of a claim for false arrest and/or

false imprisonment are not in contention; there is no doubt that defendants intended to confine

Cohen, that Cohen was aware of his confinement, and that Cohen did not consent to his

confinement. The fourth element, however, is plainly absent. The complaint alleges that Cohen

was shackled, handcuffed, remanded, and confined during his thirty-six-month period of

incarceration; although he was temporarily released on furlough with a planned transfer to home

confinement, an inmate on furlough “[r]emains in the legal custody of the U.S. Attorney General,

in service of a term of imprisonment.” 28 C.F.R. § 570.38(b)(1). “Plaintiff’s confinement was

uncategorically privileged because he was a convicted felon serving his sentence.” McGowan v.



                                                26
        Case 23-35, Document 49, 04/24/2023, 3504052, Page130 of 139
                                               A-127


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 27 of 33




United States, 94 F. Supp. 3d 382, 390 (E.D.N.Y. 2015). Just as a prisoner serving a term of

incarceration in prison would not have a claim for false imprisonment for his transfer from one

cell to another, or even from standard conditions to solitary confinement, Cohen does not have a

claim for false imprisonment for his remand and confinement. Cohen’s only response is that “it

has already been adjudicated by the Honorable Alvin K. Hellerstein that plaintiff’s incarceration

was not ‘privileged’ and was a result of retaliatory conduct engaged in by defendants for the

lawful exercise of his First Amendment rights.” Dkt. No. 59 at 28. That argument does not hold

water; Judge Hellerstein found that Cohen’s remand was an unconstitutional retaliation for

Cohen’s exercise of his First Amendment rights, but it does not follow that the remand and his

confinement—effectuated pursuant to a remand order for an inmate in federal custody—was the

product of “the absence of legal process,” see Wallace, 549 U.S. at 390. Rather, Cohen’s

complaint is not about the absence of legal process but for wrongs incurred while Cohen was

subject to legal process and as a result of that process for which a claim of false imprisonment

does not lie.

        “To prove abuse of process, plaintiff must show that the defendant ‘(1) employs regularly

issued legal process to compel performance or forbearance of some act (2) with intent to do harm

without excuse of justification, and (3) in order to obtain a collateral objective that is outside the

legitimate ends of the process.’” Hernandez, 939 F.3d at 204 (quoting Savino v. City of New

York, 331 F.3d 63, 76 (2d Cir. 2003)). The United States argues that this claim, too, fails “[f]or

similar reasons.” Dkt. No. 40 at 12. They argue that the FBOP exercising its authority to

determine where a prisoner serves a sentence of incarceration is not exercising “legal process”;

no court order is required to effectuate its decisions. See Cook v. Sheldon, 41 F.3d 73, 80 (2d

Cir. 1994) (citing Mormon v. Baran, 35 N.Y.S.2d 906, 909 (Sup. Ct. 1942) for the proposition




                                                  27
        Case 23-35, Document 49, 04/24/2023, 3504052, Page131 of 139
                                              A-128


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 28 of 33




that “legal process means that a court issued the process, and the plaintiff will be penalized if he

violates it”). In some sense, the government’s argument appears troubling: Cohen cannot pursue

a false imprisonment claim for his being shackled, handcuffed, remanded to prison, and confined

because it was done pursuant to valid legal process in the form of his sentence from Judge

Pauley, and thus “his confinement was legally permitted during the duration of his sentence,”

Dkt. No. 40 at 12, but Cohen also cannot pursue an abuse of process claim for being shackled,

handcuffed, remanded to prison, and confined because that was not done pursuant to any legal

process, i.e., a court order. After all, as the unavailability of a false imprisonment claim reflects,

Cohen’s entire period of detention is pursuant to legal process; without his sentence, the Bureau

of Prisons would not possess the authority to remand him to prison without a separate court

order. But—as the only case Cohen cites recognizes—the tort of abuse of process lies in

“causing process to issue lawfully but to accomplish some unjustified purpose.” Bd. of Educ. of

Farmingdale Union Free Sch. Dist. v. Farmingdale Classroom Teachers’ Ass’n, 343 N.E.2d

278, 280 (N.Y. 1975). The “abuse” referenced by the tort is that “for maliciously abusing the

process of the court,” i.e., it addresses those cases in which the process of the court “is

manipulated to achieve some collateral advantage, whether it be denominated extortion,

blackmail, or retribution.” Id. at 281, 283. Cohen does not allege that there was an abuse in the

process of obtaining the court order pursuant to which he was confined. What he complains

about is that the FBOP perverted its authority under already issued legal process, to accomplish

goals for which that process was not originally intended. In short, since Cohen alleges no

misconduct in connection with causing the process to issue, he does not properly allege a claim

for abuse of process and his second cause of action must be dismissed.




                                                  28
        Case 23-35, Document 49, 04/24/2023, 3504052, Page132 of 139
                                              A-129


           Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 29 of 33




        Third, the government argues that Cohen’s emotional distress claims—for negligent

infliction of emotional distress and intentional infliction of emotional distress—relate to the same

conduct as his false imprisonment and abuse of process claims, and therefore must fall with those

claims. Dkt. No. 40 at 12 (first citing Moore v. City of New York, 219 F. Supp. 2d 335, 229

(E.D.N.Y. 2002) for the proposition that “[n]o intentional infliction of emotional distress claim

will lie where the conduct underlying the claim falls within the ambit of traditional tort

authority”; and then citing Rheingold v. Harrison Town Police Dep’t, 568 F. Supp. 2d 384, 395

n.3 (S.D.N.Y. 2008) for the proposition that “[t]o the extent a plaintiff is alleging an alternate

theory of liability for false arrest, imprisonment and prosecution sounding in negligence, New

York does not provide a cause of action under such a theory”). Cohen nowhere addresses this

argument or defends the availability of his emotional distress claims if his false imprisonment

and abuse of process claims are dismissed. Therefore, the Court deems the claims abandoned.

See, e.g., Pincover v. J.P. Morgan Chase Bank, N.A., 2022 WL 864246, at *11 (S.D.N.Y. Mar.

22, 2022) (“A court may, and generally will, deem a claim abandoned when a plaintiff fails to

respond to a defendant’s arguments that the claim should be dismissed.” (internal quotation

marks omitted) (first quoting Williams v. Mirabal, 2013 WL 174187, at *2 (S.D.N.Y. Jan 16,

2013)); and then quoting Lipton v. County of Orange, 315 F. Supp. 2d 434, 446 (S.D.N.Y.

2004))).

        Finally, the United States moves to dismiss Cohen’s remaining FTCA claims—for

negligent failure to protect and negligent hiring, retention, training, and supervision—as barred

by the FTCA’s discretionary function exception, which provides that the Government is not

liable for:

        [a]ny claim based upon an act or omission of an employee of the Government,
        exercising due care, in the execution of a statute or regulation, whether or not such



                                                 29
        Case 23-35, Document 49, 04/24/2023, 3504052, Page133 of 139
                                              A-130


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 30 of 33




       statute or regulation be valid, or based upon the exercise or performance or the
       failure to exercise or perform a discretionary function or duty on the part of a federal
       agency or an employee of the Government, whether or not the discretion involved
       be abused.

28 U.S.C. § 2680(a). “The exception covers only acts that are discretionary in nature, acts that

‘involve an element of judgment or choice,’ and ‘it is the nature of the conduct, rather than the

status of the actor that governs whether the exception applies.’” United States v. Gaubert, 499

U.S. 315, 322 (1991) (citations omitted and alterations adopted) (first quoting Berkovitz by

Berkovitz v. United States, 486 U.S. 531, 536 (1988); and then quoting United States v. S.A.

Empresa de Viavao Aerea Rio Grandense (Varig Airlines), 467 U.S. 797, 813 (1984)). “[E]ven

‘assuming the challenged conduct involves an element of judgment,’ it remains to be decided

‘whether that judgment is of the kind that the discretionary function exception was designed to

shield.’” Id. (quoting Berkovitz, 486 U.S. at 536). The exception “marks the boundary between

Congress’ willingness to impose tort liability upon the United States and its desire to protect

certain governmental activities from exposure to suit by private individuals.” Varig Airlines, 467

U.S. at 808.

       The Second Circuit has described a two-part test, termed the Berkovitz-Gaubert test, as

“the framework for evaluating whether particular governmental conduct falls under the”

discretionary function exception:

       According to the Berkovitz-Gaubert test, the [discretionary function exception] bars
       suit only if two conditions are met: (1) the acts alleged to be negligent must be
       discretionary, in that they involve “an element of judgment or choice” and are not
       compelled by statute or regulation and (2) the judgment or choice in question must
       be grounded in “considerations of public policy” or susceptible to policy analysis.

Coulthurst v. United States, 214 F.3d 106, 109–10 (2d Cir. 2000).

       The governmental conduct challenged in the two remaining causes of action is

(1) “negligently operating and managing FCI Otisville,” Compl. ¶ 123, presumably in placing



                                                 30
        Case 23-35, Document 49, 04/24/2023, 3504052, Page134 of 139
                                                 A-131


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 31 of 33




Cohen in solitary confinement in a space with poor ventilation, no air conditioning, and daily

temperatures exceeding one-hundred degrees, id. ¶ 102; and (2) “negligence, carelessness, and

recklessness . . . in failing to meet its duty of care to plaintiff in its screening, hiring, training,

supervising, evaluating, managing, controlling, and retaining of defendants and other agents,

servants, and employees of the United States,” id. ¶ 137. As to the second of these, even

assuming that it is well-plead and not conclusory, it clearly falls within the discretionary function

exception. See, e.g., Saint-Guillen v. United States, 657 F. Supp. 2d 376, 387 (E.D.N.Y. 2009)

(“[F]ederal courts have found such hiring, training, and supervision decisions generally fall

within the exception.”); Li v. Aponte, 2008 WL 4308127, at *8 (S.D.N.Y. Sept. 16, 2008)

(holding that the plaintiff’s “common law claims against the United States for negligent hiring,

training and supervision are barred by the ‘discretionary function’ exception of the FTCA,” and

collecting cases for the proposition that “[p]ersonnel decisions of the United States generally fall

within the discretionary function exception to the FTCA”). Cohen’s negligent hiring, retention,

training, and supervision claim therefore cannot proceed.

        As to the first of this challenged conduct—the negligent operation and management of

FCI Otisville—however, it is a closer call. The Second Circuit has held that certain negligence

claims related to prison management are not subject to the discretionary function exception. See

Coulthurst v. United States, 214 F.3d 106, 109 (2d Cir. 2000). In Coulthurst, the plaintiff, who

was a federal prisoner, was lifting weights in the prison exercise room and suffered an injury

when a cable on a lateral pull down machine snapped. Id. at 107. He brought claims against the

prison for “‘negligence and carelessness’ in that the defendant ‘failed to diligently and

periodically inspect the weight equipment, and the cable’ and ‘failed to replace the cable after

undue wear and tear.’” Id. at 108 (citation omitted). The district court dismissed the claim as




                                                    31
        Case 23-35, Document 49, 04/24/2023, 3504052, Page135 of 139
                                              A-132


         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 32 of 33




barred by the discretionary function exception, and the Second Circuit vacated. Id. at 108, 111.

In doing so, the Second Circuit distinguished between the type of negligence that is involved in

designing deficient procedures or decisions about how frequently to inspect the exercise

equipment, which involve “elements of judgment and choice” as well as “considerations of

public policy,” id. at 109, and thus would be subject to the discretionary function exception, and

the type of negligence that results from an individual officer being carelessly inattentive or lazy

in not checking on things, which does not involve elements of judgment and choice or

considerations of governmental policy and would not be subject to the discretionary function

exception, id. The Second Circuit found that the complaint was ambiguous as to which type of

negligence was alleged, and therefore that the district court was wrong to dismiss the claim

entirely as barred by the discretionary function exception. Id. at 109–10.

       Cohen’s allegations in his complaint are similarly ambiguous as to what type of

negligence Cohen is alleging. While Cohen alleges generally that his negligent failure to protect

claim is based on the United States’ breach of its duty “in negligently operating and managing

FCI Otisville,” Compl. ¶ 123, it is not clear whether Cohen claims that the alleged “negligence”

resulted from the policies and procedures governing FCI Otisville (which allowed for the unsafe

conditions in Cohen’s cell to occur perhaps due to concerns about costs or resource allocation) or

from the carelessness of an individual guard in failing to check that the cell was well-ventilated,

air conditioned, and a safe temperature.

       To clarify this issue, the Court asked Cohen’s counsel at oral argument which of these

two theories (or both) he was alleging. Oral Argument Tr. 50. Cohen’s counsel stated that he

was only alleging that the “policies and procedures in place during COVID at Otisville were

egregiously bad in that they, aside from deliberately indifferent, were just negligent in the




                                                 32
        Case 23-35, Document 49, 04/24/2023, 3504052, Page136 of 139
                                           I A-133 I
         Case 1:21-cv-10774-LJL Document 76 Filed 11/14/22 Page 33 of 33




maintenance and upkeep.” Id. at 50–51. In other words, Cohen admitted that he was not

asserting a negligent guard theory of liability. Unfortunately for Cohen, this concession is fatal

to his ability to assert this claim: Coulthurst is clear that the designing of such policies and

procedures regarding maintenance and upkeep of prisons are subject to the discretionary function

exception and thus Cohen’s claim of negligent failure to protect must be dismissed accordingly.

                                          CONCLUSION

       The motions to dismiss are GRANTED.

       The Clerk of Court is respectfully directed to close Dkt. Nos. 38,8 39, 41.



       SO ORDERED.


Dated: November 14, 2022                               __________________________________
       New York, New York                                        LEWIS J. LIMAN
                                                             United States District Judge




8
 Defendants’ request to stay discovery in this matter pending adjudication of their motions to
dismiss, Dkt. No. 38 has already been addressed, Dkt. No. 66, and nonetheless should be denied
as moot.

                                                  33
         Case 23-35, Document 49, 04/24/2023, 3504052, Page137 of 139
                                                    A-134


            Case 1:21-cv-10774-LJL Document 77 Filed 11/15/22 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MICHAEL COHEN,

                                   Plaintiff,
                 -against-                                                21 CIVIL 10774 (LJL)

                                                                              JUDGMENT
UNITED STATES OF AMERICA, et al.,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion & Order dated November 14, 2022, Defendants’ motions to dismiss

are GRANTED; accordingly, the case is closed.



Dated: New York, New York

          November 15, 2022


                                                                         RUBY J. KRAJICK

                                                                      _________________________
                                                                             Clerk of Court


                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
       Case 23-35, Document 49, 04/24/2023, 3504052, Page138 of 139
                                             A-135


          Case 1:21-cv-10774-LJL Document 79 Filed 01/10/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


MICHAEL D. COHEN,

                      Plaintiff,

               v.

UNITED STATES OF AMERICA, DONALD J. TRUMP,
former President of the United States, WILLIAM BARR,
former Attorney General of the United States, MICHAEL
CARVAJAL, Director of the Bureau of Prisons, JON                  Case No. 21-cv-10774 (LJL)
GUSTIN, Administrator of the Residential Reentry
Management Branch of the Bureau of Prisons, PATRICK               NOTICE OF APPEAL
MCFARLAND, Residential Reentry Manager of the Federal
Bureau of Prisons, JAMES PETRUCCI, Warden of FCI
Otisville, ENID FEBUS, Supervisory Probation Officer of the
United States Probation and Pretrial Services, ADAM
PAKULA, Probation Officer of the United States Probation
and Pretrial Services, and JOHN and JANE DOE (1-10)
agents, servants, and employees of the United States

                      Defendants.


       NOTICE IS HEREBY GIVEN that Michael D. Cohen, Plaintiff in the above-titled action,

hereby appeals to the United States Court of Appeals for the Second Circuit from the Judgment of

the United States District Court for the Southern District of New York dismissing all counts of his

Complaint entered in this action on November 14th, 2022 (ECF No. 76).

Dated: January 10, 2023                              Respectfully submitted,
       New York, New York
                                                     /s/ E. Danya Perry
                                                     E. Danya Perry (No. 2839983)
                                                     PERRY GUHA LLP
                                                     1740 Broadway, 15th Floor
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                                                     Attorney for Plaintiff Michael D. Cohen
       Case 23-35, Document 49, 04/24/2023, 3504052, Page139 of 139
                                            A-136


          Case 1:21-cv-10774-LJL Document 79 Filed 01/10/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I, E. Danya Perry, certify that on January 10, 2023, I caused the foregoing Notice of Appeal

by Plaintiff Michael D. Cohen to be filed with the Clerk of the Court and served upon all counsel

of record via CM/ECF system.

Dated: January 10, 2023                              Respectfully submitted,
       New York, New York
                                                     /s/ E. Danya Perry
                                                     E. Danya Perry




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